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THE COURT HAS NOT YET APPROVED THIS DISCLOSURE STATEMENT FOR USE
 IN SOLICITATION TO PARTIES ENTITLED TO VOTE ON THE PLAN. THE PLAN
PROPONENTS ARE NOT SOLICITING YOUR VOTE ON THE PLAN AT THIS TIME.
                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE


In re:                                                           Chapter 11

AMYRIS, INC., et al.,1                                           Case No. 23-11131 (TMH)

                                    Debtors.                     (Jointly Administered)


     DISCLOSURE STATEMENT WITH RESPECT TO JOINT CHAPTER 11 PLAN
     OF REORGANIZATION OF AMYRIS, INC. AND ITS AFFILIATED DEBTORS

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    Counsel to the Debtors and Debtors in Possession

    Dated: October 12, 2023




1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.


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EXHIBIT C: PLAN SUPPORT AGREEMENT
EXHIBIT D: LIQUIDATION ANALYSIS
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I.       INTRODUCTION

       Amyris, Inc., and its affiliated debtors and debtors in possession (collectively, the “Original
Debtors”), as well as Clean Beauty Collaborative, Inc. (“CBC”), Clean Beauty 4U Holdings, LLC
(“CB4U Holdings”), and Clean Beauty 4U LLC (“CB4U,” and together with CBC, CB4U
Holdings, the “Additional Debtors”, and, collectively, with the Original Debtors, the “Debtors” or
the “Company”), in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) have filed their
proposed Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors (as
may be amended or modified, the “Plan”), with the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”). A copy of the Plan is attached hereto as Exhibit “A”.2
The Debtors hereby submit this Disclosure Statement with respect to the Plan (as may be amended
or modified, the “Disclosure Statement”), pursuant to section 1125 of the Bankruptcy Code in
connection with the solicitation of acceptances or rejections of the Plan from certain Holders of
Claims against the Debtors.3

        On [__________ ___], 2023, the Court entered the Order (I) Approving the Disclosure
Statement; (II) Scheduling Confirmation Hearing; (III) Approving Form and Manner of Notice of
Confirmation Hearing; (IV) Establishing Procedures for Solicitation and Tabulation of Votes to
Accept or Reject Plan, Including (A) Approving Form and Content of Solicitation Materials; (B)
Establishing Record Date and Approving Procedures for Distribution of Solicitation
Materials;(C) Approving Forms of Ballots; (D) Establishing Voting Deadline for Receipt of
Ballots and (E) Approving Procedures for Vote Tabulations; (V) Approving Form and Manner of
Notice of Plan Releases; (VI) Establishing Deadline and Procedures for Filing Objections to
Confirmation of Plan; and (VII) Granting Related Relief (the “Disclosure Statement Order”),
which granted approval of the Disclosure Statement and approved of the forms of Plan ballots and
various related notices, as well as set [January 17, 2024, at 11:00 a.m., prevailing Eastern
Time,] as the time for the hearing to confirm the Plan.

        The Plan is a plan of reorganization which is intended to (a) preserve the Debtors’
Technology Access businesses (comprising revenue from ingredient product sales, R&D
collaboration programs, and technology licensing) as a going concern, (b) implement a partial
debt-to-equity conversion that will result in the DIP Lender and the Foris Prepetition Lenders
holding the new Interests of the reorganized company, (c) distribute in tranches to various Classes
of creditors the proceeds of the sale of the Debtors’ Consumer Brands Businesses, made available
by the DIP Lender and the Foris Prepetition Lenders and (d) establish, in connection with the
releases provided for in the Plan, an Excluded Party Litigation Trust for the benefit of holders of
Direct Claims and Reorganized Amyris, to hold and distribute certain funding and the proceeds
from the Direct Claim Recovery Pool.

       The net cash proceeds from the sales of the Consumer Brands Businesses are distributed,
as agreed to by the DIP Lender and the Foris Prepetition Lenders, through a “waterfall” based on

2
 Capitalized terms used herein that are not otherwise defined herein shall have the meanings ascribed to them in the
Plan.
3
  To the extent any provision or statement in this Disclosure Statement is inconsistent with the terms of the Plan,
unless otherwise ordered by the Bankruptcy Court, the provisions of the Plan shall control (unless stated otherwise
in the Confirmation Order).

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the amount of proceeds available, i.e., the first tranche is distributed from net cash proceeds up to
$250,000,000; the second tranche distributes net cash proceeds between $250,000,001 and
$350,000,000; the third tranche distributes net cash proceeds in excess of the first and second
tranches, subject to a $340 million cap on recoveries to the DIP Lenders/Foris Prepetition Secured
Lenders; and the fourth tranche distributes any remaining net cash proceeds to various
stakeholders.

        Further, under the Plan, the Debtors seek a Direct Claim Injunction that bars all Direct
Claims4 and with respect to which holders of Direct Claims will receive distributions from the
Direct Claims Recovery Pool. Following the issuance of the Direct Claims Injunction in
accordance with the Confirmation Order, any and all holders of Direct Claims will be permanently
enjoined from seeking satisfaction of their Direct Claims against the Released Parties or any other
Direct Claims Injunction Party or the property of any such Direct Claims Injunction Party. The
distributions to be made under the Plan to holders of Direct Claims shall be the sole source of
recovery for any and all claims held by holders of Direct Claims. The Plan and order confirming
the Plan shall (i) provide that all Direct Claims will be paid from the Direct Claims Recovery Pool,
for payment in accordance with the terms and procedures provided in the Plan and in the Plan
Supplement, and (ii) shall bar and enjoin the holders of Direct Claims from seeking to recover on
account of such Direct Claims against the Reorganized Amyris, any assets of the Reorganized
Amyris, or against any of the Released Parties and their respective Related Parties.

       The Direct Claims Recovery Pool shall be distributed Pro Rata based upon the following
percentages: (i) 25% to holders of Direct Claims that are holders of Interests; (ii) 38.75% to
holders of Direct Claims that are holders of Convertible Notes; (iii) 11.25% to holders of Direct
Claims that are holders of General Unsecured Claims; and (iv) 25% to Reorganized Amyris.

        In addition, the Plan also contemplates certain Debtor/Estate releases and consensual third
party releases of, among others, the DIP Lenders, Foris Prepetition Secured Lenders, Consenting
Convertible Noteholders, [the Creditors’ Committee] and parties related to all of the foregoing.

        The Reorganized Debtors’ emergence from chapter 11 is supported by a $[100] million
Exit First Lien Facility, which certain of the DIP Lenders/Foris Prepetition Secured Lenders (who
will be identified in the Plan Supplement) have agreed to backstop as necessary, subject to the
satisfaction of the conditions set forth in the Plan Support Agreement and the Plan.

        Specifically, if confirmed and consummated, among other things, the Plan will facilitate a
restructuring of the Debtors’ assets and liabilities that contemplates the following:

         a.       the DIP Lender on account of the DIP Facility Claims and the Foris Prepetition
                  Secured Lenders on account of the Foris Prepetition Secured Claims will, on the
                  Effective Date:


4
  “Direct Claims” means any claim or Cause of Action held by a Releasing Party against any of the Released Parties
(excluding the Debtors) and their respective Related Parties, but only to the extent such claims arise from, relate to,
or are connected with, directly or indirectly, in any manner whatsoever, the Debtors, including their respective assets,
liabilities, operations, financings, contractual agreements, licenses, and including the governance thereof, and existing
on or prior to the Effective Date (including prior to the Petition Date).


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                          (x) receive, at their option, in their sole and absolute discretion, the portion
                 of certain proceeds from the sale of the Debtors’ Consumer Brands Businesses –
                 i.e., the First Net Cash Proceeds Tranche, Second Net Cash Proceeds Tranche and
                 Third Net Cash Proceeds Tranche -- as set forth herein; and

                         (y) determine, at their option, in their sole discretion, after application of
                 the First Net Cash Proceeds Tranche, the Second Net Cash Proceeds Tranche and
                 the Third Net Cash Proceeds Tranche to the outstanding DIP Facility Claims and/or
                 Foris Prepetition Secured Claims, how much of the balance of the DIP Facility
                 Claims and the Foris Prepetition Secured Claims, as applicable, shall be rolled up,
                 converted, exchanged, refinanced or amended and restated on the Effective Date,
                 into the Exit Facility (if said parties provide it) and the new Interests of Reorganized
                 Amyris;

        b.       the DIP Lender and the Foris Prepetition Secured Lenders shall provide jointly and
                 severally, in the aggregate, a backstop commitment for a $[100,000,000] Exit
                 Facility, provided the conditions precedent are satisfied;

        c.       the DSM Real Sweet Secured Claim shall receive on account of the Allowed DSM
                 Real Sweet Secured Claim in full and complete satisfaction of such Claim payment
                 in cash in the amount of such Allowed Claim on June 30, 2026, and the DSM Other
                 Secured Claims will be allowed in the amount of $0 and will neither receive nor
                 retain any property under the Plan;

        d.       holders of the Convertible Notes Claims will receive on account of the Convertible
                 Notes Claims in full and complete satisfaction of such Claims, on the Effective
                 Date (or as soon as practicable thereafter), a Pro Rata distribution of:

                          (x) (i) $17,250,000 from the First Net Cash Proceeds Tranche (if, and only
                 if, the Convertible Notes Class accepts the Plan); (ii) $17,250,000 from the Second
                 Net Cash Proceeds Tranche (if, and only if, the Convertible Notes Class accepts the
                 Plan); (iii) 31% of the Third Net Cash Proceeds Tranche; (iv) 77.5% of the Fourth
                 Net Cash Proceeds Tranche (up to such amount as the Allowed Convertible Notes
                 Claims are paid in full); and

                          (y) the New Notes (if, and only if, the Convertible Notes Class accepts the
                 Plan);

        e.       holders of Allowed General Unsecured Claims will receive on account of the
                 Allowed General Unsecured Claims in full and complete satisfaction of such
                 Claims, on the Effective Date (or as soon as practicable thereafter), a Pro Rata
                 distribution from the General Unsecured Claims Reserve. The General Unsecured
                 Claims Reserve shall be funded:

                        (i) $8,000,000 from the First Net Cash Proceeds Tranche (if, and only if,
                 the General Unsecured Claims Class accepts the Plan); (ii) $5,000,000 from the
                 Second Net Cash Proceeds Tranche (if, and only if, the General Unsecured Claims
                 Class accepts the Plan); (iii) 9% of the Third Net Cash Proceeds Tranche; and (iv)

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                 22.5% of the Fourth Net Cash Proceeds Tranche (up to such amount as the Allowed
                 Convertible Notes Claims are paid in full);

        f.       all Interests of Amyris shall on the Effective Date be cancelled and no property
                 shall be received or retained on account of Interests of Amyris and all Interests of
                 the other Debtors shall remain issued and outstanding;

        g.       the Plan, and ancillary documents, shall provide for the respective treatment for the
                 following agreements and claims: the DSM Contracts and DSM’s Claims; and the
                 Givaudan Contracts and Givaudan’s Claims;

        h.       all Estate Causes of Action against the Released Parties will, on the Effective Date,
                 be settled and released;

        i.       the Debtors’ Consumer Brands Business will be sold in accordance with the
                 Bidding Procedures Order; and

        j.       the D&O Insurance Settlement and/or the Excluded Party Litigation Trust, the
                 Direct Claims Recovery Pool and the Direct Claims Injunction will be implemented
                 to the extent as provided for in the Plan.

       Since the Petition Date, the Debtors and their advisors, and Foris and its advisors, have
been engaged in extensive negotiations with the Company’s key contract counterparties, DSM and
Givaudan, with respect to amending their commercial relationships to enable the Debtors to
implement a sustainable business plan going forward. The Plan, and ancillary documents, provide
for a comprehensive operational restructuring of the Debtor with respect to its research and
development and ingredient manufacturing business lines, including its commercial relationships
with DSM and Givaudan. Specifically, the Plan and ancillary documents provide the respective
treatment for the following agreements and claims: the DSM Contracts and DSM’s Claims; and
Givaudan Contracts and Givaudan’s Claims. The negotiations with DSM and Givaudan are
ongoing, and reaching an agreement on binding Term Sheets is a condition to approval of the
Disclosure Statement.

        Prior to the Petition Date, certain holders of the Company’s Convertible Notes formed an
ad hoc group (the “Ad Hoc Noteholders Group”) and retained counsel for the purpose of
addressing Amyris’ financial condition and performance under the Convertible Notes. In an effort
to work cooperatively towards a consensual restructuring, subject to confidentiality, the Company
began to share information with the Ad Hoc Noteholders Group and its advisors, prior to the
Petition Date. The Debtors continue to engage the Ad Hoc Noteholders Group in discussions
regarding the terms of a consensual reorganization.

       The Debtors seek Bankruptcy Court approval of the Plan. Before soliciting acceptances of
a proposed plan of reorganization, section 1125 of the Bankruptcy Code requires a plan proponent
to prepare a disclosure statement containing information of a kind, and in sufficient detail, to
enable a hypothetical reasonable investor to make an informed judgment regarding acceptance of
a chapter 11 plan. This Disclosure Statement is being submitted in accordance with such
requirements. This Disclosure Statement includes, without limitation, information about:


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                the Debtors’ corporate history and corporate structure, business operations, and
                 prepetition capital structure and indebtedness;
                events leading to the Chapter 11 Cases, including the Debtors’ restructuring and
                 sale/transaction negotiations;
                significant events in the Chapter 11 Cases;
                the classification and treatment of Claims and Interests under the Plan; including
                 who is entitled to vote and how to vote on the Plan;
                certain important effects of Confirmation of the Plan;
                releases contemplated by the Plan;
                the statutory requirements for confirming the Plan;
                certain risk factors Holders of Claims should consider before voting to accept or
                 reject the Plan and information regarding alternatives to Confirmation of the Plan;
                 and,
                certain United States federal income tax consequences of the Plan.
        In light of the foregoing, the Debtors believe this Disclosure Statement contains “adequate
information” to enable a hypothetical reasonable investor to make an informed judgment about the
Plan and complies with all aspects of section 1125 of the Bankruptcy Code. Pursuant to Section
1125(a)(1) of the Bankruptcy Code, “adequate information” is defined as “information of a kind,
and in sufficient detail, as far as is reasonably practicable in light of the nature and the history of
the debtor and the condition of the debtor’s books and records, including a discussion of the
potential material Federal tax consequences of the plan to the debtor, and a hypothetical investor
typical of the holders of claims or interests in the case, that would enable such a hypothetical
investor of the relevant class to make an informed judgment about the plan.”

        All creditors entitled to vote to accept the Plan should return their Ballots (as defined
herein), so as to be actually received by the Claims Agent no later than [____________ __, 202_,
at 5:00 p.m. prevailing Eastern Time (except for submission of the Class 7 Convertible Notes
Claims Ballots which may only be submitted in accordance with the express instructions set forth
in the applicable Beneficial Holder Ballot or Master Ballot).] Assuming the requisite acceptances
to the Plan are obtained, the Debtors will seek the Bankruptcy Court’s approval of the Plan at the
Confirmation Hearing.

       The Plan and all documents to be executed, delivered, assured, and/or performed in
connection with the consummation of the Plan, including the documents to be included in the Plan
Supplement, are subject to revision and modification from time to time prior to the Effective Date
(subject to the terms of the Plan).

        Holders of Direct Claims will receive a notice of the provisions in the Plan regarding the
Third Party Release, the Excluded Party Litigation Trust, the Direct Claims Recovery Pool and the
Direct Claim Injunction (the “Direct Claim Provisions”). The Debtors will seek approval of the
Direct Claim Provisions based upon the governing standard for approval of non-consensual third
party releases. In the event the Bankruptcy Court does not approve the Direct Claim Provisions,


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the Direct Claim Provisions shall be deemed a settlement offer to the holders of Direct Claims on
the terms set forth in the Plan, which are less favorable than if the Court were to approve the Direct
Claims Provisions. In such a circumstance, each holder of a Direct Claim may voluntarily elect to
receive its Pro Rata share of 50% of the portion of the Direct Claims Recovery Pool to which it is
entitled by electing to grant the Third-Party Releases, through the following methods: (x) for (i)
holders of Claims who are entitled to submit a ballot to vote on the Plan and vote to accept the
Plan, (ii) holders of Claims who are entitled to submit a ballot to vote on the Plan and (a) vote to
reject the Plan or (b) abstain from voting on the Plan and, in either case, do not elect to exercise
their right to opt out of granting the Third-Party Releases, and (y) for holders of Claims and
Interests who are deemed to accept or reject the Plan and are provided with a notice of non-voting
status providing them with the right to opt out of granting the Third-Party Releases and do not
elect to exercise such right; provided, that, as applicable, the Direct Claims Threshold is satisfied.
Any undistributed amounts in the Direct Claims Recovery Pool that would have otherwise been
allocated to holders of Direct Claims that opted out of granting the Third-Party Release shall revert
to the Reorganized Amyris.

     NOTHING CONTAINED IN THIS DOCUMENT SHALL CONSTITUTE AN
OFFER, ACCEPTANCE, OR A LEGALLY BINDING OBLIGATION OF THE DEBTORS
OR ANY OTHER PARTY IN INTEREST, SINCE THIS DISCLOSURE STATEMENT
AND THE PLAN IT SUPPORTS REMAINS, INTER ALIA, SUBJECT TO APPROVAL BY
THE BANKRUPTCY COURT. THE INFORMATION CONTAINED HEREIN IS
PRELIMINARY AND DEVELOPMENTS MAY OCCUR THAT REQUIRE
MODIFICATIONS OR ADDITIONS TO, OR DELETIONS FROM, THIS DISCLOSURE
STATEMENT AND THE PLAN IT SUPPORTS.

     THIS DISCLOSURE STATEMENT AND THE PLAN IT SUPPORTS ARE THE ONLY
DOCUMENTS THAT CREDITORS AND OTHER PARTIES IN INTEREST SHOULD
CONSIDER IN CONNECTION WITH CONFIRMATION OF THE PLAN, INCLUDING,
WITHOUT LIMITATION, THE SOLICITATION OF VOTES WITH RESPECT TO THE
PLAN. NO STATEMENTS OR INFORMATION CONCERNING THE PLAN AND THE
TRANSACTIONS CONTEMPLATED THEREBY HAVE BEEN AUTHORIZED, OTHER
THAN THE STATEMENTS AND INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT AND THE INFORMATION ACCOMPANYING THIS DISCLOSURE
STATEMENT. ALL OTHER STATEMENTS REGARDING THE PLAN AND THE
TRANSACTIONS CONTEMPLATED THEREBY, WHETHER WRITTEN OR ORAL, ARE
UNAUTHORIZED.

     APPROVAL OF THE DISCLOSURE STATEMENT BY THE BANKRUPTCY COURT
DOES NOT INDICATE THAT THE BANKRUPTCY COURT RECOMMENDS EITHER
ACCEPTANCE OR REJECTION OF THE PLAN, NOR DOES SUCH APPROVAL
CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT OF THE FAIRNESS
OR MERITS OF THE PLAN OR OF THE ACCURACY OR COMPLETENESS OF THE
INFORMATION CONTAINED IN THE DISCLOSURE STATEMENT.

    THE DISCLOSURE STATEMENT CONTAINS IMPORTANT INFORMATION THAT
MAY BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE PLAN. EACH
HOLDER OF A CLAIM OR INTEREST SHOULD READ THIS DISCLOSURE STATEMENT

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AND THE PLAN IN THEIR ENTIRETY. AFTER CAREFULLY REVIEWING THESE
DOCUMENTS, IF YOU ARE A CLAIM HOLDER ENTITLED TO VOTE, PLEASE
INDICATE YOUR VOTE WITH RESPECT TO THE PLAN ON THE ENCLOSED BALLOT
AND RETURN IT IN THE ENVELOPE PROVIDED.

        A.       Solicitation Materials

       On [__________ ____, 2023], the Bankruptcy Court entered the Disclosure Statement
Order. Holders of Claims who are eligible to vote to accept or reject the Plan will receive
appropriate solicitation materials (collectively, the “Solicitation Materials”), including:

                a flash drive or printed book containing the Disclosure Statement, as approved by
                 the Bankruptcy Court (with all exhibits thereto, including the Plan);
                the Disclosure Statement Order (without exhibits thereto);
                the Confirmation Hearing Notice describing (i) entry of the order approving the
                 Disclosure Statement, (ii) the commencement date of the Confirmation Hearing,
                 (iii) the deadline and procedures for filing objections to confirmation of the Plan,
                 (iv) the deadline for receipt of Ballots to accept or reject the Plan, and (v) notice of
                 the Plan’s release, indemnification and exculpation provisions, including the
                 Third Party Release and the Direct Claim Injunction, and the option to opt
                 out of such Third Party Release as contained in the applicable Ballot;
                an appropriate Ballot with voting instructions with respect thereto, together with a
                 pre-addressed return envelope;
                a cover letter from the Debtors (1) describing the Solicitation Materials, and (2)
                 urging the Holders of Claims in the voting Classes to vote to accept the Plan; and
                any supplemental documents the Debtors may file with the Bankruptcy Court prior
                 to solicitation or that the Bankruptcy Court orders to be made available.

        B.       Only Impaired Classes Vote

       Pursuant to the provisions of the Bankruptcy Code, only classes of claims and interests that
are “impaired” under a plan may vote to accept or reject the plan. Generally, a claim or interest is
impaired under a plan if the holder’s legal, equitable, or contractual rights are changed under such
plan. In addition, if the holders of claims or interests in an impaired class do not receive or retain
any property under a plan on account of such claims or interests, such impaired class is deemed to
have rejected the plan and shall not be afforded an opportunity to vote to accept or reject the plan.

        Under the Plan, Claims in Classes 1, 2 and 14 are unimpaired and, consequently, are
presumed to accept the Plan. Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10 [and 13] are Impaired and
entitled to vote on the Plan (the “Voting Classes). Holders of Claims in Class 12 and Holders of
Interests in Class 15 will receive no distribution, and, accordingly, such holders are deemed to
reject the Plan. Class 11 is Impaired under the Plan, but deemed to accept the Plan as the holders
of the Class 11 Claims are Debtors, proponents of the Plan, or wholly-owned Affiliates of the
Debtors. ACCORDINGLY, A BALLOT FOR ACCEPTANCE OR REJECTION OF THE PLAN
IS BEING PROVIDED ONLY TO HOLDERS OF CLAIMS IN CLASSES 3 THROUGH 10
[AND CLASS 13].


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        Holders of Claims in Classes 1, 2, 11 and 12 and Holders of Interests in Classes 14 and 15
do not get to vote to accept or reject the Plan (the “Non-Voting Classes”) and will not receive the
Solicitation Materials. Holders of Claims and/or Interests in the Non-Voting Classes (except of
Classes 11 and 14) will receive a Non-Voting Class Notice which will set forth: (a) the recipient’s
status as a member of a Non-Voting Class; (b) the date and time of the Confirmation Hearing; and
(c) the deadline and procedures for filing objections to the Plan. The Non-Voting Class Notice
will also include a description of the Plan’s release, indemnification and exculpation
provisions, including the Third Party Release, and an Opt-Out Election Form, and will set
forth the deadline (January 10, 2024, at 5:00 p.m., prevailing Eastern Time) and procedures
for each Holder of a Claim or Interest in a Non-Voting Class to make such opt-out election.
The Non-Voting Class Notices will further indicate that a holder of a Claim and/or Interest in a
Non-Voting Class is entitled, upon written request to counsel to the Debtors, to receive a copy of
the Plan and Disclosure Statement, in electronic format (or such other format as specifically
requested by such Claimant or Interest Holder) at the expense of the Debtors. The Non-Voting
Class Notices will also contain the link to the Solicitation Agent’s website where any party in
interest can access copies of the Solicitation Materials, including the Plan and Disclosure
Statement, at no cost.

        Holders of Claims in Class 11 and Interests in Class 14 are deemed to have received the
notices without actual delivery based on their status as a Debtor, a proponent of the Plan, or wholly-
owned Affiliate of the Debtors.

        C.       Voting Procedures

       The deadline to vote on the Plan is January 10, 2024, at 5:00 p.m. prevailing Eastern
Time (the “Voting Deadline”). All votes to accept or reject the Plan must be received by the
Debtors’ solicitation agent, Stretto, Inc. (the “Solicitation Agent”), by the Voting Deadline.

       Ballots must be actually received by the Solicitation Agent by the Voting Deadline at the
following address, whether sent by first class mail, personal delivery, or overnight courier:

                                        Amyris Balloting
                                           c/o Stretto
                                     410 Exchange, Suite 100
                                        Irvine, CA 92602

An envelope addressed to the Solicitation Agent will be enclosed with the Solicitation Materials.
Alternatively, Ballots may be submitted via the Solicitation Agent’s online portal by visiting
https://cases.stretto.com/Amyris. Ballots that may be submitted electronically will have a unique
code which must be used for that purpose. These procedures do not apply to Class 7 Convertible
Notes Claims Ballots which may only be submitted in accordance with the express instructions set
forth in the applicable Beneficial Holder Ballot or Master Ballot.

        More detailed instructions regarding how to vote on the Plan are contained on the ballots
distributed to Holders of Claims that are entitled to vote to accept or reject the Plan. All votes to
accept or reject the Plan must be cast by using the appropriate ballot. All Ballots must be properly
executed, completed, and delivered to the Solicitation Agent by: (a) first class mail, (b) overnight

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courier, (c) personal delivery, or (d) submission by no later than the Voting Deadline of an
electronic Ballot through the Solicitation Agent’s on-line electronic Ballot submission portal at
https://cases.stretto.com/Amyris (except for submission of the Class 7 Convertible Notes Claims
Ballots which may only be submitted in accordance with the express instructions set forth in the
applicable Beneficial Holder Ballot or Master Ballot. Any Ballot that is properly executed by the
Holder of a Claim entitled to vote that does not clearly indicate an acceptance or rejection of the
Plan or that indicates both an acceptance and a rejection of the Plan will not be counted. Ballots
received by facsimile or by electronic means will not be counted.

        Each Holder of a Claim entitled to vote to accept or reject the Plan may cast only one Ballot
for each Claim held by such Holder. By signing and returning a Ballot, each Holder of a Claim
entitled to vote will certify to the Bankruptcy Court and the Debtors that no other Ballots with
respect to such Claim has been cast or, if any other Ballots have been cast with respect to such
Claim, such earlier Ballots are superseded and revoked.

       It is important to follow the specific instructions provided on each Ballot, as failing to do
so may result in the Ballot not being counted.

              1.       Plan Objection Deadline

        The Bankruptcy Court has established January 10, 2024, at 5:00 p.m. prevailing Eastern
Time, as the deadline to object to confirmation of the Plan (the “Plan Objection Deadline”). All
such objections must be filed with the Bankruptcy Court and served on the Debtors and certain
Notice Parties in accordance with the Disclosure Statement Order and Solicitation Procedures so
that they are actually received on or before the Plan Objection Deadline. The Debtors believe that
the Plan Objection Deadline, as established by the Bankruptcy Court, affords the Bankruptcy
Court, the Debtors, and other parties in interest reasonable time to consider the objections to the
Plan before a Confirmation Hearing.

              2.       Confirmation Hearing

        The Bankruptcy Court has scheduled a hearing to consider confirmation of the Plan for
January 17, 2024, at 11:00 a.m., prevailing Eastern Time, in the Bankruptcy Court, located at
824 N. Market Street, 6th Floor, Courtroom 6, Wilmington, DE 19801 (the “Confirmation
Hearing”). The Confirmation Hearing may be continued from time to time without further notice
other than an adjournment announced in open court or a notice of adjournment filed with the
Bankruptcy Court and served on the entities who have filed objections to the Plan, without further
notice to other parties in interest. The Bankruptcy Court, in its discretion and before a
Confirmation Hearing, may put in place additional procedures governing such hearing. The Plan
may be modified, if necessary, before, during, or as a result of the hearing to confirm the Plan
without further notice to parties in interest, subject to the terms of the Plan.

        D.         Overview of the Plan

     THE FOLLOWING IS A BRIEF SUMMARY OF THE TREATMENT OF CLAIMS
AND INTERESTS UNDER THE PLAN. CREDITORS AND OTHER PARTIES IN INTEREST
ARE URGED TO REVIEW THE MORE DETAILED DESCRIPTION OF THE PLAN
CONTAINED IN THIS DISCLOSURE STATEMENT AND THE PLAN ITSELF.

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        Set forth below is a table summarizing the classification of and estimated recoveries on
account of Allowed Claims and Interests under the Plan. The actual distributions may differ from
those set forth in the table depending on the amount of Claims ultimately allowed in each category
or Class. The amounts set forth below do not include any potential recoveries from the Direct
Claims Recovery Pool.

    DESCRIPTION/CLASS                                ESTIMATED                      ESTIMATED
                                                     ALLOWED AMOUNT                 DISTRIBUTION (%)
    Administrative Claims                            $75,000,000                    100%
    Priority Tax Claims                              $2,100,000                     100%
    Class 1 Other Secured Claims                     $0                             100%
    Class 2 Other Priority Claims                    $0                             100%
    Class 3 Foris Prepetition Secured                $312,100,919                   ___% - ___%
    Claims
    Class 4 DSM Real Sweet Secured                   $29,518,925                    100%
    Claims
    Class 5 DSM Other Secured Claims                 $45,450,000                    0%
    Class 6 Lavvan Secured Claim                     Unknown                        ___%
    Class 7 Convertible Note Claims                  $690,000,000                   ___% - ___%
    Class 8 General Unsecured Claims                 $200,000,0005                  ___% - ___%
    Class 9 DSM Contract Claims                      $0                             100%
    Class 10 Givaudan Contract Claims                $0                             100%
    Class 11 Intercompany Claims                     $[___]                         ___%
    Class 12 Section 510(b) Claims                   Unknown                        ___%
    [Class 13 Convenience Claims                     $[___]                         ___%]
    Class 14 Intercompany Interests                  N/A                            ___%
    Class 15 Amyris Equity Interests                 N/A                            ___%


II.     BACKGROUND AND CHAPTER 11 CASES

       The Debtors were founded in 2003 to create a more stable supply of a key anti-malarial
treatment. Through the Debtors’ cutting-edge science, artemisinin—the most effective anti-
malarial drug in the world—is now consistently available to treat the deadly disease. Using the
same technological innovations that produced artemisinin, the Debtors have become the world’s
leading manufacturer of ingredients made with synthetic biology. The Debtors provide sustainable
ingredients that are eco-friendly alternatives to raw material sourced for flavors and fragrances,
sweeteners, cosmetics, pharmaceuticals, and other consumer products.

       A detailed description of the Debtors’ business and facts precipitating the filing of the
Debtors’ Chapter 11 Cases are set forth in the Declaration of Han Kieftenbeld in Support of the
Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 18](the “First Day Declaration”)
and the Declaration of Han Kieftenbeld in Support of Joint Motion of the Debtors for Order (A)
Directing Joint Administration of Related Chapter 11 Cases for Procedural Purposes Only, and
5
 Includes approximately $102 million in trade claims as of the Petition Date, plus, among other things, contingent,
unliquidated or disputed rejection damage claims and litigation claims..

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(B) Applying Certain Order in the Chapter 11 Cases of Amyris, Inc. and Its Affiliated Debtors to
the Chapter 11 Cases of Clean Beauty Collaborative, Inc., Clean Beauty 4U Holdings, LLC, and
Clean Beauty 4U LLC [Docket No. 120] (the “Supplemental First Day Declaration”).

       Through these Chapter 11 Cases, the Debtors are implementing both an operational and
balance sheet restructuring, address liquidity challenges, and preserve and maximize value. In
proposing the Plan, the Debtors are centralizing their going-forward operations on their core
business: developing molecules, manufacturing them at scale, and commercializing them with
partners who are leaders in their markets, including on the basis of reset commercial agreements.
Accordingly, the Debtors are exiting their consumer brands businesses, with a view to have these
brands continue under new ownership while still leveraging Amyris’ cutting-edge science and
technology.

        A.       Debtors’ History and Formation

        Amyris is the world’s leading manufacturer of ingredients made with synthetic biology.
Through its proprietary fermentation technology, Amyris provides sustainable ingredients that are
eco-friendly alternatives to raw material sourced for flavors and fragrances (“F&F”), sweeteners,
cosmetics, pharmaceuticals, and other consumer products. Traditionally, these raw materials were
either (a) produced through petrochemistry,6 which generates high greenhouse gas emissions and
is, by definition, nonrenewable or (b) extracted from biological sources,7 which in many cases can
be harmful to the environment, resulting in severe imbalances to the ecosystem. Amyris has
developed sustainable and scalable alternatives to these environmentally damaging processes by
using microbes (primarily yeast) to transform simple, sustainably grown, plant-based sugars into
ingredients that are used in everything from lifesaving vaccines to commonly used consumer
products. In addition, Amyris operates a family of consumer brands that utilize the Company’s
ingredients.

        Amyris was founded in 2003 with a foundation grant to create a more stable supply of a
key antimalarial treatment, artemisinin. At the time, artemisinin was extracted from the Artemisia
annua (sweet wormwood) plant, which was in limited supply and subject to drastic price
fluctuations. After scientists in the lab of Professor Jay Keasling at the University of California,
Berkeley, demonstrated that microbes could be engineered to create a precursor8 of artemisinin,
Keasling and some of his colleagues founded Amyris to produce semi-synthetic artemisinin at an
industrial scale utilizing fermentation technology. Through Amyris’ cutting-edge science,
artemisinin—the most effective anti-malarial drug in the world—is now consistently available to
treat the deadly disease.


6
  The term “petrochemistry” refers to a branch of chemistry that focuses on how crude oil and natural gas are
transformed into raw materials and other products.
7
  For centuries, raw materials have been extracted from plants and animals. For example, squalene, an adjuvant (a
vaccine component that increases efficacy) in the SARS-CoV-2 vaccine, is traditionally harvested from shark livers
and santalols—the fragrant component of sandalwood oil—are traditionally extracted from the threatened Santalum
album species of tropical tree.
8
  A “precursor” refers to a chemical compound preceding another chemical compound in a metabolic pathway (i.e.,
a linked series of chemical reactions occurring within a cell).


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         Amyris’ artemisinin project set the tone for the Company’s subsequent programs and led
to its motto: Make Good, No Compromise. Consistent with its motto, the Company uses
sustainable and scalable synthetic biology to produce compounds that are otherwise only found in
nature, without adverse impacts to natural resources and the environment. Using the same
technological innovations that produced lifesaving semisynthetic artemisinin through sugarcane
fermentation, over the past fifteen years, the Company has successfully commercialized sixteen
unique products. Thirteen of the Company’s unique ingredients are biological products utilized
across multiple industries and regulatory landscapes, including squalene (vaccine adjuvant), Reb
M (zero calorie sweetener), and patchouli (sustainable woody fragrance); the three other products
have been produced through semisynthesis, including squalane (an emollient for skin
moisturization). In addition to its core business—the development, commercialization, and
manufacture of rare molecules (also referred to as “ingredients”) through proprietary fermentation
processes—the Company also has developed and launched a family of clean beauty brands that
utilize the natural and sustainable ingredients that Amyris produces. The Company sells these
clean beauty products through direct-to-consumer e-commerce platforms and a network of retail
partners, including Sephora, Target, and Walmart, both in the United States and abroad.

        B.         Material Prepetition Commercial Transactions

              1.       Givaudan

        On February 21, 2023, Amyris and Givaudan SA (“Givaudan”) entered into an agreement
where Amyris agreed to sell, assign, or license certain of its cosmetic ingredients businesses to
Givaudan, including an assignment of certain distribution agreements, a sale of certain trademarks,
and a grant of an exclusive, worldwide, irrevocable license to distribute, market and sell
Neossance® Squalane emollient, Neossance® Hemisqualane silicone alternative, and
CleanScreen™ sun protector in cosmetics actives for $200.0 million in cash at closing and up to
$150.0 million in earn-out payments over three years. The companies also entered into a long-term
partnership agreement for the manufacturing of cosmetic ingredients by Amyris for Givaudan.
These agreements have proven to not be commercially viable for Amyris and as a result the Plan
is predicated upon these agreements being substantially modified.

              2.       DSM

        In 2017, the Company monetized the use of one of its mature molecules in certain fields of
use by licensing farnesene to DSM. The Company also sold to DSM its subsidiary, Amyris Brasil
Ltda., which owned and operated a biofuel-oriented manufacturing facility in Brotas, Brazil that
manufactures farnesene.

        On March 31, 2021, the Company entered into a license agreement and asset purchase
agreement pursuant to which DSM acquired exclusive rights to the Company’s flavors and
fragrances product portfolio, which included intellectual property licenses and the assignment of
related supply agreements, for upfront consideration of $150 million, and up to $235 million of
contingent consideration if certain commercial milestones are achieved between 2022 and 2024.
In connection with this transaction, the Company also entered into a 15-year agreement to
manufacture certain flavors and fragrances ingredients for DSM for supply to third parties,



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including Givaudan. These agreements have proven to not be commercially viable for Amyris and
as a result the Plan is predicated upon these agreements being substantially modified.

        C.         Debtors’ Corporate and Capital Structures

              1.       Corporate Structure

       Amyris was originally incorporated in California in 2003 under the name Amyris
Biotechnologies, Inc., before reincorporating in Delaware in 2010 under the name Amyris, Inc.
The Company’s principal executive offices are located at 5885 Hollis Street, Suite 100,
Emeryville, California 94608.

        Amyris, Inc. is a Debtor in these Chapter 11 Cases and is the parent company of numerous
direct and indirect subsidiaries organized in the United States, Brazil, and Europe. Each of the
other Original Debtors is a Delaware entity that is a wholly owned9 subsidiary of Amyris, Inc. A
corporate organizational chart depicting the Company’s legal entity structure, including Debtor
and non-Debtor subsidiaries and joint ventures, is attached hereto as Exhibit “B”.

       On June 5, 2023, the Company announced that its Board of Directors had established a
Restructuring Committee, made up of three independent directors, to work with management to
address cost and capital structure and liquidity issues.

        As of the Petition Date, the Board of Directors appointed M. Freddie Reiss, CIRA, CPA,
CTP (retired), formerly a senior managing director at FTI Consulting, as an additional independent
director and member of the Restructuring Committee. On August 29, 2023, the Company
announced the appointment of J. Scott White to the Board of Directors and the Restructuring
Committee.

        As of the Petition Date, the Board of Directors also appointed Philip J. Gund, Senior
Managing Director at Ankura Consulting Group, LLC, as the Company’s Chief Restructuring
Officer. Mr. Gund reports directly to the Restructuring Committee. Mr. Gund has over forty years
of professional experience, including thirty-four years working with troubled companies and their
creditors, investors, and court-appointed officials, and has successfully advised clients on all
aspects of the workout process.

      From and after the Effective Date, the members of the Reorganized Debtors’ management
and Board of Directors will be identified in the Plan Supplement.




9
 Amyris, Inc. holds 99% of the membership interests in Debtor Aprinnova, LLC (“Aprinnova”), with the remaining
1% held by Nikko Chemicals Co., Ltd.


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                 2.       Prepetition Capital Structure

                              a. Secured Debt

                                  i.     Foris

        Foris Prepetition Secured Loans. Pursuant to those certain (i) Amended and Restated Loan
and Security Agreement by and among Amyris, Inc., as borrower, Amyris Clean Beauty, Inc.
(“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as guarantors
(“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the “Subsidiary
Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris, as lender, dated as of
October 28, 2019, as amended by that certain Omnibus Amendment Agreement, dated as of June
5, 2023, and as further amended, restated, supplemented or otherwise modified from time to time,
(ii) Amended and Restated Loan and Security Agreement by and among Amyris, Inc., as borrower,
the Subsidiary Guarantors, as guarantors, and Foris, as lender, dated as of September 27, 2022, as
amended by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further
amended, restated, supplemented or otherwise modified from time to time, (iii) Bridge Loan and
Security Agreement by and among Amyris, Inc., as borrower, the Subsidiary Guarantors, as
guarantors, and Perrara Ventures, LLC (“Perrara”), as lender, dated as of March 10, 2023, as
amended by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further
amended, restated, supplemented or otherwise modified from time to time, (iv) Loan and Security
Agreement by and among Amyris, Inc., as borrower, the Subsidiary Guarantors, as guarantors, and
Anesma Group, LLC (“Anesma”), as lender, dated as of June 5, 2023, (v) Loan and Security
Agreement by and among Amyris, Inc., as borrower, the Subsidiary Guarantors, as guarantor, and
Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and (vi) Loan and Security
Agreement by and among Amyris, Inc., as borrower, the Subsidiary Guarantors, as guarantors, and
Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the foregoing as further
amended, supplemented, amended and restated, or otherwise modified prior to the Petition Date,
the “Foris Prepetition Secured Loans,” and collectively with any other agreements and documents
executed or delivered in connection with the Foris Prepetition Secured Loans, including the Foris
Security Agreements (as defined herein), the “Foris Prepetition Secured Loan Agreements”), and
Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris Prepetition Secured Lenders”),
provided prepetition term loans to the Company.

        As of the Petition Date, the aggregate principal amount outstanding under the Foris
Prepetition Secured Loan Agreements is at least $312,100,000 (plus accrued and unpaid
nondefault interest, additional fees, costs, expenses, and other obligations as provided under the
Foris Prepetition Secured Loan Agreements) (collectively, the “Foris Prepetition Obligations”),
which Foris Prepetition Obligations have been guaranteed on a joint and several basis by each of
the Subsidiary Guarantors.

        Foris Prepetition Loan Collateral. In connection with the Foris Prepetition Secured Loan
Agreements, Amyris, Inc. and the Subsidiary Grantors, as applicable, entered into various security,
patent, copyright, and trademark security agreements (all of the foregoing as further amended,
supplemented, amended and restated, or otherwise modified from time to time, the “Foris Security
Agreements”), pursuant to which the Foris Prepetition Obligations are secured by first priority



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security interests in and liens on the “Collateral,” as defined in the Foris Security Agreements (the
“Prepetition Collateral”).

        Foris Cash Collateral. Any and all of the Debtors’ cash, including the Debtors’ cash and
other amounts on deposit or maintained in any account or accounts by the Debtors, including any
amounts generated by the collection of accounts receivable or other disposition of the Prepetition
Collateral existing as of the Petition Date, and the proceeds of any of the foregoing is the Foris
Prepetition Secured Lenders’ cash collateral.

                                 ii.     DSM

        Amyris, Inc., is the borrower under that certain Loan and Security Agreement dated as of
October 11, 2022, as amended and restated by that certain Amendment and Restatement
Agreement dated as of December 12, 2022 (as further amended, restated, supplemented or
otherwise modified from time to time, the “DSM LSA”), by and among Amyris, Inc., certain
subsidiaries thereof as guarantors, and DSM Finance B.V. (“DSM BV”), pursuant to which the
Company obtained, among other financial accommodations, term loans in three tranches
consisting of Tranche 1 with principal obligations of $50,000,000, Tranche 2 with principal
obligations of $25,000,000, and Tranche 3 with principal obligations of $25,000,000. As of the
Petition Date, the aggregate outstanding principal amount of Tranches 1 and 2 is approximately
$45 million and the aggregate outstanding principal amount of Tranche 3 is approximately $29
million.

         Pursuant to that certain Security Agreement dated as of October 11, 2022 (as amended,
restated, supplemented or otherwise modified from time to time, the “DSM Security Agreement”),
by and among Amyris, Inc., and DSM BV, certain of the Company’s obligations under the DSM
LSA are secured by a lien and security interest in favor of DSM BV in all of Amyris, Inc.’s rights
to any earn-out amounts that may become payable from DSM Nutritional Products Ltd. to Amyris,
Inc., in accordance with Section 3.5 of the Purchase Agreement (as defined in the DSM Security
Agreement) and any and all claims, rights, and interests in any of the above.

        Pursuant to that certain Pledge Agreement dated as of December 12, 2022, by and among
Amyris, Inc., and DSM BV, Amyris, Inc., certain of the Company’s obligations under the DSM
LSA are secured by a lien and security interest in favor of DSM BV in Amyris, Inc.’s 69.00%
equity interests in Amyris RealSweet, LLC.

                              b. Unsecured Debt

        On November 15, 2021, Amyris completed a sale of $600 million aggregate principal
amount of 1.50% convertible unsecured senior notes due 2026 (the “Convertible Notes”). The
Convertible Notes were issued pursuant to an Indenture, dated as of November 15, 2021 (the
“Indenture”), between the Company and U.S. Bank National Association, as trustee (“U.S. Bank”).
The Convertible Notes bear interest at a rate of 1.50% per year, payable in cash semiannually in
arrears on November 15 and May 15 of each year, beginning on May 15, 2022, and mature on
November 15, 2026, unless earlier repurchased, redeemed, or converted in accordance with their
terms prior to such date.



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       The initial purchasers of the Convertible Notes exercised their options to purchase an
additional $90 million aggregate principal amount of notes in full, on November 11, 2021, for
issuance on November 15, 2021. As a result, as of the Petition Date, the outstanding balance of
the Convertible Notes is approximately $690 million.

       As of the Petition Date, the Debtors estimate that the total amount of their outstanding trade
payables totals approximately $102 million.

                              c. Equity

      Amyris became a public company through an initial public offering on the Nasdaq Stock
Market on September 28, 2010, where it trades under the symbol AMRS.

         As of December 31, 2022, over 30% of Amyris capital stock was beneficially owned by a
limited number of stockholders, including Foris and DSM. Furthermore, Foris and other insider
stockholders hold some or a combination of convertible preferred stock, warrants, and purchase
rights, pursuant to which they may acquire additional shares of common stock and thereby increase
their ownership interest in the Company.

       At July 10, 2023, there were 182 common stockholders of record (not including beneficial
holders of stock held in street names).

        D.         Significant Litigation

              1.       Securities Class Action

        On June 21, 2019, and October 1, 2019, respectively, two separate purported shareholder
derivative complaints were filed in the U.S. District Court for the Northern District of California
(the “Northern California District Court”) (Bonner v. Doerr, et al. (Case No. 4:19-cv-03621) and
Carlson v. Doerr, et al. (Case No. 4:19-cv-06230)), naming the Company, and certain of the
Company’s current and former officers and directors, as defendants. An additional shareholder
derivative complaint (Kimbrough v. Melo, et al. (Case No. 4:20-cv-09227)), substantially identical
to the Bonner complaint, was filed on December 18, 2020, in the U.S. District Court for the
Northern District of California. The derivative lawsuits sought to recover, on the Company’s
behalf, unspecified damages purportedly sustained by the Company in connection with allegedly
misleading statements and omissions made in connection with the Company’s securities filings.
The derivative lawsuits were later consolidated into one action (the “Derivative Lawsuit”).

         On June 20, 2022, the Northern California District Court granted the Company’s motion
to dismiss the Derivative Lawsuit without prejudice. Subsequently, Bonner informed the court
that it did not intend to file a second amended complaint. On August 18, 2022, the court issued
the judgment in favor of the Company and awarded the Company an immaterial amount in costs.
On September 9, 2022, Bonner filed a notice of appeal of the Court’s decision, which appeal is
pending as of the Petition Date.




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                   2.     Lavvan Litigation

         On August 23, 2020, Lavvan, Inc. (“Lavvan”) brought claims in arbitration against the
Company in the ICC International Court of Arbitration (Case No. 25998/PDP) under that certain
Research, Collaboration and License Agreement dated March 18, 2019, and on September 10,
2020, Lavvan filed a complaint against the Company in the U.S. District Court for the Southern
District of New York (“SDNY”) (Case 1:20-cv-07386-JPO). The evidentiary hearing took place
in arbitration (the “Lavvan Arbitration”) from October 24 – 28, 2022. After the evidentiary hearing
and post-hearing submissions, the parties await the final decision of the arbitral tribunal.

       On September 11, 2023, the Court entered the Order Granted Limited Modification of
Automatic Stay to Permit Issuance of an Arbitration Award [Docket No. 230], pursuant to which
the Debtors consented to the lifting of the automatic stay to allow the issuance of a decision in the
Lavvan Arbitration.

                   3.     Beauty Labs Litigation

        On February 22, 2023, Disruptional Ltd. and & Vest Beauty Labs LP, sellers of Beauty
Labs International Ltd., a business acquired by the Company on August 31, 2021, filed a complaint
against the Company in New York State court, alleging, among other things, a breach of contract
related to earnout payments. On March 15, 2023, the Company removed the lawsuit to SDNY.

        E.         Events Leading to the Commencement of the Bankruptcy Cases

              1.        Financial and Operational Challenges

        The Company has incurred operating losses since its inception, thus requiring a continuing
need for equity and debt capital to sustain operations. Over the past two years, total revenues have
plunged more than 20%; revenue in 2021 totaled $341.8 million and declined to $269.8 million
the following year. During that same period, the Company faced manufacturing input, freight, and
logistics cost increases as well as increased operating expenses, such as brand management and
marketing expenses.

        Adjusted EBITDA was ($521.0) million in 2022 primarily due to increased operating
expenses and higher ingredients cost of goods sold for contract-manufactured intermediate and
finished product. Operating expenses included the burden of operating ten consumer brands,
heavier spend associated with increasing employee headcount during 2022, and significant
consumer brand marketing spend to support brand development and top line growth. Capital
expenditures, mostly related to the construction and commissioning of the Barra Bonita
fermentation plant was a significant use of cash beginning in 2022. At the end of 2022, the
Company implemented a “Fit-to-Win” restructuring strategy that involved targeted price
increases, production, shipping, and unit cost reductions and other cost-reduction strategies.

        As part of the need to restructure, the Company retained the Business Recovery Services
unit of PricewaterhouseCoopers (“PwC”) in April 2023 to work with the Restructuring Committee
and management to accelerate improvements and further the Company’s “Fit-to-Win” efficiency
and cost reduction program. Additionally, the Company established a Transformation Office,


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supported by PwC, to oversee various work streams to help deliver the Company’s cost reduction
targets and to simplify its business portfolio.

        These efforts have yielded mixed results. In May 2023, the Company announced its 2023
first quarter financial results, which showed a reduction in total revenue of $56.1 million as
compared to $57.7 million in the first quarter of 2022, a 3% decrease. However, the Company
remains challenged by an overleveraged balance sheet, continuing trade losses, mounting litigation
risk, deeply unprofitable contracts, and dwindling trade vendor support.

        Notably, Amyris’ two core businesses—Technology Access (comprising revenue from
ingredient product sales, R&D collaboration programs, and technology licensing) and Consumer
(brands and services)—continue to incur significant losses; each of the Company’s consumer
brands are loss-generating and losses generated in the Technology Access business are principally
a result of unfavorable margin economics in certain of the Company’s contracts.

                 2.       Key Prepetition Actions

        With the support of its advisors, the Company began implementing “Amyris 2.0” prior to
the Petition Date, focusing its strategy and go-forward business plan around the Company’s core
Lab-to-Market™ competencies of research, formulation, and development of ingredients and
ingredient applications, commercial scaling, and commercialization of its sustainable ingredients.
As such, the Company made the strategic decision to re-focus away from its consumer brands,
some of which were shut down prior to the Petition Date. In July 2023, Amyris engaged Intrepid
Investment Bankers LLP (“Intrepid”) to, among other things, market the Company’s consumer
brands, a process that will continue during these Chapter 11 Cases.

        In addition, prior to the Petition Date, the Company implemented aggressive cost-reduction
actions, which included the shutdown of several loss-generating consumer brands and two
workforce downsizings in June and August 2023. To support these initiatives and the Company’s
efforts to reorganize, the Company engaged in efforts regarding potential financing, and explored
alternative sources of capital, including selling assets, borrowing money from new lenders, and
issuing additional equity. These efforts ultimately were not successful.

       On June 5, 2023, the Company announced the entry into loan amendments with its
principal secured lenders—Foris and DSM—that resulted in a waiver of all existing defaults, and
a secured term loan facility with a Foris-affiliate, Anesma, through which Anesma provided the
Company with a $50 million loan for working capital and general corporate purposes.

         Additionally, (a) on June 29, 2023, the Company announced entry into a secured term loan
facility with Foris-affiliate Anjo, through which Anjo provided the Company with a $50 million
loan for working capital and general corporate purposes and (b) on August 3, 2023, the Company
announced entry into a secured term loan facility with Foris-affiliate Muirisc through which
Muirisc provided the Company with a $20 million loan for working capital and general corporate
purposes, including to fund separation costs associated with the Company’s reductions in force
around the date of such loan.




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                   3.      Supply Chain and Accounting Investigation

        Prior to the commencement of the Chapter 11 Cases, the Company became aware of
allegations of potential supply-chain administration irregularities that may have resulted in
accounting issues during the third quarter of 2021 through the fourth quarter of 2022. Upon being
advised of the allegations, the Audit Committee of the Company’s Board of Directors engaged
outside legal and forensic experts to undertake an investigation of the alleged irregularities. The
investigation was not concluded as of the Petition Date. However, certain individuals that were
involved in the alleged irregularities have been separated from the Company and there is no
evidence that any of the alleged improper conduct is ongoing.

                   4.      Commencement of the Bankruptcy Cases

        On August 9, 2023 (the “Original Petition Date”), each Original Debtor filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code. Pursuant to the Order Authorizing
Joint Administration of Related Chapter 11 Cases for Procedural Purposes Only [Docket No. 50]
(the “Original Joint Administration Order”), the chapter 11 cases of the Original Debtors were
jointly administered and are consolidated for procedural purposes.

       On August 21, 2023 (the “Supplemental Petition Date”), the Additional Debtors each filed
a voluntary petition in this Court for relief under chapter 11 of the Bankruptcy Code. Each of the
Additional Debtors are direct or indirect subsidiaries of Original Debtor Amyris, Inc. Specifically:
(a) CBC is a subsidiary of Original Debtor Amyris Clean Beauty, Inc. (“ACB”), which in turn is
a wholly-owned subsidiary of Original Debtor Amyris, Inc.;10 (b) CB4U Holdings is a wholly-
owned subsidiary of Original Debtor Amyris, Inc.; and (c) CB4U is a subsidiary of CB4U
Holdings.11 In addition, Amyris, Inc. is the manager of CB4U. CBC and CB4U are joint ventures
with brand partners for two of the Company’s consumer brands.

        On August 23, 2023, the Court entered its Order (A) Directing Joint Administration of
Related Chapter 11 Cases for Procedural Purposes Only and (B) Applying Certain Orders in the
Chapter 11 Cases of Amyris, Inc. and its Affiliated Debtors to the Chapter 11 Cases of Clean
Beauty Collaborative, Inc., Clean Beauty 4U Holdings, LLC, and Clean Beauty 4U LLC [Docket
No. 125], pursuant to which all of the Debtors cases are jointly administered together and making
certain relief granted to the Original Debtors applicable to the Additional Debtors.

       The Debtors operate their businesses and manage their properties as debtors in possession
pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been
appointed in their chapter 11 cases.




10
     ACB owns 56.5% of CBC.
11
     Debtor Amyris, Inc. indirectly owns 49% of CB4U.


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           F.         Events During the Chapter 11 Cases

                 1.       First Day and Cash Collateral Relief

       On the Original Petition Date, the Debtors have filed a number of First Day Pleadings
seeking orders that grant various forms of relief intended to stabilize the Debtors’ business
operations, facilitate the efficient administration of these Chapter 11 Cases, and expedite a swift
and smooth restructuring process. On August 9, 2023, the Debtors filed the following First Day
Pleadings:12

                     Joint Administration Motion. Motion for Order Directing Joint Administration
                      of Related Chapter 11 Cases for Procedural Purposes Only. (The Court ordered
                      joint administration of the Original Debtors’ cases on August 11, 2023).

                     Consolidated Matrix Motion. Motion for Entry of an Order: (I) Authorizing the
                      Debtors to: (A) File a Consolidated List of Creditors in Lieu of Submitting a
                      Separate Mailing Matrix for Each Debtor, (B) File a Consolidated List of the
                      Debtors’ Thirty Largest Unsecured Creditors, and (C) Redact Certain Personally
                      Identifiable information for Individual Creditors; (II) Modifying the Requirement
                      to File a List of All Equity Security Holders of Amyris, Inc. and Modifying Notice
                      Thereto; and (III) Granting Related Relief. (August 11, 2023).

                     Cash Management Motion. Motion for Entry of Interim and Final Orders
                      Authorizing the Debtors to (A) Continue Operating Cash Management System, (B)
                      Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
                      Business Forms, and (D) Granting Related Relief. (Interim Order: August 11,
                      2023; Final Order: September 12, 2023).

                     Employee Wage and Benefits Motion. Motion for Entry of Interim and Final
                      Orders: (I) Authorizing, But Not Directing, the Debtors to (A) Pay Prepetition
                      Employee Wages, Salaries, Other Compensation, and Reimbursable Employee
                      Expenses and (B) Continue Employee Benefits Programs and (II) Granting Related
                      Relief. (Interim Order: August 11, 2023; Final Order: September 8, 2023).

                     Utility Motion. Motion for Entry of Interim and Final Orders: (I) Approving
                      Proposed Form of Adequate Assurance of Payment to Utility Companies; (II)
                      Establishing Procedures for Resolving Objections by Utility Companies; (III)
                      Prohibiting Utility Companies From Altering, Refusing, or Discontinuing Service;
                      and (IV) Granting Related Relief. (Interim Order: August 11, 2023; Final Order:
                      September 11, 2023).

                     Customer Programs Motion. Motion for Entry of Interim and Final Orders (I)
                      Authorizing Debtors to (A) Honor Certain Prepetition Obligations to Customers
                      and (B) Otherwise Continue Certain Customer Programs in the Ordinary Course


12
     The date the Court approved the First Day Pleading is indicated in parentheses.


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                 of Business and (II) Granting Related Relief. (Interim Order: August 11, 2023;
                 Final Order: September 8, 2023).

                Worldwide Stay Motion. Motion for Entry of an Order (I) Restating and
                 Enforcing the Worldwide Automatic Stay, Anti-Discrimination Provisions, and Ipso
                 Facto Protections of the Bankruptcy Code, and (II) Approving the Related Form
                 and Manner of Notice. (August 11, 2023).

                Stock Transfer Procedures Motion. Motion for Entry of Interim and Final Orders
                 Approving Notification and Hearing Procedures for (I) Certain Transfers of and
                 Declarations of Worthlessness With Respect to Common Stock, (II) Certain
                 Transfers of Claims Against Debtors and (II) Granting Related Relief. (Interim
                 Order: August 11, 2023; Final Order: September 8, 2023).

                Critical Vendor Motion. Motion for Entry of Interim and Final Orders: (I)
                 Authorizing Debtors to Pay Prepetition Claims of Critical Vendors, Foreign
                 Vendors, 503(b)(9) Claimants, and Lien Claimants; (II) Granting Administrative
                 Expense Priority to All Undisputed Obligations on Account of Outstanding Orders;
                 (III) Authorizing All Financial Institutions to Honor All Related Payment Requests;
                 and (IV) Granting Related Relief. (Interim Order: August 11, 2023; Amended
                 Final Order: September 15, 2023).

                Tax Motion. Motion for Entry of Interim and Final Orders: (I) Authorizing the
                 Payment of Certain Taxes and Fees; and (II) Granting Related Relief. (Interim
                 Order: August 11, 2023; Final Order: September 8, 2023).

                Insurance Motion. Motion for Entry of Interim and Final Orders (I) Authorizing
                 the Debtors to (A) Continue to Maintain Their Insurance Policies and Programs,
                 (B) Honor all Insurance Obligations, (C) Renew, Amend, Supplement, Extend, or
                 Purchase and Finance Insurance Policies; (II) Authorizing Continuation of
                 Insurance Premium Financing Agreement; and (III) Granting Related Relief.
                 (Interim Order: August 11, 2023; Final Order: September 12, 2023).

                Schedule Extension Motion. Motion for Entry of an Order (I) Extending Time to
                 File Schedules of Assets and Liabilities and Statements of Financial Affairs and (II)
                 Granting Related Relief. (September 12, 2023).

                DIP Financing Motion. Motion of the Debtors for Interim and Final Orders (I)
                 Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                 Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                 Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
                 Related Relief (the “DIP Financing Motion”). (Interim Order: August 11, 2023;
                 Second Interim Order: September 19, 2023).




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                    2.       Debtors’ Retention of Professionals and Personnel

           Since the Petition Date, the Debtors have employed the following professionals:13

                   Pachulski Stang Ziehl & Jones LLP, as counsel for the Debtors (September 11,
                    2023).

                   Fenwick & West LLP, as special corporate counsel for the Debtors. (October 6,
                    2023).

                   Shearman & Sterling LLP, as special mergers and acquisitions and commercial
                    transactions counsel for the Debtors. (September 26, 2023).

                   Ankura Consulting Group, LLC, to provide the Debtors with Philip J. Gund, as
                    Chief Restructuring Officer (September 14, 2023).

                   PwC US Business Advisory LLP, as financial advisor to the Debtors (September
                    20, 2023).

                   Intrepid Investment Bankers LLC, as investment bankers for the Debtors
                    (September 14, 2023).

                   Stretto, Inc., as the Debtors’ claims and noticing agent (August 11, 2023), and
                    administrative advisor (September 11, 2023).

                   KTBS Law LLP as special counsel on behalf of and at the sole direction of the
                    Independent Director on the Board of Directors of Amyris, Inc., M. Freddie Reiss
                    (September 11, 2023).

                    3.       Formation of the Committee; Retention of Professionals

       On August 27, 2023, the Office of the United States trustee for Region 3, District of
Delaware (the “UST”), appointed the Official Committee of Unsecured Creditors (the
“Committee”) in the Debtors’ chapter 11 cases pursuant to section 1102(a)(1) of the Bankruptcy
Code. The members of the Committee are: (a) Coasn U.S. Inc.; (b) U.S. Bank Trust Company,
National Association; (c) Sartorious Stedim North America, Inc.; (d) Hearst Magazine Media, Inc.;
(e) Wiley Companies; (f) Park Wynwood, LLC; and (g) Allog Participacoes, Ltda.

       The following day, the Committee selected White & Case LLP as its proposed lead
counsel, Potter Anderson & Corroon LLP as its proposed Delaware counsel. On August 30, 2023,
the Committee selected FTI Consulting, Inc., as its proposed financial advisor, and on September
1, 2023, Jefferies LLC as its proposed investment banker.

      To date, the Court has authorized the retention of White & Case LLP, Potter Anderson &
Corroon LLP and FTI Consulting, Inc., on October 6, 2023.

13
     The date the Court approved the employment of the professional is indicated in parentheses.


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                 4.       Debtors’ Schedules and Statement of Financial Affairs

        On September 12, 2023, the Court entered its Order (I) Extending Time to File Schedules
of Assets and Liabilities and Statements of Financial Affairs and (II) Granting Related Relief
[Docket No. 240], authorizing the Debtors to file their Schedules and Statements of Financial
Affairs through September 20, 2023, or thereafter without order of the Court upon the advance
consent of the UST, Committee and DIP Agent. The Debtors filed their Schedules and Statements
of Financial Affairs on September 21, 2023.

                 5.       The Claims Bar Date

        On September 27, 2023, the Debtors filed the Debtors’ Motion for Entry of an Order (I)
Setting Bar Dates for Filing Proofs of Claim, Including Requests for Payment Under Section
503(b)(9), (II) Setting a Bar Date for the Filing of Proofs of Claim by Governmental Units, (III)
Establishing Amended Schedules Bar Date and Rejection Damages Bar Date, (IV) Approving the
Form of and Manner for Filing Proofs of Claim, (V) Approving Notice of Bar Dates, and (VI)
Granting Related Relief [Docket No. 386] (the “Bar Date Motion”), requesting, among other relief,
that the Court require proofs of claim be filed in the Debtors’ cases no later than November 15,
2023. The Bar Date Motion is scheduled to be heard by the Court on October 18, 2023.

                 6.       Rejection of Certain Leases/Contracts

        On August 11 and 24, 2023, the Debtors filed omnibus motions [Docket Nos. 66 and 133]
(the “Initial Omnibus Rejection Motions”), seeking authorization to reject certain various
agreements (i.e., service agreements, consulting agreements, severance agreements, a brand
collaboration agreement, etc.) and leases of non-residential real property for office and retail
locations in various cities (e.g., Miami, New York, Tucson, Arizona) that are either unoccupied or
no longer necessary to the Debtors’ contemplated go-forward operations.

         On September 8, 2023, the Court entered its orders [Docket Nos. 204 and 300] granting
the Initial Omnibus Rejection Motions, as amended.

        On September 27, 2023, the Debtors filed their third omnibus motion [Docket No. 394],
seeking to reject certain agreements, such as service agreements, that they no longer require for
their go-forward operations. A hearing regarding the third omnibus rejection motion is scheduled
for October 18, 2023.

                 7.       Meeting of Creditors

      The initial meeting of creditors pursuant to section 341(a) of the Bankruptcy Code was
conducted on September 18, 2023, and continued to October 6, 2023.

                 8.       Sales of Assets

                          a.     De Minimis/Non-Operating Brands Sales

        On August 24, 2023, the Debtors filed a motion [Docket No. 132] seeking authorization to
establish procedures governing the sales of de minimis assets (i.e., non-core assets with a

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transaction value equal to or less than $500,000) and certain consumer brands the Debtors are no
longer operating (i.e., Terasana®. Eco-Fabulous™, OLIKA™, Beauty Labs, Purecane™, and
Onda Beauty). The Court granted the motion by order entered on September 8, 2023 [Docket No.
205].

        On September 14, 2023, the Debtors filed the Notice of Non-Operating Brand Sale (Onda
Beauty) [Docket No. 291], noticing the Debtors’ intent to sell certain of its assets associated with
the non-operating Onda Beauty brand. The Debtors conducted an auction for the Onda Beauty-
related assets on October 6, 2023, and determined that the highest or otherwise best bid was made
by Larissa Thompson LLC, which proposed a purchase price of $220,000 plus cure costs.

                              b. Sales of Operating Consumer Brands Assets

         On September 18, 2023, the Debtors filed their motion [Docket No. 316] (the “Operating
Consumer Brands Sale Procedures Motion”) for an order of the Court (i) establishing bid
procedures to govern the sales of assets associated with the Debtors’ Operating Consumer Brands
(i.e., Biossance®, JVN™, Rose Inc. ™, Pipette®, MenoLabs™, Stripes™, and 4U by Tia™);14
(ii) authorizing the Debtors to enter into stalking horse agreements regarding the sales of Brand
Assets; (iii) authorizing the Debtors to offer break-up fees in connection with the stalking horse
agreements; and (iv) scheduling one or more auctions and a hearing for approval of any sales of
such assets.

      The Operating Consumer Brands Sale Procedures Motion is scheduled to be heard on
October 18, 2023, at 2:00 p.m. (Eastern Time).

                 9.       Procedures for the Assumption, Assumption and Assignment and/or
                          Transfer of Executory Contracts and Unexpired Leases

        On September 18, 2023, the Debtors filed their motion [Docket No. 317] (the “Contract
and Lease Procedures Motion”) for an order of the Court establishing certain procedures relating
to the assumption, assumption and assignment, or transfer of executory contracts and unexpired
leases, whether in connection with a sale pursuant to the Operating Consumer Brands Sale
Procedures Motion (as defined below) or this Plan, including notice of proposed cure amounts.

        The Contract and Lease Procedures Motion is scheduled to be heard on October 18, 2023,
at 2:00 p.m. (Eastern Time).

                 10.      DIP Financing

       In order to obtain the funds necessary to effectuate the Debtors’ restructuring strategy,
contemporaneous with the filing of these Chapter 11 Cases, on August 10, 2023, the Debtors filed
the DIP Motion [Docket No. 19]. A copy of the Senior Secured Super Priority Debtor in
Possession Loan Agreement dated as of August 9, 2023 (the “DIP Credit Agreement”) was filed
with the Bankruptcy Court the same day. [Docket No. 40-1]. Pursuant to the DIP Credit
Agreement, the Debtors would be entitled to borrow up to $190 million from Euagore, LLC
14
  The Consumer Brands shall not include any of the equity interests, assets or business with respect to Terasana®,
EcoFabulous™, OLIKA™, Beauty Labs, Purecane™, and Onda Beauty.


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(together with the other lenders from time to time party thereto, the “DIP Lenders”), and Euagore,
LLC, as Administrative Agent (the “DIP Agent” and, together with the DIP Lenders, the “DIP
Secured Parties”). The DIP Secured Parties are affiliates of Foris Ventures, LLC (“Foris”) and
affiliated entities, which are prepetition lenders.

       On August 11, 2023, the Court entered an Interim Order (I) Authorizing the Debtors (A) to
Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
Final Hearing, and (V) Granting Related Relief [Docket No. 54] and on September 19, 2023, the
Court entered the Second Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition
Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
(V) Granting Related Relief [Docket No. 323] (collectively, the “Interim DIP Orders”), pursuant
to which the Debtors have been authorized, on an interim basis, to borrow up to $93 million under
the DIP Credit Agreement.

        Pursuant to the Interim DIP Orders and the DIP Credit Agreement executed by the Debtors
and the DIP Lenders,15 certain milestones were established, pursuant to which the Debtors were to
utilize the first two months of these Chapter 11 Cases to engage with major constituencies in
furtherance of developing a consensual plan of reorganization while continuing the process of
marketing their noncore consumer brands. In the event such a deal was not able to be reached, the
DIP Financing contemplates a toggle, as set forth in the below chart, whereby the Debtors would
pivot to a sale of substantially all assets pursuant to section 363 of the Bankruptcy Code.

                      Milestone                           Proposed Timing            Proposed Outside
                                                                                          Date
 Petition Date (“PD”)                                 August 9, 2023
 Entry of Interim DIP Order                           PD + 3 business days        August 14, 2023
 Plan Support Deadline (“PSD”) or Sale                PD + 35 days                September 13, 2023
 Toggle Event (“STE”)
 Entry of Final DIP Order                             PD + 36 days                September 14, 2023
 Filing of Bid Procedures Motion                      STE + 3 days                September 16, 2023
 Plan, Disclosure Statement, and Solicitation         PSD + 14 days               September 27, 2023
 Procedures Motion Filing Deadline
 Entry of Bid Procedures Order                        STE + 35 days               October 18, 2023
 Entry of Disclosure Statement Order                  Plan Filing + 37 days       November 3, 2023
 Plan Voting Deadline                                 DS Order + 35 days          December 8, 2023


15
  Senior Secured Super Priority Debtor in Possession Loan Agreement dated as of August 9, 2023, as amended by
Amendment No. 1 to Senior Secured Super Priority Debtor in Possession Loan Agreement dated as of September 13,
2023 (collectively, the “DIP Facility”).


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 Entry of Sale Approval Order                    STE + 90 days            December 12, 2023
 Entry of Confirmation Order                     Plan Filing + 82 days    December 18, 2023
 Sale Closing Deadline / Effective Date                         December 29, 2023
 Deadline
 DIP Maturity Date                                              December 31, 2023


        The Debtors filed a Notice of Amendment No. 1 to the Senior Secured Super Priority Debtor
in Possession Loan Agreement with the Court on September 13, 2023 [Docket No. 263], Notice of
Amendment No. 2 to the Senior Secured Super Priority Debtor in Possession Loan Agreement with
the Court on September 28, 2023 [Docket No. 398], Notice of Service Notice of Filing (I) Revised
Proposed Final Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B)
to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief;
and (II) Notice of Amendment No. 3 to the Senior Secured Super Priority Debtor in Possession
Loan Agreement with the Court on October 3, 2023 [Docket No. 443], each of the foregoing
extending certain case milestones.

        On October [11], 2023, the Debtors and the DIP Secured Parties entered into that certain
Fourth Amendment the Senior Secured Super Priority Debtor in Possession Loan Agreement to
further amend certain case milestones as follows:

   Deadline for the Court to enter the Final DIP Order: October 18, 2023

   Deadline to execute Plan Support Agreement and Plan, Disclosure Statement, and Solicitation
    Procedures Motion Filing Deadline: October 12, 2023

   Deadline for Entry of Disclosure Statement Order: November 21, 2023

   Deadline for submission of votes to accept or reject the Chapter 11 Plan: January 10, 2024

   Deadline for Entry of Confirmation Order: January 17, 2024

   Deadline for Plan Effective Date: January 31, 2024

       A continued hearing to consider final approval of the DIP Credit Agreement was conducted
on October 4, 2023. A purported secured creditor, Lavvan, Inc., has objected to entry of the
proposed form of final order, which seeks a determination by the Court that the DIP loans and
liens will be senior and priming liens to any obligations that may be owed to Lavvan, Inc. On
October 11, 2023, the Court issued a ruling overruling Lavvan’s objection and finding in favor of
the Debtors and the DIP Secured Parties. On [____], the Court entered a final order approving the
DIP Credit Agreement.




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                   11.     Plan Negotiations

        Since the Petition Date, the Debtors have participated in arms’-length negotiations with
their principal stakeholders in order to develop a structure and path to a successful reorganization.
To that end, the parties have formulated a Plan Term Sheet, which is annexed to the Plan Support
Agreement, attached hereto as Exhibit “C”, which has been provided to third parties. The
provisions of the Plan Term Sheet, which have been memorialized in the Plan, constitute a
settlement offer to the Debtors’ major creditor constituencies by and among Amyris and certain
related Company Parties, Consenting Foris Prepetition Secured Lenders, and DIP Secured Parties.
Other Consenting Stakeholders can join in the Plan Support Agreement by executing a Joinder to
become parties to the Plan Support Agreement if and when an agreement has been reached on
settlement terms with such Other Consenting Stakeholders.



III.    SUMMARY OF THE PLAN

        A.         General

        The Company has turned to chapter 11 to implement an operational and balance-sheet
restructuring and to reorganize its business operations to focus on its core competencies of research
and development and the proven capability to commercialize and manufacture sustainable
ingredients. Amyris is using the chapter 11 process to reorganize around its Lab-to-Market™
platform with its in-house capability to cost-effectively manufacture ingredients at an industrial
scale, which necessitates the renegotiation of certain of the Company’s existing supply
agreements.

        The Plan restructures the Debtors’ balance sheet and operations by facilitating Amyris’s
exit from and sale of its Consumer Brands Businesses and disposes of the proceeds of sale through
a “waterfall” of distributions to certain stakeholders through the Plan and satisfying certain claims
of other creditors through payments on and after the Effective Date. The Plan gives the DIP Lender
and holders of the Foris Prepetition Secured Claims discretion to satisfy such claims through an
allocation of certain net sale proceeds, a rollup into the Exit Facility (if said parties provide it
pursuant to their backup commitment) and the new equity Interests of Reorganized Amyris.

              1.         Classification and Treatment of Claims and Interests

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims, DIP Facility Claims, and Priority Tax Claims have not been classified
and, thus, are excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

                              a. Administrative Claims

        Except with respect to the Professional Fee Claims and Claims for fees and expenses
pursuant to section 1930 of chapter 123 of title 28 of the United States Code, and except to the
extent that a Holder of an Allowed Administrative Claim and the Debtor(s) against which such
Allowed Administrative Claim is asserted agree to less favorable treatment for such Holder, or
such Holder has been paid by any Debtor on account of such Allowed Administrative Claim prior

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to the Effective Date, each Holder of such an Allowed Administrative Claim will receive in full
and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount
of such Allowed Administrative Claim in accordance with the following: (a) if an Administrative
Claim is Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably
practicable thereafter (or, if not then due, when such Allowed Administrative Claim is due or as
soon as reasonably practicable thereafter); (b) if such Administrative Claim is not Allowed as of
the Effective Date, no later than thirty days after the date on which an order Allowing such
Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (c)
if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
course of their business after the Petition Date, in accordance with the terms and conditions of the
particular transaction giving rise to such Allowed Administrative Claim without any further action
by the Holder of such Allowed Administrative Claim; (d) at such time and upon such terms as may
be agreed upon by such Holder and the Debtors or the Reorganized Debtors, as applicable; or (e)
at such time and upon such terms as set forth in an order of the Bankruptcy Court.

        Except as otherwise provided below in the next paragraph, Holders of Administrative
Claims that are required to File and serve a request for payment of such Administrative Claims
must do so by the Administrative Claims Bar Date. Objections to such requests must be Filed and
served on the requesting party and the Debtors (if the Debtors are not the objecting party) by the
Administrative Claims Objection Bar Date. Holders of such Claims who do not File and serve
such requests by the Administrative Claims Bar Date shall be forever barred, estopped, and
enjoined from asserting such Administrative Claims against the Debtors or the Reorganized
Debtors, and such Administrative Claims shall be deemed compromised, settled, and released as
of the Effective Date. After notice and a hearing in accordance with the procedures established by
the Bankruptcy Code, the Bankruptcy Rules, and any prior Bankruptcy Court orders, the Allowed
amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance with,
an order that becomes a Final Order of the Bankruptcy Court.

     HOLDERS OF ADMINISTRATIVE CLAIMS FOR UNPAID INVOICES THAT
ARISE IN THE ORDINARY COURSE OF THE DEBTORS’ BUSINESS AND WHICH
ARE NOT DUE AND PAYABLE ON OR BEFORE THE EFFECTIVE DATE SHALL BE
PAID IN THE ORDINARY COURSE OF BUSINESS IN ACCORDANCE WITH THE
TERMS THEREOF AND NEED NOT FILE ADMINISTRATIVE CLAIMS.

                              b. DIP Facility Claims

        The DIP Facility Claims shall be deemed to be Allowed Claims in the full amount
outstanding under the DIP Facility Loan Agreement as of the Effective Date (including any unpaid
accrued interest and unpaid fees, expenses, and other obligations under the DIP Facility Loan
Agreement as of the Effective Date). On the Effective Date, in full and complete satisfaction of
the DIP Facility Claims (other than the DIP Facility Claims rolled up, converted, exchanged,
refinanced or amended and restated, into the Exit First Lien Facility or New Common Stock), the
DIP Lender will receive, at the option of the DIP Lender, in its sole discretion, (x) a portion of the
First Tranche Net Proceeds, the Second Tranche Net Proceeds, and the Third Tranche Net Proceeds
as provided for herein, and (y) an amount equal to the DIP Facility Claims not paid on account of
distributions of the First Net Tranche Proceeds, the Second Net Tranche Proceeds and the Third
Net Tranche Proceeds rolled up, converted, exchanged, refinanced or amended and restated, into:

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(i) the Exit First Lien Facility and/or (ii) 100% of the New Common Stock. Except as otherwise
expressly provided in the DIP Facility Loan Agreement or the DIP Orders or the Exit First Lien
Facility, upon the indefeasible payment or satisfaction in full of all Allowed DIP Facility Claims,
all commitments under the DIP Facility Loan Agreement shall terminate and all Liens and security
interests granted to secure the DIP Facility Claims shall be automatically terminated and of no
further force and effect, without any further notice to or action, order, or approval of the
Bankruptcy Court or any other Entity.

        Notwithstanding anything to the contrary in this Plan or the Confirmation Order, the DIP
Facility and the DIP Facility Documents shall continue in full force and effect after the Effective
Date with respect to (x) any DIP Facility Claims rolled up, converted, exchanged, refinanced, or
amended and restated into the Exit First Lien Facility and (y) any contingent or unsatisfied
obligations thereunder, as applicable, including, but not limited to, those provisions relating to the
rights of the DIP Agent and the DIP Lenders to expense reimbursement, indemnification, and any
other similar obligations of the Debtors to the DIP Agent and the DIP Lenders (which rights shall
be fully enforceable against the Reorganized Debtors) and any provisions thereof that may survive
termination or maturity of the DIP Facility in accordance with the terms thereof.

                              c. Professional Fee Claims

                                   i.     Final Fee Applications and Payment of Professional Fee
                                          Claims

        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than forty-
five days after the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of
such Professional Fee Claims after notice and a hearing in accordance with the procedures
established by the Bankruptcy Court, including the Interim Compensation Order. The
Reorganized Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy
Court Allows, including from the Professional Fee Escrow Account, as soon as reasonably
practicable after such Professional Fee Claims are Allowed. To the extent that funds held in the
Professional Fee Escrow Account are insufficient to satisfy the amount of Professional Fee Claims
owing to the Professionals, such Professionals shall have an Allowed Administrative Claim for
any such deficiency, which shall be satisfied in accordance with Article II.A of the Plan.

                                  ii.     Professional Fee Escrow Account

        No later than the Effective Date, the Debtors shall establish and fund the Professional Fee
Escrow Account with Cash equal to the Professional Fee Amount. The Professional Fee Escrow
Account shall be maintained in trust solely for the Professionals until all Professional Fee Claims
Allowed by the Bankruptcy Court have been irrevocably paid in full pursuant to one or more Final
Orders and any invoices for fees and expenses incurred after the Effective Date in connection with
the final fee applications. Such funds shall not be considered property of the Debtors’ Estates.
The amount of Allowed Professional Fee Claims shall be paid in Cash to the Professionals by the
Reorganized Debtors from the Professional Fee Escrow Account as soon as reasonably practicable
after such Professional Fee Claims are Allowed. When all such Allowed Professional Fee Claims
have been paid in full, any remaining amount in the Professional Fee Escrow Account shall


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promptly be transferred to the Reorganized Debtors without any further notice to or action, order,
or approval of the Bankruptcy Court.

                              iii.    Professional Fee Amount

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other
unpaid fees and expenses incurred in rendering services to the Debtors before and as of the
Effective Date, and shall deliver such estimate to the Debtors before the Effective Date; provided
that such estimate shall not be deemed to limit the amount of the fees and expenses that are the
subject of each Professional’s final request for payment in the Chapter 11 Cases. If a Professional
does not provide an estimate, the Debtors or the Reorganized Debtors may estimate the unpaid and
unbilled fees and expenses of such Professional; provided, however, that such estimate shall not
be binding or considered an admission with respect to the fees and expenses of such Professional.
The total aggregate amount so estimated as of the Effective Date shall be utilized by the Debtors
to determine the amount to be funded to the Professional Fee Escrow Account; provided, further,
that the Reorganized Debtors shall use Cash on hand to increase the amount of the Professional
Fee Escrow Account to the extent fee applications are filed after the Effective Date in excess of
the amount held in the Professional Fee Escrow Account based on such estimates; provided,
however, the amount funded in the Professional Fee Escrow Account on account of the
Professional Fee Amount shall not exceed the amount in the Budget for Professional Fees annexed
to the Final DIP Order or an amount for such Professional Fee provided in the Plan Support
Agreement.

                              iv.     Post-Effective Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Effective Date,
the Reorganized Debtors shall, in the ordinary course of business and without any further notice
to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and
documented legal, professional, or other fees and expenses incurred by the Reorganized Debtors.
Upon the Effective Date, any requirement that Professionals comply with sections 327 through
331, 363, and 1103 of the Bankruptcy Code or the Interim Compensation Order in seeking
retention or compensation for services rendered after such date shall terminate, and the
Reorganized Debtors may employ and pay any Professional in the ordinary course of business
without any further notice to or action, order, or approval of the Bankruptcy Court.

        The Debtors and the Reorganized Debtors, as applicable, shall pay, within thirty days after
submission of a detailed invoice to the Debtors or the Reorganized Debtors, as applicable, such
reasonable claims for compensation or reimbursement of expenses incurred by the retained
Professionals of the Debtors, the Reorganized Debtors, and amounts provided for in the Budget
for Professional Fees annexed to the Final DIP Order or the amount provided for in the Plan
Support Agreement. If the Debtors or the Reorganized Debtors, as applicable, dispute the
reasonableness of any such invoice, the Debtors or the Reorganized Debtors, as applicable, or the
affected Professional may until such time as the Chapter 11 Cases are close, submit such dispute
to the Bankruptcy Court for a determination of the reasonableness of any such invoice, and the
disputed portion of such invoice shall not be paid until the dispute is resolved.




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                              d. Priority Tax Claims

       Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for,
each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated
in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

                              e. Payment of Statutory Fees and Reporting to the U.S. Trustee

        All fees due and payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (on behalf of the Reorganized Debtors), as
applicable, for each quarter (including any fraction thereof) until the Chapter 11 Cases are
converted, dismissed, or closed, whichever occurs first. All monthly reports shall be filed, and all
fees due and payable pursuant to section 1930(a) of title 28 of the United States Code, shall be
paid by the Debtors or the Reorganized Debtors (or the Distribution Agent on behalf of the
Reorganized Debtors), as applicable, on the Effective Date. Following the Effective Date, the
Reorganized Debtors (or the Distribution Agent on behalf of the Reorganized Debtors) shall (a)
pay such fees as such fees are assessed and come due for each quarter (including any fraction
thereof) and (b) File quarterly reports in a form reasonably acceptable to the U.S. Trustee. Each
Debtor shall remain obligated to pay such quarterly fees to the U.S. Trustee and to file quarterly
reports until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a
case under chapter 7 of the Bankruptcy Code.

                              f. [Payment of Ad Hoc Group Restructuring Expenses

        The Ad Hoc Group Restructuring Expenses incurred, up to and including the Effective
Date, shall be paid in full in Cash on the Effective Date (to the extent not previously paid during
the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth herein,
without any requirement to File a fee application with the Bankruptcy Court or for Bankruptcy
Court review or approval; provided that the foregoing shall be subject to the Debtors’ receipt of
an invoice with reasonable detail (but without the need for itemized time detail) from the applicable
Entity entitled to such Ad Hoc Group Restructuring Expenses in accordance with such Entity’s
applicable engagement letter. All Ad Hoc Group Restructuring Expenses to be paid on the
Effective Date shall be estimated prior to and as of the Effective Date, and such estimates shall be
delivered to the Debtors at least five days before the anticipated Effective Date; provided, however,
that such estimates shall not be considered an admission or limitation with respect to such Ad Hoc
Group Restructuring Expenses (it being understood that any difference in (a) estimated Ad Hoc
Group Restructuring Expenses on and including the Effective Date as compared to (b) Ad Hoc
Group Restructuring Expenses actually incurred on and including the Effective Date shall be
reconciled following the submission of a final invoice by the relevant Entity within thirty days of
the Effective Date). On the Effective Date, invoices for all Ad Hoc Group Restructuring Expenses
incurred prior to and as of the Effective Date shall be submitted to the Debtors and paid within ten
Business Days of receipt by the Debtors or the Reorganized Debtors, as applicable.]




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                 2.       Classification and Treatment of Claims and Interests

                              a. Classification of Claims and Interests

        Except for the Claims addressed in Error! Reference source not found. of the Plan, all
Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified
in a particular Class only to the extent that any portion of such Claim or Interest fits within the
description of that Class and is classified in other Classes to the extent otherwise provided by Law
and except to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of
receiving distributions under the Plan only to the extent that such Claim or Interest is an Allowed
Claim or Allowed Interest in that Class and has not been paid, released, or otherwise satisfied prior
to the Effective Date.

        The Plan constitutes a separate Plan for each of the Debtors, and the classification of Claims
and Interests set forth herein shall apply separately to each of the Debtors, except as expressly set
forth herein.

            Class             Claims and Interests            Status          Voting Rights
                                                                           Not Entitled to Vote
          Class 1       Other Secured Claims              Unimpaired       (Presumed to
                                                                           Accept)
                                                                           Not Entitled to Vote
          Class 2       Other Priority Claims             Unimpaired       (Presumed to
                                                                           Accept)
                        Foris Prepetition Secured
          Class 3                                         Impaired         Entitled to Vote
                        Claims
                        DSM RealSweet Secured
          Class 4                                         Impaired         Entitled to Vote
                        Claims
                        DSM Other Secured
          Class 5                                         Impaired         Entitled to Vote
                        Claims
          Class 6       Lavvan Secured Claim              Impaired         Entitled to Vote
          Class 7       Convertible Note Claims           Impaired         Entitled to Vote
          Class 8       General Unsecured Claims          Impaired         Entitled to Vote
          Class 9       DSM Contract Claims               Impaired         Entitled to Vote
          Class 10      Givaudan Contract Claims          Impaired         Entitled to Vote
                                                                           Not Entitled to Vote
          Class 11      Intercompany Claims               Impaired         (Consented to
                                                                           Treatment)
                                                                           Not Entitled to Vote
          Class 12      Section 510(b) Claims             Impaired
                                                                           (Deemed to Reject)
          [Class 13     Convenience Claims                Impaired         Entitled to Vote]


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              Class           Claims and Interests            Status          Voting Rights
                                                                           Not Entitled to Vote
          Class 14      Intercompany Interests            Unimpaired
                                                                           (Deemed to Accept)
                                                                           Not Entitled to Vote
          Class 15      Amyris Equity Interests           Impaired
                                                                           (Deemed to Reject)

                              b. Treatment of Claims and Interests

        Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under
the Plan the treatment described below in full and final satisfaction, settlement, release, and
discharge of and in exchange for such Holder’s Allowed Claim or Allowed Interest, as applicable,
except to the extent different treatment is agreed to in writing by the Debtors or the Reorganized
Debtors, as applicable, and the Holder of such Allowed Claim or Allowed Interest, as applicable.
Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable,
shall receive such treatment on the Effective Date (or, if payment is not then due, in accordance
with such Claim’s or Interest’s terms in the ordinary course of business) or as soon as reasonably
practicable thereafter.

                                   i.    Class 1 – Other Secured Claims

        Classification: Class 1 consists of all Allowed Other Secured Claims.

       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
to a less favorable treatment, as determined by the Debtors or the Reorganized Debtors, as
applicable, in full and final satisfaction of such Allowed Other Secured Claim, each Holder of an
Allowed Other Secured Claim shall receive, at the option of the applicable Debtor or the
Reorganized Debtors, as applicable:

                payment in full in Cash of its Allowed Other Secured Claim;

                the collateral securing its Allowed Other Secured Claim;

                Reinstatement of its Allowed Other Secured Claim; or

                such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                 accordance with section 1124 of the Bankruptcy Code.

       Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Other Secured Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Therefore, such Holders are not entitled to vote to accept or reject the Plan.

                                  ii.     Class 2 – Other Priority Claims

        Classification: Class 2 consists of all Allowed Other Priority Claims.

       Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
to a less favorable treatment, as determined by the Debtors or the Reorganized Debtors, as
applicable, in full and final satisfaction of such Allowed Other Priority Claim, each Holder of an

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Allowed Other Priority Claim shall receive, at the option of the applicable Debtor or the
Reorganized Debtors, as applicable:

                payment in full in Cash of its Allowed Other Priority Claim; or

                such other treatment in a manner consistent with section 1129(a)(9) of the
                 Bankruptcy Code.

       Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other Priority Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Therefore, such Holders are not entitled to vote to accept or reject the Plan.

                              iii.     Class 3 – Foris Prepetition Secured Claims

        Classification: Class 3 consists of all Allowed Foris Prepetition Secured Claims.

        Allowance: The Foris Prepetition Secured Claims shall be deemed Allowed in the
aggregate principal amount of at least $296,000,000 plus at least $16,100,000 of accrued and
unpaid interest as of the Petition Date, for a total of at least $312,100,000 as of the Petition Date,
plus any other premiums, fees, costs, or other amounts due and owing pursuant to the Foris
Prepetition Secured Claims Documents.

        Treatment: On the Effective Date, Holders of the Foris Prepetition Secured Claims will,
at the option of the Foris Prepetition Secured Lenders, in each of their sole discretion, receive (x)
a portion of the First Tranche Net Proceeds, the Second Tranche Net Proceeds, and the Third
Tranche Net Proceeds as provided for in the Plan, and (y) an amount equal to the Foris Prepetition
Secured Claims not paid on account of distributions of the First Net Tranche Proceeds, the Second
Net Tranche Proceeds and the Third Net Tranche Proceeds, rolled up, converted, exchanged,
refinanced or amended and restated, into the Exit Facility and/or 100% New Common Stock in
Reorganized Amyris.

       Voting: Class 3 is Impaired under the Plan. Holders of Allowed Foris Prepetition Secured
Claims are entitled to vote to accept or reject the Plan.

        Other: Notwithstanding anything to the contrary in this Plan or the Confirmation Order,
the Foris Prepetition Secured Claims shall continue in full force and effect after the Effective Date
with respect to (x) any Foris Prepetition Secured Claims rolled up, converted, exchanged,
refinanced, or amended and restated into the Exit First Lien Facility and (y) any contingent or
unsatisfied obligations thereunder, as applicable, including, but not limited to, those provisions
relating to the rights of the Foris Prepetition Secured Lenders to expense reimbursement,
indemnification, and any other similar obligations of the Debtors to the Foris Prepetition Secured
Lenders (which rights shall be fully enforceable against the Reorganized Debtors) and any
provisions thereof that may survive termination or maturity of the Foris Prepetition Secured
Claims.

                              iv.      Class 4 – DSM Real Sweet Secured Claim

        Classification: Class 4 consists of all Allowed DSM Real Sweet Secured Claim.

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        Treatment: On the Effective Date, in full and complete satisfaction of the DSM RealSweet
Secured Claim, DSM will receive on account of the Allowed DSM RealSweet Secured Claim a
cash payment on June 30, 2026 in the amount equal to the principal and accrued and unpaid non-
default interest owing as of the Effective Date on account of the DSM RealSweet Secured Claim
(with interest accrued thereafter until the Allowed DSM RealSweet Secured Claim is paid), which
obligation will be documented by the DSM Plan Promissory Note issued by Reorganized Amyris
and secured by the DSM Plan Promissory Note Pledge Agreement.

       Voting: Class 4 is Impaired under the Plan. The Holder of the Allowed DSM RealSweet
Secured Claim is entitled to vote to accept or reject the Plan.

                              v.      Class 5– DSM Other Secured Claims

        Classification: Class 5 consists of all Allowed DSM Other Secured Claims.

        Treatment: On the Effective Date, in full and complete satisfaction of the DSM Other
Secured Claims, DSM’s obligation to make earn-out payments to the Debtors under the DSM
Agreements will be offset against the DSM Other Secured Claims, and DSM will neither receive
nor retain any other property under the Plan on account of the DSM Other Secured Claims.

       Voting: Class 5 is Impaired under the Plan. The Holder of the Allowed DSM Other
Secured Claims is entitled to vote to accept or reject the Plan.

                              vi.     Class 6– Lavvan Secured Claim

        Classification: Class 6 consists of the Lavvan Secured Claim.

        Treatment: On the Effective Date, in full and complete satisfaction of the Lavvan Secured
Claim, Lavvan will retain whatever Lien it may have on the Debtors’ assets solely to the extent it
secures an Allowed Lavvan Secured Claim, and after such time as the Foris Prepetition Secured
Lenders and/or the DIP Lender, as applicable, the indefeasible payment in cash in full of the
obligations owing under the (i) Foris 2018 Loan, (ii) the DIP Facility Claims, and (iii) such other
Foris Prepetition Secured Claims as are determined by the Bankruptcy Court are required under
the Lavvan Documents to be indefeasibly paid in cash in full prior to the Allowed Lavvan Secured
Claim being paid, thereafter Lavvan will receive equal annual amortizing deferred cash payments
at a duration and rate to be determined by the Bankruptcy Court. The Lavvan Secured Claim shall
remain subject to the DIP Orders and the Subordination Agreement between Foris and Lavvan
dated May 2, 2019.

         If the Allowed Lavvan Claim exceeds the Allowed Lavvan Secured Claim, the difference
shall be an Allowed General Unsecured Claim; provided, however, any distribution to be paid to
Lavvan on account of such Allowed General Unsecured Claim shall be paid to: (i) the DIP Lender
on account of the DIP Facility Claims that have not then been indefeasibly paid in cash in full; (ii)
Foris on account of the Foris 2018 Loan Claims that have not then been indefeasibly paid in cash
in full; and (iii) such other Foris Prepetition Secured Claims as are determined by the Bankruptcy
Court are required under the Lavvan Documents to be indefeasibly paid in cash in full prior to the
Lavvan Claims being paid that have not then been indefeasibly paid in cash in full, in each cash at
the option, and in the sole and absolute discretion, of the DIP Lender, Foris, and the Foris

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Prepetition Secured Lenders, respectively. The Lavvan General Unsecured Claim shall remain
subject to the DIP Orders and the Subordination Agreement between Foris and Lavvan dated May
2, 2019.

        Voting: Class 6 is Impaired under the Plan. The Holder of the Lavvan Secured Claims is
entitled to vote to accept or reject the Plan.

                              vii.      Class 7– Convertible Note Claims

        Classification: Class 7 consists of all Convertible Note Claims.

       Treatment: On the Effective Date, in full and complete satisfaction of the Convertible Note
Claims:

                 (A) if the Convertible Notes Class votes to accept the Plan, each holder of an
        Allowed Convertible Note Claim will receive, on account of such Allowed Convertible
        Note Claim, a Pro Rata distribution of: (x) (i) $17,250,000 from the First Net Cash
        Proceeds Tranche; (ii) $17,250,000 from the Second Net Cash Proceeds Tranche; (iii) 31%
        of the Third Net Cash Proceeds Tranche; (iv) 77.5% of the Fourth Net Cash Proceeds
        Tranche and (y) the New Notes, and up to such amount as the Allowed Convertible Notes
        Claim is paid in full, taking into account all distributions provided for in clause (x) (i), (ii),
        (iii) and (iv); and (y) the New Notes; or

                (B) if the Convertible Notes Class votes to reject the Plan, each holder of an
        Allowed Convertible Note Claim will receive, on account of such Allowed Convertible
        Note Claim, a Pro Rata distribution of: (i) 31% of the Third Net Cash Proceeds Tranche;
        and (ii) (x) 77.5% of the Fourth Net Cash Proceeds Tranche, and up to such amount as the
        Allowed Convertible Notes Claim is paid in full.

       Voting: Class 7 is Impaired under the Plan. The Holders of the Allowed Convertible Note
Claims are entitled to vote to accept or reject the Plan.

                              viii.     Class 8 – General Unsecured Claims

        Classification: Class 8 consists of all Allowed General Unsecured Claims.

        Treatment: Holders of Allowed General Unsecured Claims will receive on account of the
Allowed General Unsecured Claims in full and complete satisfaction of such Claims, on the
Effective Date (or as soon as practicable thereafter), a Pro Rata distribution from the GUC Reserve.

       On the Effective Date, in full and complete satisfaction of Allowed General Unsecured
Claims, the GUC Reserve shall be funded, and:

        (A) if the General Unsecured Claims Class votes to accept the Plan, the GUC Reserve
shall receive: (i) $8,000,000 from the First Net Cash Proceeds Tranche; (ii) $5,000,000 from the
Second Net Cash Proceeds Tranche; (iii) 9% of the Third Net Cash Proceeds Tranche; and (iv)
22.5% of the Fourth Net Cash Proceeds Tranche, and up to such amount as the Allowed General


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Unsecured Claims are paid in full, taking into account all distributions provided for in clause (i),
(ii), (iii), and (iv); or

        (B) if the General Unsecured Claims Class votes to reject the Plan, the GUC Reserve
shall receive: (i) 9% of the Third Net Cash Proceeds Tranche; and (ii) 22.5% of the Fourth Net
Cash Proceeds Tranche.

                               ix.    Class 9 – DSM Contract Claims

        Classification: Class 9 consists of all Allowed DSM Contract Claims.

        Treatment: On the Effective Date, (x) if DSM votes to accept the Plan, the DSM Contracts
shall be modified as set forth in the Amended DSM Contracts and the DSM Contract Claims shall
be allowed in the amount of $0 and DSM shall neither receive nor retain any property under the
Plan on account of the DSM Contract Claims except as provided for in the Amended DSM
Contracts; or (y) if DSM votes to reject the Plan, the DSM Contracts shall be rejected and any
Allowed DSM Contract Claims arising from such rejection shall be treated as a General Unsecured
Claim for purposes of distributions under the Plan..

       Voting: Class 9 is Impaired under the Plan. The Holder of the Allowed DSM Contract
Claims is entitled to vote to accept or reject the Plan.

                               x.     Class 10– Givaudan Contract Claims

        Classification: Class 10 consists of all Allowed Givaudan Contract Claims.

        Treatment: On the Effective Date, (x) if Givaudan votes to accept the Plan, the Givaudan
Contracts shall be modified as set forth in the Amended Givaudan Contract and the Givaudan
Contract Claims shall be allowed in the amount of $0 and Givaudan shall neither receive nor retain
any property under the Plan on account of the Givaudan Contract Claims except as otherwise
provided in the Amended Givaudan Contract; or (y) if Givaudan votes to reject the Plan, the
Givaudan Contracts shall be rejected and any Allowed Givaudan Contract Claims arising from
such rejection shall be treated as a General Unsecured Claim for purposes of distribution under the
Plan and shall receive the treatment provided for General Unsecured Claims.

       Voting: Class 10 is Impaired under the Plan. The Holder of the Allowed Givaudan
Contract Claims is entitled to vote to accept or reject the Plan.

                               xi.    Class 11 – Intercompany Claims

        Classification: Class 11 consists of all Allowed Intercompany Claims.

      Treatment: On the Effective Date, such Claims shall be, at the option of the Debtors or the
Reorganized Debtors, either:

             (i) Reinstated;




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             (ii) adjusted, converted to equity, otherwise set off, settled, distributed, or contributed;
                  or

             (iii)canceled, released, or discharged without any distribution on account of such
                  Claims.

        The Plan and the distributions contemplated thereby constitute a global settlement of any
and all Intercompany Claims and Causes of Action by and between any of the Debtors and/or
wholly-owned Affiliates of a Debtor that may exist as of the Effective Date. The Plan shall be
considered a settlement of the Intercompany Claims pursuant to Bankruptcy Rule 9019.

       Voting: Class 11 is Impaired under the Plan, but the members thereof (the Debtors,
proponents of the Plan, and wholly-owned Affiliates thereof) have agreed to the treatment under
the Plan.

                              xii.      Class 12 – Section 510(b) Claims

        Classification: Class 12 consists of all Allowed Section 510(b) Claims.

       Allowance: Notwithstanding anything to the contrary herein, a Section 510(b) Claim may
only become Allowed by Final Order of the Bankruptcy Court.

        Treatment: In full and final satisfaction of its Allowed Section 510(b) Claim, on the
Effective Date, each holder of an Allowed Section 510(b) Claim will neither receive nor retain any
property under the Plan.

       Voting: Class 12 is Impaired under the Plan. Holders of Allowed Section 510(b) Claims
are deemed to reject the Plan.

                              xiii.     [Class 13 – Convenience Claims

        Classification: Class 13 consists of all Allowed Convenience Claims.

        Treatment: Treatment: In full and final satisfaction of its Allowed Convenience Claim, on
the Effective Date, each Holder of an Allowed Class 13 Claim shall receive Cash equal to [____]%
of the Allowed amount of its Class 13 Claim.

        Voting: Class 13 is Impaired under the Plan. Holders of Allowed Convenience Claims are
entitled to vote to accept or reject the Plan.].

                              xiv.      Class 14 – Intercompany Interests

        Classification: Class 14 consists of all Allowed Intercompany Interests.

       Treatment: All Interests of the other Debtors (other than Amyris) shall remain issued and
outstanding; except to the extent a Debtor other than Amyris is dissolved, liquidated and wound
down under the Plan, in which case, the Interests of such Debtor shall be canceled.



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      Voting: Class 14 is Unimpaired under the Plan. Holders of Intercompany Interests are
deemed to accept the Plan. Such Holders are not entitled to vote to accept or reject the Plan.

                              xv.      Class 15 – Amyris Equity Interests

        Classification: Class 15 consists of all Amyris Equity Interests.

        Treatment: The Amyris Equity Interests shall be extinguished, and Holders of such Equity
Interests will not receive any distribution on account of such Equity Interests.

      Voting: Class 15 is Impaired under the Plan. Holders of Amyris Equity Interests are
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
such Holders are not entitled to vote to accept or reject the Plan.

                 3.       Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the Plan or the Plan Supplement, nothing under the Plan
shall affect the Debtors’ or the Reorganized Debtors’ rights regarding any Unimpaired Claim,
including all rights regarding legal and equitable defenses to, or setoffs or recoupments against,
any such Unimpaired Claim.

                 4.       Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the
date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting
to accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

                 5.       Voting Classes, Presumed Acceptance by Non-Voting Classes

        If a Class contains Claims or Interests eligible to vote on the Plan and no Holder of Claims
or Interests eligible to vote in such Class votes to accept or reject the Plan, the Holders of such
Claims or Interests in such Class shall be deemed to have accepted the Plan.

                 6.       Intercompany Interests

        To the extent Reinstated under the Plan, distributions on account of Intercompany Interests
are not being received by Holders of such Intercompany Interests on account of their Intercompany
Interests but for the purposes of administrative convenience and due to the importance of
maintaining the prepetition corporate structure for the ultimate benefit of the Holders of New
Common Stock, and in exchange for the Debtors’ and the Reorganized Debtors’ agreement under
the Plan to make certain distributions to the Holders of Allowed Claims. For the avoidance of
doubt, to the extent Reinstated pursuant to the Plan, on and after the Effective Date, all
Intercompany Interests shall be owned by the same Reorganized Debtor that corresponds with the
Debtor that owned such Intercompany Interests immediately prior to the Effective Date.




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                   7.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
                          Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by at least one Impaired Class of Claims. The Debtors shall seek
Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any
rejecting Class(es) of Claims or Interests. The Debtors reserve the right to modify the Plan in
accordance with Article XI of the Plan to the extent that Confirmation pursuant to section 1129(b)
of the Bankruptcy Code requires modification, including by modifying the treatment applicable to
a Class of Claims or Interests or reclassifying Claims to the extent permitted by the Bankruptcy
Code and the Bankruptcy Rules.

                   8.     Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                   9.     Subordinated Claims

       The classification and treatment of Claims under the Plan shall determine the respective
contractual, legal, and equitable subordination rights of such Claims, and to the extent the Plan
provides otherwise, any such other rights shall be settled, compromised, and released pursuant to
the Plan.

        B.         Means for Implementation of the Plan

              1.        General Settlement of Claims and Interests

        As discussed in further detail in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration
for the classification, distributions, releases, and other benefits provided under the Plan, upon the
Effective Date, the provisions of the Plan shall constitute a good faith compromise and settlement
of all Claims, Interests, Causes of Action, Direct Claims and controversies released, settled,
compromised, discharged, satisfied, or otherwise resolved pursuant to the Plan. The Plan shall be
deemed a motion to approve the good faith compromise and settlement of all such Claims,
Interests, Causes of Action, Direct Claims and controversies pursuant to Bankruptcy Rule 9019,
and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such
compromise and settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule
9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, within the range of reasonableness and in the best interests of the Debtors, their Estates,
and Holders of Claims and Equity Interests and holders of Direct Claims. Subject to Article VII,
of the Plan all distributions made to Holders of Allowed Claims and Allowed Interests, as
applicable, in any Class are intended to be, and shall be, final.

        Certain claims and Causes of Action may exist between one or more of the Debtors and
Affiliates that are not wholly-owned by a Debtor (in either or both directions), which claims and
Causes of Action (other than any such claims and Causes of Action that are released pursuant to

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Article IX of the Plan) will be deemed waived for purposes of receiving any Distributions under
the Plan, and such Claims that are canceled, released or discharged as determined by the Debtors
shall be canceled, released and discharged as to Reorganized Amyris and its Affiliates. The Plan
shall be deemed a motion to approve the good faith compromise and settlement of such claims and
Causes of Action pursuant to Bankruptcy Rule 9019.

                  2.       Sale of Consumer Brands Businesses and Allocation of Net Proceeds
                           Thereof Under the Plan

       The Debtors’ Consumer Brands Businesses will be sold during the Chapter 11 Cases in
accordance with the Bidding Procedures Order. Under the Plan, Net Proceeds from the sale of the
Consumer Brand Businesses will be used to fund cash payments required to be made under the
Plan on or after the Effective Date.

        The Net Proceeds from the sale of the Sold Assets shall be distributed in accordance with
the following waterfall:

                i.         With respect to Net Cash Proceeds, in the following order of priority: (i)
                           First Net Cash Proceeds Tranche; (ii) Second Net Cash Proceeds Tranche;
                           (iii) Third Net Cash Proceeds Tranche; and (iv) Fourth Net Cash Proceed
                           Tranche.

               ii.         With respect to Non-Cash Net Proceeds, based on the following
                           percentages, at such time as such Non-Cash Net Proceeds are realized in
                           cash: (i) 75% to Reorganized Amyris; (ii) 20% to the Convertible Notes
                           Class, to be added to the Fourth Net Cash Proceeds Tranche (if, and only if,
                           the Convertible Notes Class accepts the Plan); 16 and (iii) 5% to the General
                           Unsecured Claim Reserve, to be added to the Fourth Net Cash Proceeds
                           Tranche (if, and only if, the General Unsecured Claim Class accepts the
                           Plan).17

                  3.       Direct Claims Recovery Pool

       Upon the Effective Date, and in consideration for being bound by the Third-Party Releases
provided by holders of Direct Claims, the Plan shall establish on the Effective Date a Direct Claims
Recovery Pool that will be composed of the distributions to be made to the holders of Direct Claims
from any D&O Insurance Settlement and the Excluded Party Litigation Trust, to fund distributions
to holders of Direct Claims in accordance with the Plan, after payment of all direct out of pocket
administrative, personnel, legal costs and expenses incurred after the Effective Date in
administering the Direct Claims Recovery Pool, and making distributions from the Direct Claims



16
 For avoidance of doubt, if the Convertible Notes Class votes to reject the Plan its share of the Sold Asset Non-Cash
Net Proceeds shall be distributed to Reorganized Amyris.
17
 For avoidance of doubt, if the General Unsecured Claim Class votes to reject the Plan its share of the Sold Asset
Non-Cash Net Proceeds shall be distributed to Reorganized Amyris.


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Recovery Pool on account of such Direct Claims. The mechanics for establishing, implementing
and administering the Direct Claims Recovery Pool will be set forth in the Plan Supplement.

        The Direct Claims Recovery Pool shall be distributed Pro Rata based upon the following
percentages: (i) 25% to holders of Direct Claims that are holders of Interests; (ii) 38.75% to holders
of Direct Claims that are holders of Convertible Notes; (iii) 11.25% to holders of Direct Claims
that are holders of General Unsecured Claims; and (iv) 25% to Reorganized Amyris.

       The distributions to be made under the Plan to holders of Direct Claims shall be the sole
source of recovery for any and all such Direct Claims. For the avoidance of doubt, holders of
Direct Claims are not entitled to receive distributions or other payment of funds from the Excluded
Party Litigation Trust on behalf of, related to, or with respect to, such Direct Claims.

        If the Third-Party Releases are not approved by the Bankruptcy Court, each holder of a
Direct Claim may voluntarily elect to receive its Pro Rata share of 50% of the portion of the Direct
Claims Recovery Pool to which it is entitled by electing to grant the Third-Party Releases, through
the following methods: (x) for (i) holders of Claims who are entitled to submit a ballot to vote on
the Plan and vote to accept the Plan, (ii) holders of Claims who are entitled to submit a ballot to
vote on the Plan and (a) vote to reject the Plan or (b) abstain from voting on the Plan and, in either
case, do not elect to exercise their right to opt out of granting the Third-Party Releases, and (y) for
holders of Claims and Interests who are deemed to accept or reject the Plan and are provided with
a notice of non-voting status providing them with the right to opt out of the Third-Party Releases
and do not elect to exercise such right; provided, that, as applicable, the Direct Claims Threshold
is satisfied. Any undistributed amounts in the Direct Claims Recovery Pool that would have
otherwise been allocated to holders of Direct Claims that opted out of granting the Third-Party
Release shall revert to the Reorganized Amyris.

        Distributions from the Direct Claim Recovery Pool will be made to each holder of a Direct
Claim who is bound by the Third Party Release as follows: (a) with respect to holders of Direct
Claims who assert General Unsecured Claims against the Debtors, Pro Rata based upon the
aggregate amount of such claims timely asserted against the Debtors (such claims measured as of
the Petition Date); (b) with respect to holders of Direct Claims who assert Convertible Notes
Claims against the Debtors, Pro Rata based upon the aggregate amount of such Convertible Notes
Claims asserted against the Debtors (such claims measured as of the Petition Date on the same
basis as such Claims are Allowed for voting purposes), and (c) with respect to holders of Direct
Claims who are holders of any Interests, Pro Rata based upon outstanding common stock of
Amyris (excluding for purposes of such calculation, any outstanding common stock of Amyris
held by any of the Direct Claims Injunction Parties) (such outstanding common stock of Amyris
measured as of the Petition Date).

                 4.       GUC Reserve

        The Reorganized Debtors shall establish under the Plan on the Effective Date a reserve (the
“GUC Reserve”) that will be comprised of the distributions to be made to the GUC Reserve from
the First Net Cash Proceeds Tranche, the Second Net Cash Proceeds Tranche, the Third Net Cash
Proceeds Tranche and the Fourth Net Cash Proceeds Tranche, to fund Pro Rata distributions to
holders of Allowed General Unsecured Claims in accordance with the Plan, after payment of all


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direct out of pocket administrative, personnel, legal costs and expenses of the Estate incurred after
the Effective Date in determining the Allowed General Unsecured Claims and making
distributions from the General Unsecured Claim Reserve on account of such Allowed General
Unsecured Claims. The mechanics of establishing, implementing and administering the GUC
Reserve shall be set forth in the Plan and Plan Supplement.

                 5.       Administrative Consolidation for Voting and Distribution Purposes
                          Only

         On the Effective Date, and solely for voting and administrative purposes to facilitate
distributions from the Estate Excluded Party Litigation Trust on account of Class 8 General
Unsecured Claims: (a) all General Unsecured Claims shall be deemed merged and treated as
liabilities of the Debtors on a consolidated basis; (b) each General Unsecured Claim will be
deemed a single Claim and a single obligation of the Debtors; (c) all General Unsecured Claims
based on joint and several liability or a guaranty by a Debtor of the obligations of any other Debtor
shall be deemed eliminated and extinguished; and (d) Holders of Allowed General Unsecured
Claims shall be entitled to only one recovery under the Plan from the Estate Excluded Party
Litigation Trust for any liability on account of General Unsecured Claims without regard to which
Debtor was originally liable for such Claim. For the avoidance of doubt, for the purposes of
determining the availability of the right of setoff under section 553 of the Bankruptcy Code, the
Debtors shall be treated as separate Entities. Such administrative consolidation is solely for the
purpose of facilitating distributions to Holders of Allowed General Unsecured Claims under this
Plan and shall not affect the legal and corporate structures of the Reorganized Debtors or the
General Unsecured Claims. Moreover, such administrative consolidation shall not affect any
subordination provisions set forth in any agreement relating to any General Unsecured Claim or
the ability of the Estate Excluded Party Litigation Trustee to seek to have any General Unsecured
Claim subordinated in accordance with section 510(b) of the Bankruptcy Code, any contractual
rights, or any equitable principles.

                 6.       Restructuring Transactions

         On or before the Effective Date, or as soon as reasonably practicable thereafter, the
applicable Debtors or the Reorganized Debtors, with the consent of the Foris Secured Parties, shall
consummate the Restructuring Transactions and take all actions as may be necessary or appropriate
to effectuate any transaction described in, approved by, contemplated by, or necessary to effectuate
the Plan that are consistent with and pursuant to the terms and conditions of the Plan, including:
(a) the execution and delivery of appropriate agreements or other documents of merger,
amalgamation, consolidation, restructuring, conversion, disposition, transfer, arrangement,
continuance, dissolution, sale, purchase, or liquidation containing terms that are consistent with
the terms of the Plan and the Plan Supplement and that satisfy the requirements of applicable Law
and any other terms to which the applicable Entities may agree; (b) the execution and delivery of
appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property,
right, liability, debt, or obligation on terms consistent with the terms of the Plan and the Plan
Supplement and having other terms for which the applicable Entities may agree; (c) the execution,
delivery, and filing, if applicable, of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or
dissolution pursuant to applicable state or provincial Law, including any applicable New

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Organizational Documents; (d) such other transactions and/or Bankruptcy Court filings that are
required to effectuate the Restructuring Transactions, including any sales, mergers, consolidations,
restructurings, conversions, dispositions, transfers, formations, organizations, dissolutions, or
liquidations; (e) the execution, delivery, and filing of the Exit First Lien Facility Documents, the
New Notes, the Amended DSM Contracts, the DSM Plan Promissory Note, the DSM Plan
Promissory Note Pledge Agreement, and the Amended Givaudan Contract; and (f) all other actions
that the applicable Entities determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable Law in connection with the Plan.

       The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or
appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the
Plan.

                 7.       Reorganized Debtors

        On the Effective Date, in accordance with the terms of the Corporate Governance Term
Sheet, the New Board shall be appointed, and the Reorganized Debtors shall adopt the New
Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the Plan
as necessary to consummate the Plan. Cash payments to be made pursuant to the Plan will be
made by the Debtors or the Reorganized Debtors. The Debtors and the Reorganized Debtors will
be entitled to transfer funds between and among themselves as they determine to be necessary or
appropriate to enable the Debtors or the Reorganized Debtors, as applicable, to satisfy their
obligations under the Plan. Except as set forth herein, any changes in intercompany account
balances resulting from such transfers will be accounted for and settled in accordance with the
Debtors’ historical intercompany account settlement practices and will not violate the terms of the
Plan.

                 8.       Sources of Consideration for Plan Distributions

        The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the
Plan with (a) Net Proceeds from the sale of the Consumer Brand Businesses as provided for in the
Plan, (b) the New Common Stock, (c) proceeds from the Exit First Lien Facility, and (d) Cash on
hand.

                              a. Issuance of New Common Stock

        On or prior to the Effective Date, Reorganized Amyris shall take steps to provide that the
New Common Stock is issued and/or transferred accordance with the terms of the Plan, the Plan
Supplement, the New Organizational Documents, and applicable Law (including applicable
securities Laws). The issuance of the New Common Stock on the Effective Date pursuant to the
Plan is authorized without the need for any further corporate action and without any further action
by Reorganized Amyris, the Debtors, or the Reorganized Debtors, as applicable, and without any
action by the Holders of Claims or Interests or other parties in interest. All of the New Common
Stock issued or authorized to be issued pursuant to the Plan shall, pursuant to the Restructuring
Transactions, be duly authorized, validly issued, fully paid, and non-assessable. Any Entity’s


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acceptance of the New Common Stock shall be deemed to have provided its agreement to the New
Organizational Documents, as the same may be amended or modified from time to time following
the Effective Date. The Holders of New Common Stock may allocate the New Common Stock
among their Affiliates as designated by the Holders in their sole discretion.

        The issuance of the New Common Stock pursuant to and under the Plan will be conducted
in reliance upon one or more exemptions from registration under the Securities Act, which will
include the exemption provided in section 1145 of the Bankruptcy Code to the fullest extent
available.

        The issuance of the New Common Stock shall not constitute an invitation or offer to sell,
or the solicitation of an invitation or offer to buy, any securities in contravention of any applicable
Law in any jurisdiction.

                              b. Capital Raise - Exit First Lien Facility

        On the Effective Date, the Reorganized Debtors shall enter into the Exit First Lien Facility
on the terms set forth in the Exit First Lien Facility Documents.

        To the extent not already approved, Confirmation of the Plan shall be deemed approval of
the Exit First Lien Facility and the Exit First Lien Facility Documents, as applicable, and all
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred by the Reorganized Debtors in connection therewith, including the
payment of all fees, indemnities, expenses, and other payments provide for therein and
authorization of the Reorganized Debtors to enter into and execute the Exit First Lien Facility
Documents and such other documents as may be required to effectuate the treatment afforded by
the Exit First Lien Facility. Execution of the Exit First Lien Facility Documents by the Exit First
Lien Facility Agent shall be deemed to bind all Exit First Lien Facility Lenders as if each such
Exit First Lien Facility Lender had executed the applicable Exit First Lien Facility Documents
with appropriate authorization.

        On the Effective Date, all of the Liens and security interests to be granted in accordance
with the Exit First Lien Facility Documents, to the extent applicable: (i) shall be deemed to be
granted; (ii) shall be legal, binding, automatically perfected, non-avoidable, and enforceable Liens
on, and security interests in, the collateral granted thereunder in accordance with the terms of the
Exit First Lien Facility Documents; (iii) shall be deemed automatically perfected on or prior to the
Effective Date, subject only to such Liens and security interests as may be permitted under the
respective Exit First Lien Facility Documents; and (iv) shall not be subject to avoidance,
recharacterization, or equitable subordination for any purposes whatsoever and shall not constitute
preferential transfers, fraudulent transfers, or fraudulent conveyances under the Bankruptcy Code
or any applicable non bankruptcy Law.

        To the extent applicable, the Reorganized Debtors and the persons and entities granted such
Liens and security interests shall be authorized to make all filings and recordings, and to obtain all
governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other Law that would be applicable
in the absence of the Plan and the Confirmation Order (it being understood that perfection shall


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occur automatically by virtue of the entry of the Confirmation Order and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make
all other filings and recordings that otherwise would be necessary under applicable Law to give
notice of such Liens and security interests to third parties.

                              c. Section 1145 Exemption and DTC Matters

        The shares of the New Common Stock being issued under the Plan will be issued without
registration under the Securities Act or any similar federal, state, or local Law in reliance upon
either: (a) section 1145 of the Bankruptcy Code (except with respect to an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code); or (b) including with respect
to an entity that is an “underwriter” as defined in section 1145(b) of the Bankruptcy Code, pursuant
to Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or Regulation
S under the Securities Act (or another applicable exemption under the Securities Act).

        Securities issued in reliance upon section 1145 of the Bankruptcy Code (a) are exempt
from, among other things, the registration requirements of section 5 of the Securities Act and any
other applicable Law requiring registration prior to the offering, issuance, distribution, or sale of
Securities, to the maximum extent possible, (b) are not “restricted securities” as defined in Rule
144(a)(3) under the Securities Act, and (c) are freely tradable and transferable by any holder
thereof that, at the time of transfer, (i) is not an “affiliate” of the Reorganized Debtors as defined
in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate” within ninety days
of such transfer, and (iii) is not an entity that is an “underwriter” (as defined in section 2(a)(11) of
the Securities Act). The offering, issuance, distribution, and sale of any securities in accordance
section 1145 of the Bankruptcy Code shall be made without registration under the Securities Act
or any similar federal, state, or local Law in reliance on section 1145(a) of the Bankruptcy Code.

        Any shares of the New Common Stock issued in reliance upon the exemption from
registration provided by Section 4(a)(2) of the Securities Act, Regulation D promulgated
thereunder, and/or Regulation S under the Securities Act will be “restricted securities.” Such
securities may not be resold, exchanged, assigned, or otherwise transferred except pursuant to an
effective registration statement under the Securities Act or an available exemption therefrom and
other applicable Law and subject to any restrictions, including any transfer restrictions, in the New
Organizational Documents. The offering, issuance, distribution, and sale of such securities shall
be made without registration under the Securities Act or any similar federal, state, or local Law in
reliance on section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or
Regulation S under the Securities Act.

        It is not expected that any shares of the New Common Stock will be eligible for any
depository services, including with respect to DTC, on or about the Effective Date. Further, it is
not intended that the New Common Stock will be listed on a national securities exchange (or a
comparable non-U.S. securities exchange) on or about the Effective Date. Reorganized Amyris
will be privately held pursuant to the Plan as provided herein.

        Subject to compliance with the Securities Act, Exchange Act and other applicable Law,
Parent expects that on the Effective Date that the existing Amyris Equity Interests will be canceled
and that the New Common Stock will not be listed or quoted on a national securities exchange or


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over-the-counter market. As part of the Restructuring Transactions, Parent and/or Reorganized
Amyris may, in its sole discretion, use reasonable best efforts: (i) to terminate the effectiveness of
the Registration Statements and to remove from registration any securities that remain unsold at
the termination of the offering covered by the Registration Statements, (ii) to terminate the
registration of the existing common stock of Parent under Section 12 of the Exchange Act and
suspend its reporting obligations under Sections 13(a) and 15(d) of the Exchange Act (the “SEC
Reporting Suspension”) and (iii) to delist Parent’s existing common stock, any other Amyris
Equity Interests, and the New Common Stock, if applicable, from the OTC Pink Marketplace and
any other securities exchange or over-the-counter market. Subject to obtaining the SEC Reporting
Suspension, Parent expects that none of Reorganized Amyris or any of its subsidiaries will be
subject to public periodic reporting obligations with the SEC or any other entity following the
Restructuring Transactions.

        Should the Reorganized Debtors elect, on or after the Effective Date, to reflect any
ownership of the New Common Stock issued under the Plan through the facilities of DTC (or
another similar depository), the Reorganized Debtors need not provide any further evidence other
than the Plan or the Confirmation Order with respect to the treatment of the New Common Stock
to be issued under the Plan under applicable securities Laws. DTC (or another similar depository)
shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of
a legal opinion regarding whether the New Common Stock to be issued under the Plan is exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.
Notwithstanding anything to the contrary in the Plan, no Entity (including, for the avoidance of
doubt, DTC) may require a legal opinion regarding the validity of any transaction contemplated
by the Plan, including, for the avoidance of doubt, whether the New Common Stock to be issued
under the Plan is exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services.

                 9.       Section 1146 Exemption

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers
(whether from a Debtor to a Reorganized Debtor or to any other Person) of property under the Plan
or pursuant to (a) the issuance, distribution, transfer, or exchange of any debt, equity Security, or
other interest in the Debtors or the Reorganized Debtors, including the New Common Stock and
the Exit First Lien Facility, (b) the Restructuring Transactions, (c) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other
security interest, or the securing of additional indebtedness by such or other means, (d) the making,
assignment, or recording of any lease or sublease, (e) the grant of collateral as security for the
Reorganized Debtors’ obligations under and in connection with the Exit First Lien Facility or (f)
the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance
of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other
instrument of transfer executed in connection with any transaction arising out of, contemplated by,
or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal property
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory
filing or recording fee, or other similar tax or governmental assessment, and upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forego the
collection of any such tax or governmental assessment and accept for filing and recordation any

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of the foregoing instruments or other documents without the payment of any such tax, recordation
fee, or governmental assessment. All filing or recording officers (or any other Person with
authority over any of the foregoing), wherever located and by whomever appointed, shall comply
with the requirements of section 1146(a) of the Bankruptcy Code, shall forego the collection of
any such tax or governmental assessment, and shall accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental
assessment.

                 10.      Corporate Existence

         Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or
any agreement, instrument, or other document incorporated therein, or unless determined by the
Debtors prior to the Effective Date to wind-down, dissolve, or liquidate a Debtor, each Debtor
shall continue to exist after the Effective Date as a separate corporation, limited liability company,
partnership, or other form, as the case may be, with all the powers of a corporation, limited liability
company, partnership, or other form, as the case may be, pursuant to the applicable Law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the
respective certificate of incorporation and bylaws (or other formation documents) in effect prior
to the Effective Date, except to the extent such certificate of incorporation and bylaws (or other
formation documents) are amended under the Plan or otherwise, in each case, consistent with the
Plan, and to the extent such documents are amended in accordance therewith, such documents are
deemed to be amended pursuant to the Plan and require no further action or approval (other than
any requisite filings, approvals, or consents required under applicable state, provincial, or federal
Law). After the Effective Date, the respective certificate of incorporation and bylaws (or other
formation documents) of one or more of the Reorganized Debtors may be amended or modified
on the terms therein without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules. On or after the Effective Date, without
prejudice to the rights of any party to a contract or other agreement with any Reorganized Debtor,
each Reorganized Debtor may take such action not inconsistent with the Restructuring
Transactions, the Plan Support Agreement or the Plan and as permitted by applicable law and such
organizational documents, as the Reorganized Debtors may determine is reasonable and
appropriate, including causing any of them to: (i) be merged into another; (ii) be dissolved and
liquidated; (iii) change its legal name; (iv) change its state of incorporation; or (v) close a
Reorganized Debtor’s Chapter 11 Case on the Effective Date or any time thereafter.

                 11.      Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or
any agreement, instrument, or other document incorporated therein, or unless determined by the
Debtors prior to the Effective Date to wind-down, dissolve, or liquidate a Debtor on the Effective
Date, all property in each Estate, all Causes of Action, and all property of the Estate to revest
pursuant to the Plan shall vest in each respective Reorganized Debtor and any entity that may be
formed or incorporated by the Debtors or the Reorganized Debtors before, on or after the Effective
Date, free and clear of all Liens, Claims, charges, restrictions or other encumbrances. On and after
the Effective Date, except as otherwise provided in the Plan, the Plan Supplement, or the
Confirmation Order, each Reorganized Debtor may operate its businesses and may use, acquire,
or dispose of property, including transferring any assets to any entities formed or incorporated

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before, on or after the Effective Date by the Debtors or the Reorganized Debtors, and compromise
or settle any Claims, Interests, or Causes of Action without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

                 12.      Cancellation of Existing Securities and Agreements

        On the Effective Date, except to the extent otherwise provided in the Plan, the Plan
Supplement, or the Confirmation Order, or any agreement, instrument, or other document
incorporated therein, and other than as to the DIP Facility Claims and Foris Prepetition Secured
Claims rolled up, converted, exchanged, refinanced or amended and restated, into the Exit First
Lien Facility or New Common Stock of Reorganized Amyris, all notes, instruments, certificates,
credit agreements, indentures, and other documents evidencing Claims or Interests shall be
cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be
deemed satisfied in full, cancelled, released, discharged, and of no force and effect without any
need for further action or approval of the Bankruptcy Court or for a Holder to take further action,
and the Agents shall be released from all duties thereunder. Holders of or parties to such cancelled
instruments, Securities, and other documentation will have no rights arising from or relating to
such instruments, Securities, and other documentation, or the cancellation thereof, except the rights
provided for pursuant to the Plan. Notwithstanding anything to the contrary herein, but subject to
any applicable provisions of Article VII of the Plan, to the extent cancelled pursuant to this
paragraph, the Debt Documents shall continue in effect solely to the extent necessary to: (a) permit
Holders of Claims under Debt Documents to receive their respective Plan Distributions, if any; (b)
permit the Disbursing Agent, as applicable, to make Plan Distributions on account of the Allowed
Claims under the Debt Documents; (c) preserve any rights of the Agents and Trustees thereunder
to maintain, exercise, and enforce any applicable rights of indemnity, reimbursement, or
contribution, or subrogation or any other claim or entitlement; provided that, for the avoidance of
doubt, such rights of the Convertible Notes Trustee shall be limited to the Plan Distributions to be
made on account of the Convertible Notes Claims; and (d) permit each Agent and Trustee to appear
and be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court. Except as
provided in the Plan or the Plan Supplement (including Article VII of the Plan) or as may be
necessary to effectuate the terms of the Plan, on the Effective Date, the Agents and Trustees, and
their respective agents, successors, and assigns, shall be automatically and fully discharged of all
of their duties and obligations associated with the Debt Documents, as applicable.

                 13.      Corporate Action

        On the Effective Date, or as soon as reasonably practicable thereafter, except as otherwise
provided in the Plan, the Plan Supplement, or the Confirmation Order, all actions contemplated
under the Confirmation Order, the Plan and the Plan Supplement shall be deemed authorized and
approved in all respects, including: (a) the hiring of a new chief executive officer and the execution
of an employment agreement with the new chief executive officer on terms and conditions
acceptable to Foris; (b) discharge of the duties of, and the dissolution of, the then-existing board
of directors of Parent and selection of the directors or managers, as applicable, and officers for the
Reorganized Debtors, including the appointment of the New Board; (c) the issuance and
distribution of the New Common Stock; (d) implementation of the Restructuring Transactions, and
performance of all actions and transactions contemplated hereby and thereby; (e) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the

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Restructuring Transactions contemplated by the Plan (whether to occur before, on, or after the
Effective Date); (f) adoption, execution, delivery, and/or filing of the New Organizational
Documents; (g) the rejection, assumption, or assumption and assignment, as applicable, of
Executory Contracts and Unexpired Leases; (h) entry into the Exit First Lien Facility and the
execution, delivery, and filing of the Exit First Lien Facility Documents; (i) the execution,
delivery, and filing of documents to effectuate the issuance of the New Notes; (j) entry into the
Amended DSM Contracts, the DSM Plan Promissory Note, and DSM Plan Promissory Note
Pledge Agreement; (k) execution of the Amended Givaudan Contract; (l) the execution of the
Excluded Party Litigation Trust Agreement and the Direct Claim Recovery Pool; and (m) all other
acts or actions contemplated or reasonably necessary or appropriate to promptly consummate the
Restructuring Transactions (whether to occur before, on, or after the Effective Date).

        Except as otherwise provided in the Plan or the Plan Supplement, all matters provided for
in the Plan and the Plan Supplement involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate, partnership, limited liability company, or other
governance action required by the Debtors or the Reorganized Debtors, as applicable, in
connection with the Plan and the Plan Supplement shall be deemed to have occurred and shall be
in effect, without any requirement of further action by the equity holders, members, directors,
managers, or officers of the Debtors or the Reorganized Debtors, as applicable.

       On or, as applicable, prior to the Effective Date, except as otherwise provided in the Plan
or the Plan Supplement, the appropriate officers of the Debtors or the Reorganized Debtors, as
applicable, shall be authorized and, as applicable, directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan and the Plan
Supplement (or necessary or desirable to effect the transactions contemplated under the Plan) in
the name of and on behalf of the Reorganized Debtors, including the New Common Stock, the
Exit First Lien Facility Documents, the New Organizational Documents, the New Notes, the
Amended DSM Contracts, the DSM Plan Promissory Note, the DSM Plan Promissory Note Pledge
Agreement, the Amended Givaudan Contract, any other Definitive Documents, and any and all
other agreements, documents, Securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by Article IV.N of the Plan shall be effective
notwithstanding any requirements under non bankruptcy Law.

                 14.      New Organizational Documents

        On or as soon as reasonably practicable after the Effective Date, except as otherwise
provided in the Plan or the Plan Supplement and subject to local Law requirements, the New
Organizational Documents (which shall be consistent with the Plan and the Plan Supplement) shall
be automatically adopted or amended as may be necessary to effectuate the transactions
contemplated by the Plan. To the extent required under the Plan, the Plan Supplement, or
applicable non bankruptcy Law, each of the Reorganized Debtors will file its New Organizational
Documents with the applicable Secretaries of State and/or other applicable authorities in its
respective state or country of organization if and to the extent required in accordance with the
applicable Law of the respective state or country of organization. The New Organizational
Documents will (a) authorize the issuance of the New Common Stock and (b) prohibit the issuance
of non-voting equity Securities to the extent required under section 1123(a)(6) of the Bankruptcy
Code.

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       After the Effective Date, each Reorganized Debtor may amend and restate its respective
New Organizational Documents as permitted by Laws of the respective states, provinces, or
countries of incorporation and the New Organizational Documents.

        On the Effective Date, Reorganized Amyris shall enter into and deliver the New
Stockholders Agreement with respect to each Holder of New Common Stock, which shall become
effective and binding in accordance with their terms and conditions upon the parties thereto
without further notice to or order of the Bankruptcy Court, act, or action under applicable Law,
regulation, order, or rule or the vote, consent, authorization, or approval of an Entity (other than
the relevant consents required by any Definitive Document). Holders of New Common Stock shall
be deemed to have executed the New Stockholders Agreement and be parties thereto, without the
need to deliver signature pages thereto.

                 15.      Managers and Officers of the Reorganized Debtors

        As of the Effective Date, the members for the New Board shall be appointed. The initial
members of the New Board of Reorganized Amyris will be identified in the Plan Supplement, to
the extent known at the time of filing. Each such member and officer of the Reorganized Debtors
(including the new chief executive officer) shall serve from and after the Effective Date pursuant
to the terms of any applicable employment agreements and other constituent documents of the
Reorganized Debtors, including the New Organizational Documents.

                 16.      Effectuating Documents; Further Transactions

        On and after the Effective Date, the Reorganized Debtors, and their respective officers,
directors, members, or managers (or other relevant governing body), are authorized to and may
issue, execute, deliver, file, or record such contracts, Securities, instruments, releases, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate,
implement, and further evidence the terms and conditions of the Plan, the Exit First Lien Facility
entered into, and the Securities issued pursuant to the Plan in the name of and on behalf of the
Reorganized Debtors, without the need for any approvals, authorization, or consents except for
those expressly required pursuant to the Plan or the Plan Supplement.

                 17.      Management Incentive Plan

        A management incentive plan may be established and grants may be made from time to
time to employees, officers, and directors of the Reorganized Debtors at the discretion of the New
Board effective after the Effective Date. The terms and conditions (including, without limitation,
with respect to participants, allocation, timing, and the form and structure of the equity-linked
awards) shall be determined at the discretion of the New Board after the Effective Date.

                 18.      Preservation of Causes of Action

       In accordance with section 1123(b) of the Bankruptcy Code, each Reorganized Debtor or
the Excluded Party Litigation Trust, as applicable, shall retain and may enforce all rights to
commence and pursue, as appropriate, any and all Causes of Action of the Debtors, whether arising
before or after the Petition Date, including any actions specifically enumerated in the Schedule of
Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle

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such retained Causes of Action shall be preserved notwithstanding the occurrence of the Effective
Date or any other provision of the Plan to the contrary, other than the Avoidance Actions or any
other Causes of Action released by the Debtors pursuant to the releases and exculpations contained
in the Plan, including in Error! Reference source not found. of the Plan, which shall be deemed
released and waived by the Debtors and the Reorganized Debtors as of the Effective Date.

        The Reorganized Debtors or the Excluded Party Litigation Trust, as applicable, may
pursue such retained Causes of Action and Excluded Party Direct Claims, as appropriate.
No Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement,
or the Disclosure Statement to any retained Cause of Action or Excluded Party Direct Claim
against it as any indication that the Debtors, the Reorganized Debtors, or the Excluded Party
Litigation Trust, as applicable, will not pursue any and all available retained Causes of
Action or Excluded Party Direct Claim against it. The Debtors, the Reorganized Debtors,
and the Excluded Party Litigation Trust expressly reserve all rights to prosecute any and all
retained Causes of Action and Excluded Party Direct Claims against any Entity (other than
the Causes of Action and Direct Claims released under the Plan and subject to the
exculpations contained in the Plan). Unless any Causes of Action or Direct Claims against
an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled
in the Plan or a Final Order (and for the avoidance of doubt, any Causes of Action on the
Schedule of Retained Causes of Action, and all Excluded Party Direct Claims shall not be
expressly relinquished, exculpated, released, compromised, or settled in the Plan), the
Reorganized Debtors or the Excluded Party Litigation Trust, as applicable, expressly reserve
all retained Causes of Action and Excluded Party Direct Claims, for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
apply to such retained Causes of Action or Excluded Party Direct Claims upon, after, or as
a consequence of the Confirmation or Consummation.

        The Reorganized Debtors and the Excluded Party Litigation Trust, as applicable, reserve
and shall retain such retained Causes of Action and Excluded Party Direct Claims notwithstanding
the rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11
Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any
retained Causes of Action and Excluded Party Direct Claims against any Entity shall vest in the
Reorganized Debtors or the Excluded Party Litigation Trust, as applicable. The applicable
Reorganized Debtors or the Excluded Party Litigation Trust, through their authorized agents or
representatives, shall retain and may exclusively enforce any and all such retained Causes of
Action and Excluded Party Direct Claims The Reorganized Debtors or the Excluded Party
Litigation Trust, as applicable, shall have the exclusive right, authority, and discretion to determine
and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate
to judgment any such retained Causes of Action and Excluded Party Direct Claim and to decline
to do any of the foregoing without the consent or approval of any third party or further notice to
or action, order, or approval of the Bankruptcy Court except as otherwise released in this Plan.




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        C.         Estate Excluded Party Litigation Trust

              1.        Creation and Governance of the Estate Excluded Party Litigation Trust

        Unless otherwise determined pursuant to the terms of the Plan, on the Effective Date,
whether or not the Debtors have executed a D&O Insurance Settlement, the Debtors shall transfer,
or cause to be transferred, to the Estate Excluded Party Litigation Trust all of their rights, title, and
interest in the Estate Excluded Party Litigation Trust Assets, and the Estate Excluded Party
Litigation Trustee shall execute the Estate Excluded Party Litigation Trust Agreement and take all
steps necessary to establish the Estate Excluded Party Litigation Trust in accordance with the Plan
and the Estate Excluded Party Litigation Trust Agreement. Such transfers shall be exempt from
any stamp, real estate transfer, mortgage reporting, sales, use, or other similar tax. The Estate
Excluded Party Litigation Trust shall be governed by the Estate Excluded Party Litigation Trust
Agreement and administered by the Estate Excluded Party Litigation Trustee.

        To effectively investigate, defend or pursue Causes of Action, the Debtors, the Estate
Excluded Party Litigation Trust, and the Estate Excluded Party Litigation Trustee and all counsel
thereto, must be able to exchange information with each other on a confidential basis and cooperate
in common interest efforts without waiving any applicable privilege. Sharing such information
shall not waive or limit any applicable privilege related to such information. To the extent
necessary to the performance of the Estate Excluded Party Litigation Trustee’s duties and
responsibilities, and subject to the Estate Excluded Party Litigation Trust Agreement, the Debtors
or Reorganized Debtors, as applicable, shall share with the Estate Excluded Party Litigation
Trustee communications or documents that are subject to the attorney-client privilege, work
product protection, or other applicable privilege; the sharing of such information shall not operate
as a waiver of any applicable privileges. The parties shall agree on how to document the sharing
of the attorney-client privilege such that the privilege is preserved, and in the absence of an
agreement the Bankruptcy Court shall decide as set forth in the Confirmation Order or any other
order(s).

                   2.     Purpose of the Estate Excluded Party Litigation Trust

        The Estate Excluded Party Litigation Trust shall be established for the purpose of
liquidating the Estate Excluded Party Litigation Trust Assets, reconciling and objecting, if
necessary, to Disputed Claims, and distributing the proceeds of the Estate Excluded Party
Litigation Trust Assets to the Estate Excluded Party Litigation Trust Beneficiaries in accordance
with the terms of the Plan and the Estate Excluded Party Litigation Trust Agreement. [The Estate
Excluded Party Litigation Trust is intended to qualify as an Estate Excluded Party Litigation Trust
pursuant to Treasury Regulations section 301.7701-4(d), with no objective to continue or engage
in the conduct of a trade or business, except to the extent reasonably necessary and consistent with,
the purpose of the Estate Excluded Party Litigation Trust.]

                   3.     Estate Excluded Party Litigation Trust Agreement and Funding the
                          Estate Excluded Party Litigation Trust

        The Estate Excluded Party Litigation Trust Agreement generally will provide for, among
other things: (a) the payment of the Estate Excluded Party Litigation Trust Expenses; (b) the


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retention of counsel, accountants, financial advisors, or other professionals and the payment of
their reasonable compensation; (c) the investment of Cash by the Estate Excluded Party Litigation
Trustee within certain limitations, including those specified in the Plan and Estate Excluded Party
Litigation Trust Agreement; and (d) the orderly liquidation of the Estate Excluded Party Litigation
Trust Assets.

        The Estate Excluded Party Litigation Trust Expenses shall be paid from the Estate
Excluded Party Litigation Trust Assets in accordance with the Plan and the Estate Excluded Party
Litigation Trust Agreement. The Estate Excluded Party Litigation Trustee, on behalf of the Estate
Excluded Party Litigation Trust, may employ, without further order of the Bankruptcy Court,
professionals to assist in carrying out its duties hereunder and may compensate and reimburse the
reasonable expenses of these professionals without further order of the Bankruptcy Court from the
Estate Excluded Party Litigation Trust Assets in accordance with the Plan and the Estate Excluded
Party Litigation Trust Agreement.

                 4.       [Valuation of Assets

        As soon as reasonably practicable following the establishment of the Excluded Party
Litigation Trust, the Excluded Party Litigation Trustee shall determine the value of the assets
transferred to the Excluded Party Litigation Trust, based on the good faith determination of the
Excluded Party Litigation Trustee, and the Excluded Party Litigation Trustee shall apprise, in
writing, the Excluded Party Litigation Trust Beneficiaries of such valuation, from time to time as
relevant for tax reporting purposes. The valuation shall be used consistently by all parties
(including, without limitation, the Debtors, the Excluded Party Litigation Trust, the Excluded Party
Litigation Trustee, and the Excluded Party Litigation Trust Beneficiaries) for all applicable U.S.
federal, state, and local income tax purposes.

        In connection with the preparation of the valuation contemplated by the Plan and the
Excluded Party Litigation Trust Agreement, the Excluded Party Litigation Trust shall be entitled
to retain such professionals and advisors as the Excluded Party Litigation Trust shall determine to
be appropriate or necessary, and the Excluded Party Litigation Trustee shall take such other actions
in connection therewith as it determines to be appropriate or necessary. The Excluded Party
Litigation Trust shall bear all of the reasonable costs and expenses incurred in connection with
determining such value, including the fees and expenses of any professionals retained in
connection therewith.]

                 5.       Estate Excluded Party Litigation Trustee

       The Estate Excluded Party Litigation Trustee shall be appointed on the Effective Date. The
Estate Excluded Party Litigation Trustee shall be a professional person or a financial institution
having trust powers with experience administering other creditor trusts.

                 6.       Estate Excluded Party Litigation Trust Interests

        Estate Excluded Party Litigation Trust Interests shall be passive and shall not have voting,
consent, or other shareholder like control rights with respect to the Estate Excluded Party Litigation
Trust. The Estate Excluded Party Litigation Trust Interests shall be uncertificated and shall be
reflected only on the records of the Estate Excluded Party Litigation Trustee. The Estate Excluded

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Party Litigation Trust Interests shall be non-transferable other than if transferred by will, intestate
succession, or otherwise by operation of Law.

                 7.       Cooperation of the Reorganized Debtors

        The Estate Excluded Party Litigation Trust Agreement shall provide for the Reorganized
Debtors’ records and information relating to the Estate Excluded Party Litigation Trust Assets or
copies thereof to be, to the extent reasonably practicable, transferred to the Estate Excluded Party
Litigation Trust, including electronic records or documents, to the extent (a) necessary to liquidate
the Estate Excluded Party Litigation Trust Assets and (b) consistent with applicable Law, but shall
further provide that any records or information so shared shall continue to be protected by the
attorney-client, work product, or common interest privileges. The transfer of such records and
documents to the Estate Excluded Party Litigation Trust shall not waive any applicable privileges
(or similar protections) to which such documents, records, information, and work product may
have been subject before such transfer to the Estate Excluded Party Litigation Trust.

        Except as otherwise provided in the Plan, the Confirmation Order, or the Estate Excluded
Party Litigation Trust Agreement, the Reorganized Debtors, upon reasonable notice, shall
reasonably cooperate with the Estate Excluded Party Litigation Trustee in the administration of
the Estate Excluded Party Litigation Trust, including by providing reasonable access to pertinent
documents, including books and records, to the extent the Reorganized Debtors have such
information and/or documents, to the Estate Excluded Party Litigation Trustee sufficient to enable
the Estate Excluded Party Litigation Trustee to perform its duties hereunder. The Reorganized
Debtors shall reasonably cooperate with the Estate Excluded Party Litigation Trustee in the
administration of the Estate Excluded Party Litigation Trust, including by providing reasonable
access to documents and current officers and directors with respect to contesting, settling,
compromising, reconciling, and objecting to General Unsecured Claims; provided that, in each
case, the Estate Excluded Party Litigation Trust agrees upon request to reimburse reasonable out-
of-pocket expenses for preservation of documents, copying, or similar expenses. The collection,
review, and preservation of documents for any investigation or litigation by the Estate Excluded
Party Litigation Trustee shall be at the expense of the Estate Excluded Party Litigation Trust.

                 8.       United States Federal Income Tax Treatment of the Estate Excluded
                          Party Litigation Trust

        For all United States federal income tax purposes, all parties shall treat the transfer of the
Estate Excluded Party Litigation Trust Assets to the Estate Excluded Party Litigation Trust for the
benefit of the Estate Excluded Party Litigation Trust Beneficiaries, whether their Claims are
Allowed on or after the Effective Date, including any amounts or other assets subsequently
transferred to the Estate Excluded Party Litigation Trust (but only at such time as actually
transferred) as (a) a transfer of the Estate Excluded Party Litigation Trust Assets (subject to any
obligations relating to such Estate Excluded Party Litigation Trust Assets) to the Estate Excluded
Party Litigation Trust Beneficiaries and, to the extent the Estate Excluded Party Litigation Trust
Assets are allocable to Disputed Class 5 Claims that are the responsibility of the Estate Excluded
Party Litigation Trust to resolve, to the LT Disputed Claims Reserve, followed by (b) the transfer
by the Estate Excluded Party Litigation Trust Beneficiaries to the Estate Excluded Party Litigation
Trust of the Estate Excluded Party Litigation Trust Assets (other than the Estate Excluded Party

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Litigation Trust Assets allocable to the LT Disputed Claims Reserve) in exchange for the Estate
Excluded Party Litigation Trust Interests. Accordingly, the Estate Excluded Party Litigation Trust
Beneficiaries shall be treated for U.S. federal income tax purposes as the grantors and owners of
their respective share of the Estate Excluded Party Litigation Trust Assets (other than such Estate
Excluded Party Litigation Trust Assets as are allocable to the LT Disputed Claims Reserve). The
foregoing treatment shall also apply, to the extent permitted by applicable Law, for applicable U.S.
state and local income tax purposes.

        Subject to contrary definitive guidance from the IRS (as determined by the Estate Excluded
Party Litigation Trustee in its reasonable discretion) or a court of competent jurisdiction, the Estate
Excluded Party Litigation Trustee may (a) timely elect to treat the LT Disputed Claims Reserve as
a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and (b) to the
extent permitted by applicable Law, report consistently with the foregoing for applicable U.S. state
and local income tax purposes. All parties (including, without limitation, the Debtors, the Estate
Excluded Party Litigation Trust, the Estate Excluded Party Litigation Trustee, and the Estate
Excluded Party Litigation Trust Beneficiaries) shall report for U.S. federal and applicable U.S.
state and local income tax purposes consistently with the foregoing.

                 9.       Withholding

        The Estate Excluded Party Litigation Trustee may deduct and withhold and pay to the
appropriate taxing authority all amounts required to be deducted or withheld pursuant to the Tax
Code or any provision of any state, local, or non-U.S. tax Law with respect to any Estate Excluded
Party Litigation Trust Beneficiaries, including with respect to any payment or distribution to the
Estate Excluded Party Litigation Trust Beneficiaries, any amounts received by, collections of, or
earnings of the Estate Excluded Party Litigation Trust and any proceeds from the Estate Excluded
Party Litigation Trust Assets. Notwithstanding the above, each Holder of an Allowed Claim that
is to receive a distribution under the Plan shall have the sole and exclusive responsibility for the
satisfaction and payment of any taxes imposed on such Holder by any governmental authority,
including income, withholding and other tax obligations, on account of such distribution or with
respect to its ownership of the Estate Excluded Party Litigation Trust Interests. All such amounts
deducted or withheld and timely paid to the appropriate taxing authority shall be treated as amounts
distributed to such Estate Excluded Party Litigation Trust Beneficiaries for all purposes of this
Agreement, to the extent permitted by applicable Law. The Estate Excluded Party Litigation
Trustee shall be authorized to collect such tax information from the Estate Excluded Party
Litigation Trust Beneficiaries (including social security numbers or other tax identification
numbers) as it, in its sole discretion, deems necessary to effectuate the Plan, the Confirmation
Order, and the Estate Excluded Party Litigation Trust Agreement and to determine whether any
deduction or withholding applies with respect to a payment to such Estate Excluded Party
Litigation Trust Beneficiary and the amount of such deduction or withholding.

        As a condition to receiving, or being entitled to receive, distributions under the Plan or
from the Estate Excluded Party Litigation Trust, all Estate Excluded Party Litigation Trust
Beneficiaries may be required to identify themselves to the Estate Excluded Party Litigation
Trustee and provide tax information and the specifics of their holdings, to the extent requested by
the Estate Excluded Party Litigation Trustee, including an IRS Form W-9 or, in the case of Estate
Excluded Party Litigation Trust Beneficiaries that are not U.S. persons for U.S. federal income tax

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purposes, certification of foreign status on an applicable IRS Form W-8, including all applicable
supporting documents. This identification requirement may, in certain cases, extend to Holders
who hold their securities in street name. The Estate Excluded Party Litigation Trustee may refuse
to make a distribution to any Estate Excluded Party Litigation Trust Beneficiary that fails to furnish
such information in a timely fashion, until (at a minimum) such information is delivered; provided,
however, that upon the delivery of such information by a Estate Excluded Party Litigation Trust
Beneficiary, the Estate Excluded Party Litigation Trustee shall make such distribution to which
the Estate Excluded Party Litigation Trust Beneficiary is entitled, without interest; provided,
further, that if the Estate Excluded Party Litigation Trustee fails to withhold in respect of amounts
received or distributable with respect to any such Holder and the Estate Excluded Party Litigation
Trustee is later held liable for the amount of such withholding, such Holder shall reimburse the
Estate Excluded Party Litigation Trustee for such liability. If a Estate Excluded Party Litigation
Trust Beneficiary fails to comply with such a request for tax information within ninety days, the
Estate Excluded Party Litigation Trustee may file a document with the Bankruptcy Court that will
provide twenty one days’ notice before such distribution may be deemed an unclaimed
distribution, and shall not be entitled to any subsequent distributions. In the event that the Estate
Excluded Party Litigation Trustee elects to make distributions through an intermediary (such as
DTC), the party who would be the withholding agent with respect to distributions to the Estate
Excluded Party Litigation Trust Beneficiary under U.S. federal income tax principles shall be
responsible for withholding tax compliance with respect to any such distribution, based on
instructions on the character of the income from the Estate Excluded Party Litigation Trustee.

                 10.      Dissolution of the Estate Excluded Party Litigation Trust

         The Estate Excluded Party Litigation Trustee and the Estate Excluded Party Litigation
Trust shall be discharged or dissolved, as the case may be, at such time as (a) the Estate Excluded
Party Litigation Trustee determines that all Estate Excluded Party Litigation Trust Assets have
been liquidated or otherwise disposed of, or the liquidation or other disposition of any remaining
Estate Excluded Party Litigation Trust Assets is not likely to yield sufficient additional proceeds
to justify further actions with respect to the Estate Excluded Party Litigation Trust Assets and (b)
all distributions of Estate Excluded Party Litigation Trust Assets required to be made by the Estate
Excluded Party Litigation Trustee have been made[, but in no event shall the Estate Excluded Party
Litigation Trust be dissolved later than five years from the Effective Date unless the Bankruptcy
Court, upon motion made within the six-month period before such fifth anniversary (and, in the
event of further extension, within the six-month period before the end of the preceding extension),
determines that a fixed-period extension (not to exceed three years, together with any prior
extensions, without a favorable letter ruling from the IRS or based on advice or an opinion of
counsel satisfactory to Estate Excluded Party Litigation Trustee that any further extension would
not adversely affect the status of the Estate Excluded Party Litigation Trust as a Estate Excluded
Party Litigation Trust for U.S. federal income tax purposes) is necessary to facilitate or complete
the recovery on, and liquidation of, the Estate Excluded Party Litigation Trust Assets].

       Upon dissolution of the Estate Excluded Party Litigation Trust, any remaining Estate
Excluded Party Litigation Trust Assets shall be distributed to all Estate Excluded Party Litigation
Trust Beneficiaries in accordance with the Plan and the Estate Excluded Party Litigation Trust
Agreement as appropriate; provided, however, that if the Estate Excluded Party Litigation Trustee
reasonably determines that such remaining Estate Excluded Party Litigation Trust Assets are

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insufficient to render a further distribution practicable, the Estate Excluded Party Litigation
Trustee may (i) reserve any amount necessary to dissolve the Estate Excluded Party Litigation
Trust, (ii) donate any balance to a charitable organization (A) described in section 501(c)(3) of the
Tax Code, (B) exempt from U.S. federal income tax under section 501(a) of the Tax Code, (C) not
a “private foundation” as defined in section 509(a) of the Tax Code, and (D) that is unrelated to
the Debtors, the Estate Excluded Party Litigation Trust, and any insider of the Estate Excluded
Party Litigation Trustee, and (iii) dissolve the Estate Excluded Party Litigation Trust.

                 11.      Tax Reporting

        The Estate Excluded Party Litigation Trust has been structured to qualify as a “liquidating
trust” under section 301.7701-4(d) of the Treasury Regulations (other than with respect to the LT
Disputed Claims Reserve), with the Estate Excluded Party Litigation Trust Beneficiaries treated
as the grantors and owners of the Estate Excluded Party Litigation Trust. The “taxable year” of
the Estate Excluded Party Litigation Trust shall be the “calendar year” as such terms are defined
in section 441 of the Tax Code. The Estate Excluded Party Litigation Trustee shall file tax returns
for the Estate Excluded Party Litigation Trust treating the Estate Excluded Party Litigation Trust
as a grantor trust pursuant to Treasury Regulations section 1.671-4(a) to the extent permitted by
applicable Law, subject to the treatment of the LT Disputed Claims Reserve. The Estate Excluded
Party Litigation Trustee shall also annually send or make available to each Estate Excluded Party
Litigation Trust Beneficiary of record, in accordance with applicable Law, a separate statement
setting forth such holder’s share of items of income, gain, loss, deduction or credit (including the
receipts and expenditures of the Estate Excluded Party Litigation Trust) as relevant for U.S. federal
income tax purposes and will instruct all such Estate Excluded Party Litigation Trust Beneficiaries
to use such information in preparing their U.S. federal income tax returns (including, for the
avoidance of doubt, with respect to withholding tax) or to forward the appropriate information to
such Estate Excluded Party Litigation Trust Beneficiary’s underlying beneficial holders with
instructions to utilize such information in preparing their U.S. federal income tax returns; provided
that if the Estate Excluded Party Litigation Trustee elects to make distributions through an
intermediary (such as DTC), it shall provide such statement to such intermediaries for them to
provide to such Estate Excluded Party Litigation Trust Beneficiaries.]

       The Estate Excluded Party Litigation Trustee also shall file (or cause to be filed) any other
statements, returns, or disclosures relating to the Estate Excluded Party Litigation Trust that are
required by any Governmental Unit.

         The Estate Excluded Party Litigation Trustee shall be responsible for payment, out of the
Estate Excluded Party Litigation Trust Assets, of any taxes imposed on the Estate Excluded Party
Litigation Trust or the Estate Excluded Party Litigation Trust Assets, including the LT Disputed
Claims Reserve. In the event, and to the extent, any Cash retained on account of a Disputed Claim
in the LT Disputed Claims Reserve is insufficient to pay the portion of any such taxes attributable
to the taxable income arising from the assets allocable to, or retained on account of, such Disputed
Claims, the Estate Excluded Party Litigation Trustee may, in its discretion, (a) sell any non-Cash
assets relating to such Claim (including any assets distributable as a result of disallowance of such
Claim) to pay such taxes or (b) reimburse the Estate Excluded Party Litigation Trust for the
payment of such taxes from any subsequent Cash amounts allocable to, or retained on account of,


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such taxes from any subsequent Cash amounts allocable to, or retained on account of, such
Disputed Claim (including any Cash distributable as a result of disallowance of such Claims).

       The Estate Excluded Party Litigation Trustee may request an expedited determination of
taxes of the Estate Excluded Party Litigation Trust, including the LT Disputed Claims Reserve,
under section 505(b) of the Bankruptcy Code, for all tax returns filed for, or on behalf of, the Estate
Excluded Party Litigation Trust for all taxable periods through the dissolution of the Estate
Excluded Party Litigation Trust.

                   12.     Transferred Privileges

        Subject to Article V.A of the Plan in all events, in respect of privileges (if any) transferred
to the Estate Excluded Party Litigation Trust under the Estate Excluded Party Litigation Trust
Agreement (the “Transferred Privileges”), the Estate Excluded Party Litigation Trust Agreement
shall contain terms substantially reflecting the following: subject to Article V.A of the Plan, the
Estate Excluded Party Litigation Trust may not waive any Transferred Privileges in respect of
records, documents, or information related to the Estate Excluded Party Litigation Trust Assets
without first providing to the Reorganized Debtors reasonable advance written notice and an
opportunity to protect their respective rights with respect to any subsequent disclosure and the
terms of any protective order, confidentiality stipulation, or similar agreement relating to such
disclosure. The Reorganized Debtors may not make disclosure in a manner that could effectuate
a waiver of any Transferred Privileges in respect of records, documents, or information related to
the Estate Excluded Party Litigation Trust Assets without first providing to the Estate Excluded
Party Litigation Trustee reasonable advance written notice (in no event less than five Business
Days) and an opportunity to protect the Estate Excluded Party Litigation Trust’s rights with respect
to any subsequent disclosure and the terms of any protective order, confidentiality stipulation, or
similar agreement relating to such disclosure. If the Estate Excluded Party Litigation Trustee or
the Reorganized Debtors object to an action proposed to be taken by the other with regard to
records, documents, or information related to the Estate Excluded Party Litigation Trust Assets
that are covered by the Transferred Privilege (or a disclosure that would result in a waiver), the
parties shall be permitted to raise the issue promptly with the Bankruptcy Court. The party
providing advance written notice may take its proposed action unless the Bankruptcy Court
determines that (a) such action would cause material adverse harm to the other party, or (b) the
harm to the objecting party would substantially outweigh the benefit to the party seeking to take
the proposed action. The objecting party shall bear the burden of proof. Each of the parties shall
bear its own costs and expenses, including attorneys’ fees, incurred in connection with such
dispute.

        D.         Treatment of Executory Contracts and Unexpired Leases

              1.         Assumption and Rejection of Executory Contracts and Unexpired
                         Leases

       On the Effective Date, except as otherwise provided herein, all Executory Contracts or
Unexpired Leases not otherwise assumed or rejected will be deemed rejected by the applicable
Reorganized Debtor in accordance with the provisions and requirements of sections 365 and 1123
of the Bankruptcy Code, other than those that: (a) are identified on the Schedule of Assumed


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Executory Contracts and Unexpired Leases; (b) have previously expired or terminated pursuant to
their own terms or agreement of the parties thereto; (c) have been previously assumed or rejected
by the Debtors pursuant to a Final Order; or (d) are, as of the Effective Date, the subject of (i) a
motion to assume that is pending or (ii) an order of the Bankruptcy Court that is not yet a Final
Order.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, or rejections of the Executory Contracts
or Unexpired Leases as set forth in the Plan, or the Schedule of Assumed Executory Contracts and
Unexpired Leases or the Schedule of Proposed Cure Amounts, pursuant to sections 365(a) and
1123 of the Bankruptcy Code. Except as otherwise specifically set forth herein, assumptions or
rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of
the Effective Date. Notwithstanding anything herein to the contrary, the effective date of the
rejection of any such Unexpired Lease shall be the later of (i) the Effective Date and (ii) the date
upon which the Debtors notify the landlord in writing (e-mail being sufficient) that they have
surrendered the premises to the landlord and returned the keys, key codes, or security codes, as
applicable. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by
Bankruptcy Court order but not assigned to a third party before the Effective Date shall revest in
and be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its
terms, including in accordance with any amendments executed by the Debtors and the
counterparties to the applicable Executory Contract or Unexpired Lease during these Chapter 11
Cases and effective upon assumption by the Debtors, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for
its assumption. Any motions to assume Executory Contracts or Unexpired Leases pending on the
Confirmation Date shall be subject to approval by a Final Order on or after the Confirmation Date
in accordance with any applicable terms herein, unless otherwise settled by the applicable Debtors
and counterparties.

        Except as otherwise provided herein or agreed to by the Debtors and the applicable
counterparty, each assumed Executory Contract or Unexpired Lease shall include all
modifications, amendments, supplements, restatements, or other agreements related thereto, and
all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
immunities, options, rights of first refusal, and any other interests. Modifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have
been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the
prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount
of any Claims that may arise in connection therewith.

        To the maximum extent permitted by Law, the transactions contemplated by the Plan shall
not constitute a “change of control” or “assignment” (or terms with similar effect) under any
Executory Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan, or
any other transaction, event, or matter that would (A) result in a violation, breach or default under
such Executory Contract or Unexpired Lease, (B) increase, accelerate or otherwise alter any
obligations, rights or liabilities of the Debtors or the Reorganized Debtors under such Executory
Contract or Unexpired Lease, or (C) result in the creation or imposition of a Lien upon any property
or asset of the Debtors or the Reorganized Debtors pursuant to the applicable Executory Contract


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or Unexpired Lease. Any consent or advance notice required under such Executory Contract or
Unexpired Lease shall be deemed satisfied by Confirmation.

         Notwithstanding anything to the contrary in the Plan, after the Confirmation Date, an
Executory Contract or Unexpired Lease on the Schedule of Assumed Contracts and Unexpired
Leases as of the Confirmation Date may not be assumed by the applicable Debtor(s) unless the
applicable lessor or contract counterparty has (x) consented to such assumption, (y) objected to the
rejection of such Executory Contract or Unexpired Lease on the grounds that such Executory
Contract or Unexpired Lease should not be rejected and should instead be assumed (and such
objection remains outstanding), or (z), in the case of Unexpired Leases, consented to an extension
of the time period in which the applicable Debtor(s) must assume or reject such Unexpired Lease
pursuant to section 365(d)(4) of the Bankruptcy Code (as extended with the applicable lessor’s
consent, the “Deferred Deadline”), in which case for purposes of clause (z) the applicable
Debtor(s) shall have until the Deferred Deadline to assume such Unexpired Lease, subject to the
applicable lessor’s right to object to such assumption, or such Unexpired Lease shall be deemed
rejected. For any Executory Contract or Unexpired Lease assumed pursuant to this paragraph, all
Cure amounts shall be paid on the Effective Date or as soon as reasonably practicable thereafter,
unless subject to a dispute with respect to Cure cost, such dispute shall be addressed in accordance
with Article VI.D of the Plan.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules require the
Debtors to assume or reject an Executory Contract or Unexpired Lease by a deadline, including
section 365(d) of the Bankruptcy Code, such requirement shall be satisfied if the Debtors make an
election, either through the Filing of a motion or identification in the Plan Supplement, to assume
or reject such Executory Contract or Unexpired Lease prior to the applicable deadline, regardless
of whether or not the Bankruptcy Court has actually ruled on such proposed assumption or
rejection prior to such deadline.

                 2.       Indemnification Obligations

        All indemnification provisions, consistent with applicable Law, in place as of the Effective
Date (whether in the bylaws, certificates of incorporation or formation, limited liability company
agreements, other organizational documents, board resolutions, indemnification agreements,
employment contracts, or otherwise) for current directors, officers, managers, employees,
attorneys, accountants, investment bankers, and other professionals of the Debtors, as applicable,
other than with respect to any Excluded Party, shall be Reinstated and remain intact, irrevocable,
and shall survive the effectiveness of the Plan on the same terms that existed prior to the Effective
Date; provided that nothing herein shall expand any of the Debtors’ indemnification obligations in
place as of the Petition Date.

        Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be
deemed to have assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section
365(a) of the Bankruptcy Code effective as of the Effective Date. Entry of the Confirmation Order
will constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption
of each of the unexpired D&O Liability Insurance Policies. Notwithstanding anything to the
contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair, or otherwise
modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability

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Insurance Policies, and each such indemnity obligation will be deemed and treated as an Executory
Contract that has been assumed by the Debtors under the Plan as to which no Proof of Claim need
be Filed.

        In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or
otherwise reduce the coverage under any D&O Liability Insurance Policies in effect on or after the
Petition Date, with respect to conduct occurring prior thereto, and all directors, managers, and
officers of the Debtors who served in such capacity at any time prior to the Effective Date shall be
entitled to the full benefits of any such policy for the full term of such policy, to the extent set forth
therein, regardless of whether such directors, managers, and officers remain in such positions after
the Effective Date.

                 3.       Claims Based on Rejection of Executory Contracts or Unexpired
                          Leases

        Entry of the Confirmation Order shall constitute a Bankruptcy Court Order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases on the Schedule of Rejected
Executory Contracts and Unexpired Leases. Any objection to the rejection of an Executory
Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or before
fourteen days after the service of notice of rejection on the affected counterparty. Unless otherwise
provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to Claims
arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty days after the
later of (a) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such rejection and (b) the effective date of such rejection. Any Claims arising
from the rejection of an Executory Contract or Unexpired Lease not Filed with the
Bankruptcy Court within such time will be automatically disallowed, forever barred from
assertion, and shall not be enforceable against the Debtors or the Reorganized Debtors, the
Estates, the Estate Excluded Party Litigation Trust, or their property without the need for
any objection by the Reorganized Debtors or further notice to, or action, order, or approval
of the Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of
the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and
discharged, notwithstanding anything in the Proof of Claim to the contrary. For the
avoidance of doubt, unless otherwise agreed, any property remaining on the premises subject to a
rejected Unexpired Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors,
as applicable, as of the effective date of the rejection, and the counterparty to such Unexpired
Lease shall be authorized to (i) use or dispose of any property left on the premises in its sole and
absolute discretion without notice or liability to the Debtors or the Reorganized Debtors, as
applicable, or any third party, and (ii) shall be authorized to assert a Claim for any and all damages
arising from the abandonment of such property by filing a Claim in accordance with Article VI.C
of the Plan.

                 4.       Cure of Defaults for Assumed Executory Contracts and Unexpired
                          Leases

      On the Effective Date or as soon as reasonably practicable thereafter, the Debtors or the
Reorganized Debtors, as applicable, shall, in accordance with the Schedule of Proposed Cure

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Amounts, pay all Cure costs relating to Executory Contracts and Unexpired Leases that are being
assumed under the Plan. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all objections to any Cures set forth in the Schedule of
Proposed Cure Amounts must be Filed with the Bankruptcy Court on or before [___] days after
the service of the Schedule of Proposed Cure Amounts on affected counterparties. Any such
request that is not timely Filed shall be disallowed and forever barred, estopped, and enjoined from
assertion, and shall not be enforceable against any Debtor or Reorganized Debtor, without the need
for any objection by the Debtors or the Reorganized Debtors or any other party in interest or any
further notice to or action, order, or approval of the Bankruptcy Court. Any Cure costs shall be
deemed fully satisfied, released, and discharged upon payment by the Debtors or the Reorganized
Debtors of the applicable Cure costs; provided, however, that nothing herein shall prevent the
Reorganized Debtors from paying any Cure costs despite the failure of the relevant counterparty
to file such request for payment of such Cure costs. The Reorganized Debtors also may settle any
disputes related to Cure costs without any further notice to or action, order, or approval of the
Bankruptcy Court. In addition, any objection to the assumption of an Executory Contract or
Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or before [___] days
after the service of notice of assumption on affected counterparties. Any such objection will be
scheduled to be heard by the Bankruptcy Court at the Confirmation Hearing or at the Debtors’ or
the Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such objection
is timely Filed, unless otherwise agreed to by the parties or ordered by the Bankruptcy Court. Any
counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the
proposed assumption or assumption and assignment, as applicable, of any Executory Contract or
Unexpired Lease will be deemed to have consented to such assumption or assumption and
assignment.

       If there is any dispute regarding any Cure costs, the ability of the Reorganized Debtors or
any assignee to provide “adequate assurance of future performance” within the meaning of section
365 of the Bankruptcy Code, or any other matter pertaining to assumption or assumption and
assignment, then payment of any Cure costs shall occur as soon as reasonably practicable after (a)
entry of a Final Order resolving such dispute, approving such assumption (and, if applicable,
assignment) or (b) as may be agreed upon by the Debtors or the Reorganized Debtors, as
applicable, and the counterparty to the Executory Contract or Unexpired Lease.

         If the Bankruptcy Court determines that the Allowed Cure cost with respect to any
Executory Contract or Unexpired Lease is greater than the amount set forth in the Schedule of
Proposed Cure Amounts (such greater amount, the “Court-Ordered Cure Cost”), the Debtors shall
have the right to (a) pay the Court Ordered Cure Cost as soon as reasonably practicable thereafter
and assume such Executory Contract or Unexpired Lease in accordance with the terms herein or
(b) add such Executory Contract or Unexpired Lease to the Schedule of Rejected Executory
Contracts and Unexpired Leases, in which case such Executory Contract or Unexpired Lease will
be deemed rejected on the date of entry of the Court-Ordered Cure Cost and in the case of an
Unexpired Lease, the Debtors shall, pursuant to section 365(d)(4) of the Bankruptcy Code,
immediately surrender the related premises to the lessor unless otherwise agreed with the
applicable lessor, subject to the applicable counterparty’s right to object to such rejection; provided
that, after the deadline to assume an Executory Contract or Unexpired Lease set forth in section
365(d) of the Bankruptcy Code, an Executory Contract or Unexpired Lease may only be added to
the Schedule of Rejected Executory Contracts and Unexpired Leases if (i) the applicable

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counterparty consents to such rejection, (ii) the applicable counterparty objected to the assumption
or Cure of such Executory Contract or Unexpired Lease on the grounds that such Executory
Contract or Unexpired Lease should not be assumed and should instead be rejected, including
alleging an incurable default (and such objection remains outstanding), or (iii) the Court-Ordered
Cure Cost is greater than the amount set forth in the Schedule of Proposed Cure Amounts, as set
forth at the beginning of this paragraph. Notwithstanding anything to the contrary herein, the
Reorganized Debtors and the applicable counterparty shall be entitled to the full benefits of the
Executory Contract or Unexpired Lease (including without limitation, any license thereunder)
pending the resolution of any Cure dispute.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or any bankruptcy related defaults, arising at any time prior to the
effective date of assumption, upon the payment of all applicable Cures. Any and all Proofs of
Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the
Chapter 11 Cases, including pursuant to the Confirmation Order, shall be deemed
disallowed and expunged as of the later of (i) the date of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such assumption, (ii) the effective date
of such assumption, or (iii) the Effective Date without the need for any objection thereto or
any further notice to or action, order, or approval of the Bankruptcy Court; provided,
however, that nothing herein shall affect the allowance of Claims or any Cure agreed to by
the Debtors in any written agreement amending or modifying any Executory Contract or
Unexpired Lease prior to assumption pursuant to the Plan or otherwise.

                 5.       Preexisting Obligations to the Debtors under Executory Contracts
                          and Unexpired Leases

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed to the Debtors or the Reorganized
Debtors, as applicable, under such Executory Contracts or Unexpired Leases.

                 6.       Insurance Policies

        Each of the Debtors’ insurance policies and any agreements, documents, or instruments
relating thereto, are treated as Executory Contracts under the Plan. Unless otherwise provided in
the Plan, on the Effective Date, (a) the Debtors shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments relating to coverage of all insured Claims
and (b) such insurance policies and any agreements, documents, or instruments relating thereto
shall revest in the Reorganized Debtors.

                 7.       Reservation of Rights

       Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
Debtors or any other party that any contract or lease is in fact an Executory Contract or Unexpired
Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding
whether a contract or lease is or was executory or unexpired at the time of assumption or rejection,


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the Debtors or the Reorganized Debtors, as applicable, shall have forty-five days following entry
of a Final Order resolving such dispute to alter their treatment of such contract or lease.

                   8.     Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

        E.         Provisions Concerning Distributions

              1.        Distributions on Account of Claims or Interests Allowed as of the
                        Effective Date

        Unless otherwise provided in the Plan, on or as soon as reasonably practicable after the
Effective Date (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such
Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter), each Holder
of an Allowed Claim shall receive the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class. In the event that any payment or act under the Plan is
required to be made or performed on a date that is not a Business Day, then the making of such
payment or the performance of such act may be completed on the next succeeding Business Day,
but shall be deemed to have been completed as of the required date. If and to the extent that there
are Disputed Claims, distributions on account of any such Disputed Claims shall be made pursuant
to the provisions set forth in Article VIII of the Plan. Except as otherwise provided in the Plan,
Holders of Claims shall not be entitled to interest, dividends, or accruals on the distributions
provided for in the Plan, regardless of whether such distributions are delivered on or at any time
after the Effective Date.

         Notwithstanding the foregoing, (a) Allowed Administrative Claims with respect to
liabilities incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases
or assumed by the Debtors prior to the Effective Date shall be paid or performed in the ordinary
course of business in accordance with the terms and conditions of any controlling agreements,
course of dealing, course of business, or industry practice and (b) Allowed Priority Tax Claims
shall be paid in accordance with Article II.D of the Plan. To the extent any Allowed Priority Tax
Claim is not due and owing on the Effective Date, such Claim shall be paid in full in Cash in
accordance with the terms of any agreement between the Debtors and the Holder of such Claim or
as may be due and payable under applicable non bankruptcy Law or in the ordinary course of
business. Thereafter, a Distribution Date shall occur no less frequently than once in every 180-
day period, as necessary, in the discretion of the Reorganized Debtors. The timing of
distribution(s) to Holders of Allowed General Unsecured Claims shall be determined by the Estate
Excluded Party Litigation Trustee in its sole discretion.

                   2.     Disbursing Agent

        Except as otherwise set forth in Article VII.B of the Plan or the Plan Supplement, all
distributions under the Plan shall be made by the applicable Disbursing Agent. The Disbursing
Agent shall not be required to give any bond or surety or other security for the performance of its
duties.

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                 3.       Rights and Powers of Disbursing Agent

                              a. Powers of the Disbursing Agent

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof.

                              b. Expenses Incurred On or After the Effective Date

       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees
and expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes),
and any reasonable compensation and expense reimbursement Claims (including reasonable
attorney fees and expenses), made by the Disbursing Agent shall be paid in Cash by the
Reorganized Debtors or the Estate Excluded Party Litigation Trustee, as applicable.

                 4.       Delivery of Distributions and Undeliverable or Unclaimed
                          Distributions

                          a.       Record Date for Distribution

        On the Distribution Record Date, the Claims Register shall be closed and any party
responsible for making distributions is and shall be authorized and entitled to recognize only those
record Holders listed on the Claims Register as of the close of business on the Distribution Record
Date. Unless otherwise provided in a Final Order from the Bankruptcy Court, if a Claim, other
than one based on a Security that is traded on a recognized securities exchange, is transferred
twenty or fewer days before the Distribution Record Date, the Disbursing Agent shall make
distributions to the transferee only to the extent practical and, in any event, only if the relevant
transfer form contains an unconditional and explicit certification and waiver of any objection to
the transfer by the transferor.

                          b.       Delivery of Distributions in General

        Except as otherwise provided herein or in the Plan Supplement, the Disbursing Agent shall
make distributions to Holders of Allowed Claims and Allowed Interests, as applicable, as of the
Distribution Record Date at the address for each such Holder as indicated on the Debtors’ records
as of the date of any such distribution; provided that the manner of such distributions shall be
determined at the discretion of the Reorganized Debtors or the Estate Excluded Party Litigation
Trustee, as applicable.

                          c.       Minimum Distributions

        The Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim
or Allowed Interest on account of such Allowed Claim or Allowed Interest of Cash where such
distribution is valued, in the reasonable discretion of the applicable Disbursing Agent, at less than

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$150. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest, as applicable, would otherwise result in the issuance of a number of shares of the New
Common Stock that is not a whole number, the actual distribution of shares of the New Common
Stock shall be rounded as follows: (a) fractions of one-half or greater shall be rounded to the next
higher whole number; and (b) fractions of less than one-half shall be rounded to the next lower
whole number with no further payment therefor. The total number of authorized shares of the New
Common Stock to be distributed under the Plan shall be adjusted as necessary to account for the
foregoing rounding. No fractional shares of New Common Stock shall be distributed and no Cash
shall be distributed in lieu of such fractional amounts. Each Allowed Claim or Interest to which
these limitations apply shall be discharged pursuant to Article IX.A of the Plan and its Holder shall
be forever barred pursuant to Article IX.A of the Plan from asserting that Claim or Interest against
the Reorganized Debtors or their property.

       Any amounts owed to a Holder of an Allowed Claim that is under $150 shall revest in the
applicable Reorganized Debtor automatically (and without need for a further order by the
Bankruptcy Court).

                 5.       Undeliverable and Unclaimed Distributions

        If any distribution to a Holder of an Allowed Claim is returned to the Disbursing Agent as
undeliverable, no distribution shall be made to such Holder unless and until the Disbursing Agent
is notified in writing of such Holder’s then-current address or other necessary information for
delivery, at which time all currently due missed distributions shall be made to such Holder on the
next Distribution Date without interest. Undeliverable distributions shall remain in the possession
of the Reorganized Debtors or the Estate Excluded Party Litigation Trust, as applicable, until such
time as a distribution becomes deliverable, or such distribution reverts to the Reorganized Debtors
or the Estate Excluded Party Litigation Trust or is cancelled pursuant to Article VII of the Plan,
and shall not be supplemented with any interest, dividends, or other accruals of any kind.

        Any distribution under the Plan that is an Unclaimed Distribution or remains undeliverable
for a period of 180 days after distribution shall be deemed unclaimed property under section 347(b)
of the Bankruptcy Code and such Unclaimed Distribution or undeliverable distribution shall revest
in the applicable Reorganized Debtor or the Estate Excluded Party Litigation Trust, as applicable,
automatically (and without need for a further order by the Bankruptcy Court, notwithstanding any
applicable federal, provincial, or estate escheat, abandoned, or unclaimed property Laws to the
contrary) and, to the extent such Unclaimed Distribution is comprised of the New Common Stock,
such New Common Stock shall be cancelled. Upon such revesting, the Claim of the Holder or its
successors with respect to such property shall be cancelled, released, discharged, and forever
barred notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property
Laws, or any provisions in any document governing the distribution that is an Unclaimed
Distribution, to the contrary. The Disbursing Agent shall adjust the distributions of the New
Common Stock to reflect any such cancellation.

                 6.       Surrender of Cancelled Instruments or Securities

        On the Effective Date or as soon as reasonably practicable thereafter, each holder of a
certificate or instrument evidencing a Claim or an Interest that has been cancelled in accordance


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with Article IV.J of the Plan shall be deemed to have surrendered such certificate or instrument to
the Disbursing Agent. Such surrendered certificate or instrument shall be cancelled solely with
respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Debtor third parties vis à vis one another with respect to such certificate or instrument, including
with respect to any indenture or agreement that governs the rights of the Holder of a Claim or
Interest, which shall continue in effect for purposes of allowing Holders to receive distributions
under the Plan, charging liens, priority of payment, and indemnification rights. Notwithstanding
anything to the contrary herein, this paragraph shall not apply to certificates or instruments
evidencing Claims that are Unimpaired under the Plan.

                 7.       Manner of Payment

        Except as otherwise provided in the Plan, the Plan Supplement, or any agreement,
instrument, or other document incorporated in the Plan or the Plan Supplement, all distributions
of the New Common Stock to the Holders of the applicable Allowed Claims or Allowed Interests,
in each case if any, under the Plan shall be made by the Disbursing Agent on behalf of the Debtors
or the Reorganized Debtors, as applicable.

        All distributions of Cash to the Holders of the applicable Allowed Claims or Allowed
Interests, in each case if any, under the Plan shall be made by the Disbursing Agent on behalf of
the applicable Debtor or Reorganized Debtor.

       At the option of the applicable Disbursing Agent, any Cash payment to be made hereunder
may be made by check, Automated Clearing House, or wire transfer or as otherwise required or
provided in applicable agreements.

                 8.       Compliance with Tax Requirements

         In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors,
the Disbursing Agent, and any applicable withholding agent shall comply with all tax withholding
and reporting requirements imposed on them by any Governmental Unit, and all distributions made
pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized to take
all actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of the distribution to be made under the Plan to generate sufficient
funds to pay applicable withholding taxes, withholding distributions pending receipt of
information necessary to facilitate such distributions, or establishing any other mechanisms they
believe are reasonable and appropriate.

                 9.       Allocations

        Distributions in respect of Allowed Claims shall be allocated first to the principal amount
of such Claims (as determined for United States federal income tax purposes) and then, to the
extent the consideration exceeds the principal amount of the Claims, to any portion of such Claims
for accrued but unpaid interest.




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                 10.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in the DIP Orders, the Plan, or the Confirmation
Order, or required by applicable bankruptcy and non-bankruptcy Law, postpetition interest shall
not accrue or be paid on any prepetition Claims, and no Holder of a Claim shall be entitled to
interest accruing on or after the Petition Date on such Claim. Additionally, and without limiting
the foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to the period
from the Effective Date to the date a final distribution is made on account of such Disputed Claim,
if and when such Disputed Claim becomes an Allowed Claim.

                 11.      Preservation of Setoffs and Recoupment

        Except as expressly provided in the Plan or the Plan Supplement, each Reorganized Debtor
and the Estate Excluded Party Litigation Trust, as applicable, may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of
any Allowed Claim, any and all claims, rights, and Causes of Action (other than Avoidance
Actions) that such Reorganized Debtor or the Estate Excluded Party Litigation Trust may hold
against the Holder of such Allowed Claim to the extent such setoff or recoupment is either (a)
agreed in amount among the relevant Reorganized Debtor(s) or the Estate Excluded Party
Litigation Trust and the Holder of the Allowed Claim or (b) otherwise adjudicated by the
Bankruptcy Court or another court of competent jurisdiction; provided that neither the failure to
effectuate a setoff or recoupment nor the allowance of any Claim hereunder shall constitute a
waiver or release by a Reorganized Debtor or the Estate Excluded Party Litigation Trust or their
applicable successor of any and all claims, rights, and Causes of Action that such Reorganized
Debtor or the Estate Excluded Party Litigation Trust or their applicable successor may possess
against the applicable Holder.. In no event shall any Holder of a Claim be entitled to recoup such
Claim against any claim, right, or Cause of Action of the Debtors, the Reorganized Debtors, or the
Estate Excluded Party Litigation Trustee, as applicable, unless such Holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors in accordance with Article
XIII.F of the Plan on or before the Effective Date, notwithstanding any indication in any Proof of
Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

        Notwithstanding anything to the contrary herein, nothing in the Plan or the Confirmation
Order shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired
Lease to assert any right of setoff or recoupment that such party may have under applicable
bankruptcy Law or non-bankruptcy Law, including, but not limited to, the (i) ability, if any, of
such parties to setoff or recoup a security deposit held pursuant to the terms of their Unexpired
Lease(s) with the Debtors, or any successors to the Debtors, under the Plan, (ii) assertion of rights
of setoff or recoupment, if any, in connection with Claims reconciliation, or (iii) assertion of setoff
or recoupment as a defense, if any, to any Claim or action by the Debtors, the Reorganized Debtors,
or any successors of the Debtors.




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                   12.     Claims Paid or Payable by Third Parties

                           a.    Claims Paid by Third Parties

        The Debtors, the Reorganized Debtors, or the Estate Excluded Party Litigation Trustee, as
applicable, shall reduce in full a Claim, and such Claim shall be disallowed without a Claim
Objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account
of such Claim from a party that is not a Debtor, a Reorganized Debtor, or the Estate Excluded
Party Litigation Trustee. Subject to the last sentence of this paragraph, to the extent a Holder of a
Claim receives a distribution on account of such Claim and receives payment from a party that is
not a Debtor, a Reorganized Debtor, or the Estate Excluded Party Litigation Trustee on account of
such Claim, such Holder shall, within fourteen calendar days of receipt thereof, repay or return the
distribution to the applicable Reorganized Debtor or the Estate Excluded Party Litigation Trustee,
to the extent the Holder’s total recovery on account of such Claim from the third party and under
the Plan exceeds the amount of such Claim as of the date of any such distribution under the Plan.
The failure of such Holder to timely repay or return such distribution shall result in the Holder
owing the applicable Reorganized Debtor or the Estate Excluded Party Litigation Trustee
annualized interest at the Federal Judgment Rate on such amount owed for each Business Day
after the fourteen-day grace period specified above until the amount is repaid.

                           b.     Claims Payable by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such insurance policy. To the extent that one or more
of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
applicable portion of such Claim may be expunged without a Claim Objection having to be Filed
and without any further notice to or action, order, or approval of the Bankruptcy Court.

                           c.     Applicability of Insurance Policies

        Except as otherwise provided in the Plan or the Plan Supplement, distributions to Holders
of Allowed Claims shall be in accordance with the provisions of any applicable insurance policy.
Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including insurers under any policies
of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.

        F.         Procedures for Resolving Contingent, Unliquidated, and Disputed Claims

              1.         [Disputed Claims Process

        All Proofs of Claim required to be Filed by the Plan that are Filed after the date that they
are required to be Filed pursuant to the Plan shall be disallowed and forever barred, estopped, and
enjoined from assertion, and shall not be enforceable against any Reorganized Debtor or the Estate
Excluded Party Litigation Trustee, without the need for any objection by the Reorganized Debtors

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or the Estate Excluded Party Litigation Trustee, as applicable, or any further notice to or action,
order, or approval of the Bankruptcy Court.]

                 2.       Allowance of Claims

        After the Effective Date, each of the Reorganized Debtors or the Estate Excluded Party
Litigation Trustee, as applicable, shall have and retain any and all rights and defenses the
applicable Debtor had with respect to any Claim or Interest immediately before the Effective Date.
Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases before
the Effective Date (including the Confirmation Order), no Claim or Interest shall become an
Allowed Claim or Interest unless and until such Claim or Interest, as applicable, is deemed
Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final
Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases
allowing such Claim or Interest.

                 3.       Claims Administration Responsibilities

                          a.   Claims and Interests Other than Class 8 General Unsecured
                               Claims

        With respect to all Classes of Claims and Interests other than Class 8 General Unsecured
Claims, and except as otherwise specifically provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the
Reorganized Debtors shall have the sole authority to: (a) File and prosecute Claim Objections; (b)
settle, compromise, withdraw, litigate to judgment, or otherwise resolve any and all Claim
Objections, regardless of whether such Claims are in a Class or otherwise; (c) settle, compromise,
or resolve any Disputed Claim without any further notice to or action, order, or approval by the
Bankruptcy Court; and (d) administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. After the Effective Date, the Reorganized Debtors shall resolve Disputed
Claims in accordance with their fiduciary duties and pursuant to the terms of the Plan.

                          b.    Class 8 General Unsecured Claims

        With respect to all Class 8 General Unsecured Claims, and except as otherwise specifically
provided in the Plan and notwithstanding any requirements that may be imposed pursuant to
Bankruptcy Rule 9019, after the Effective Date, the Estate Excluded Party Litigation Trustee shall
have the sole authority to: (a) File and prosecute objections to Claims; (b) settle, compromise,
withdraw, litigate to judgment, or otherwise resolve objections to any and all Claims, regardless
of whether such Claims are in a Class or otherwise; (c) settle, compromise, or resolve any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and (d)
administer and adjust the Claims Register to reflect any such settlements or compromises without
any further notice to or action, order, or approval by the Bankruptcy Court. After the Effective
Date, the Estate Excluded Party Litigation Trustee shall resolve Disputed Claims in accordance
with its fiduciary duties and pursuant to the terms of the Plan.




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                 4.       Estimation of Claims and Interests

        Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, or the Estate
Excluded Party Litigation Trustee, as applicable, may (but are not required to) at any time request
that the Bankruptcy Court estimate any Claim or Interest pursuant to applicable Law, including
pursuant to section 502(c) of the Bankruptcy Code and/or Bankruptcy Rule 3012, for any reason,
regardless of whether any party previously has objected to such Claim or Interest or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
jurisdiction to estimate any such Claim or Interest, including during the litigation of any objection
to any Claim or Interest or during the pendency of any appeal relating to such objection.

                 5.       Disputed Claims Reserve

        On or before the Effective Date, (a) the Reorganized Debtors shall establish one or more
reserves of the applicable consideration for any Claims against any Debtor that are Disputed
Claims as of the Distribution Record Date other than Class 8 General Unsecured Claims, which
reserves shall be administered by the Disbursing Agent and (b) the Estate Excluded Party
Litigation Trustee may establish one or more reserves of the applicable considerations for any
Claims that are Disputed Claims as of the Distribution Record Date for Class 8 General Unsecured
Claims.

        After the Effective Date, the applicable Disbursing Agent shall hold such consideration in
such reserve(s) in trust for the benefit of such Disputed Claims as of the Distribution Record Date,
that are ultimately determined to be Allowed after the Distribution Record Date. The Disbursing
Agent shall distribute such amounts (net of any expenses, including any taxes relating thereto), as
provided herein, as such Claims are resolved by a Final Order or agreed to by settlement, and such
amounts will be distributable on account of such Claims as such amounts would have been
distributable had such Claims been Allowed Claims as of the Effective Date under Article III of
the Plan solely to the extent of the amounts available in the applicable reserve(s).

       Upon a Disputed Claim becoming disallowed by a Final Order, the applicable amount of
the consideration that was in the disputed claims reserve on account of such Disputed Claim shall
be canceled by the Reorganized Debtors or the applicable Disbursing Agent. The Disbursing
Agent shall adjust the distributions of the consideration to reflect any such cancellation.

        [The Debtors may take the position that grantor trust treatment applies in whole or in part
to any assets held in a disputed claims reserve. To the extent such treatment applies to any such
account or fund, for all U.S. federal income tax purposes, the beneficiaries of any such account or
fund would be treated as grantors and owners thereof, and it is intended, to the extent reasonably
practicable, that any such account or fund would be classified as a Estate Excluded Party Litigation
Trust under section 301.7701-4 of the Treasury Regulations. Accordingly, subject to the
immediately foregoing sentence, if such intended U.S. federal income tax treatment applied, then
for U.S. federal income tax purposes, the beneficiaries of any such account or fund would be
treated as if such beneficiaries had received an interest in such account or fund’s assets and then
contributed such interests to such account or fund. Alternatively, any assets held in a disputed
claim reserve may be subject to the tax rules that apply to “disputed ownership funds” under 26



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C.F.R. 1.468B–9. To the extent such treatment applies, such assets will be subject to entity-level
taxation, and the Reorganized Debtors shall be required to comply with the relevant rules.]

                 6.       [Adjustment to Claims or Interests without Objection

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied,
amended, or superseded may be adjusted or expunged (including pursuant to the Plan) on the
Claims Register by the Reorganized Debtors or the Estate Excluded Party Litigation Trust, as
applicable, without having to File an application, motion, complaint, objection, Claim Objection,
or any other legal proceeding seeking to object to such Claim or Interest and without any further
notice to or action, order, or approval of the Bankruptcy Court.]

                 7.       Time to File Objections to Claims

        Any objections to Claims or Interests shall be Filed on or before the later of (1) 180 days
after the Effective Date and (2) such other period of limitation as may be specifically fixed by the
Bankruptcy Court upon a motion by the Debtors, the Reorganized Debtors, or the Estate Excluded
Party Litigation Trustee, as applicable.

                 8.       Disallowance of Claims or Interests

       Except as otherwise expressly set forth herein including with respect to the Preference
Claim Waiver for holders of Allowed Class 5 Claims, all Claims and Interests of any Entity from
which property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy
Code or that the Debtors or the Reorganized Debtors allege is a transferee of a transfer that is
avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors or the Reorganized
Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final
Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to
turn over such property by the date set forth in such agreement or Final Order.

                 9.       No Distributions Pending Allowance

       Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a
Disputed Claim or Interest, as applicable, no payment or distribution provided hereunder shall be
made on account of such Claim or Interest unless and until such Disputed Claim or Interest
becomes an Allowed Claim or Interest; provided that if only the Allowed amount of an otherwise
valid Claim or Interest is Disputed, such Claim or Interest shall be deemed Allowed in the amount
not Disputed and payment or distribution shall be made on account of such undisputed amount
pending resolution of the dispute.

                 10.      Distributions After Allowance

        To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or
Interest, distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in
accordance with the provisions of the Plan. As soon as reasonably practicable after the date that
the order or judgment of the Bankruptcy Court allowing any Disputed Claim or Interest becomes

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a Final Order, the Disbursing Agent shall provide to the Holder of such Claim or Interest the
distribution (if any) to which such Holder is entitled under the Plan as of such date, without any
interest to be paid on account of such Claim or Interest.

                   11.     Single Satisfaction of Claims

        Holders of Allowed Claims or Allowed Interests may assert such Claims against or
Interests in the Debtors obligated with respect to such Claims or Interests, and such Claims and
Interests shall be entitled to share in the recovery provided for the applicable Claim or Interest
against the Debtors based upon the full Allowed amount of such Claims or Interests.
Notwithstanding the foregoing, in no case shall the aggregate value of all property received or
retained under the Plan on account of any Allowed Claim or Allowed Interest exceed the amount
of the Allowed Claim or Allowed Interest.

        G.         Settlement, Release, Injunction, and Related Provisions

              1.         Discharge of Claims and Termination of Interests

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, the Confirmation Order, any other Definitive Document, or in any contract,
instrument, or other agreement or document created or entered into pursuant to the Plan or the Plan
Supplement, the distributions, rights, and treatment that are provided in the Plan shall be in
complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims
(including any Intercompany Claims resolved or compromised after the Effective Date by the
Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims and Interests, including
demands, liabilities, and Causes of Action that arose before the Effective Date, and all debts of the
kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether
or not: (a) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to
section 501 of the Bankruptcy Code; (b) a Claim or Interest based upon such debt, right, or interest
is Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or
Interest has accepted the Plan; provided, however, any DIP Facility Claims and/or Foris Prepetition
Secured Claims that are rolled up, converted, exchanged, refinanced or amended and restated into
the Exit First Lien Facility and/or New Common Stock of Reorganized Amyris shall not be deemed
satisfied and discharged and shall continue in full force and effect. Any default by the Debtors or
their Affiliates with respect to any Claim or Interest that existed immediately prior to or on account
of the filing of the Chapter 11 Cases shall be deemed cured on the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims (other than the
Reinstated Claims) and Interests (other than the Intercompany Interests that are Reinstated) subject
to the occurrence of the Effective Date.




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                 2.       Release of Liens

        Except as otherwise provided herein, in the Exit First Lien Facility Documents, the
Plan Supplement, the Confirmation Order, or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, and other than as to the DIP Facility
Claims and Foris Prepetition Secured Claims rolled up, converted, exchanged, refinanced or
amended and restated, into the Exit First Lien Facility, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of
the Effective Date, except for Other Secured Claims that the Debtors elect to Reinstate in
accordance with the Plan, all mortgages, deeds of trust, Liens, pledges, or other security
interests against any property of the Estates shall be fully released and discharged, and all
of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges,
or other security interests shall revert to the Reorganized Debtors and their successors and
assigns, in each case, without any further approval or order of the Bankruptcy Court and
without any action or Filing being required to be made by the Debtors or the Reorganized
Debtors, or any other Holder of a Secured Claim. Any Holder of such Secured Claim (and
the applicable agents for such Holder) shall be authorized and directed, at the sole cost and
expense of the Reorganized Debtors, to release any collateral or other property of any Debtor
(including any cash collateral and possessory collateral) held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested
by the Reorganized Debtors to evidence the release of such Liens and/or security interests,
including the execution, delivery, and filing or recording of such releases. The presentation
or filing of the Confirmation Order to or with any federal, state, provincial, or local agency,
records office, or department shall constitute good and sufficient evidence of, but shall not
be required to effect, the termination of such mortgages, deeds of trust, Liens, pledges, and
other security interests.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged
in full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any
Liens and/or security interests to secure such Holder’s Secured Claim, then as soon as
practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall
take any and all steps requested by the Debtors, the Reorganized Debtors, or the Exit First
Lien Facility Agent, that are necessary or desirable to record or effectuate the cancellation
and/or extinguishment of such Liens and/or security interests, including the making of any
applicable filings or recordings, and the Reorganized Debtors shall be entitled to make any
such filings or recordings on such Holder’s behalf.

                 3.       Releases by the Debtors

        Except as otherwise expressly provided in the Plan or the Confirmation Order, on the
Effective Date, for good and valuable consideration, each of the Debtors, on its own behalf
and as a representative of its Estates, to the fullest extent permitted under applicable law,
shall, and shall be deemed to, completely and forever release, waive, void and extinguish
unconditionally, as against each and all of the Released Parties, any and all Claims, Estate
Causes of Action, interests, obligations, suits, judgments, damages, debts, rights, remedies,
set offs, and Liabilities of any nature whatsoever, whether liquidated or Unliquidated, fixed

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or Contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then
existing or thereafter arising, in law, equity, tort, contract, or otherwise, that are or may be
based in whole or part on any act, omission, transaction, event, occurrence, or other
circumstance, whether direct or derivative, taking place or existing on or prior to the
Effective Date (including prior to the Petition Date) arising from, in connection with, or
related to, directly or indirectly, in any manner whatsoever, the Debtors or their operations,
assets, liabilities, financings, the Estates, or the Chapter 11 Cases, that may be asserted by
or on behalf of such Debtor or its Estate, against any of the Released Parties; provided,
however, that nothing in this section shall operate as a release, waiver, discharge or
impairment of any Estate Causes of Action transferred to the Excluded Party Litigation
Trust, which are preserved notwithstanding anything to the contrary in this section.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release: (a) any post-Effective Date obligations of any party or Entity under the Plan,
the Confirmation Order, any Restructuring Transaction, any Definitive Document, or any
other document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Restructuring Transactions; (b) the rights of any
Holder of Allowed Claims to receive distributions under the Plan; (c) any Claims for
indemnification that are expressly assumed by the Debtors pursuant to the Plan or any
document, instrument, or agreement executed to implement the Plan or the Restructuring
Transactions; or (d) any obligations arising under business or commercial agreements or
arrangements among the Released Parties and any non-Debtor Entity.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (i) in exchange for the good and
valuable consideration provided by the Released Parties; (ii) a good faith settlement and
compromise of the claims or Causes of Action released by the Debtor Release; (iii) in the best
interests of the Debtors, the Estates, and all Holders of Claims and Interests; (iv) fair,
equitable and reasonable; (v) given and made after reasonable investigation by the Debtors
and after notice and opportunity for hearing; and (vi) a bar to any of the Debtors, the
Reorganized Debtors, or the Estates asserting any claim or Cause of Action released by the
Debtor release against any of the Released Parties.

                 4.       Third-Party Release by the Releasing Parties

         Notwithstanding anything contained in the Plan to the contrary, as of the Effective
Date, for good and valuable consideration, the adequacy of which is hereby confirmed, the
Releasing Parties shall be deemed to forever release and waive, as against each and all of the
Released Parties, any and all Direct Claims, whether liquidated or Unliquidated, fixed or
Contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then
existing or hereafter arising, in law, equity, or otherwise that are or may be based in whole
or in part upon any act, omission, transaction, event, or other occurrence taking place or
existing on or prior to the Effective Date; provided, however, that nothing in this section shall
operate as a release, waiver, discharge or impairment of (i) any Estate Causes of Action or
liabilities arising out of fraud or criminal acts of any such Released Party as determined by

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a Final Order, or (ii) any Causes of Action transferred to the Excluded Party Litigation
Trust, which Causes of Action are preserved notwithstanding anything to the contrary in
this section, or (iii) any Excluded Party Direct Claims.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release: (a) any post-Effective Date obligations of any party or Entity under the Plan,
the Confirmation Order, any Restructuring Transaction, any Definitive Document, or any
other document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Restructuring Transactions, including the Exit First
Lien Facility Documents; (b) the rights of any Holder of Allowed Claims or Allowed Interests
to receive distributions under the Plan; and (c) any obligations arising under business or
commercial agreements or arrangements among the Released Parties and any non-Debtor
Entity.

        If the Third-Party Releases are not approved by the Bankruptcy Court, each holder
of a Direct Claim may voluntarily elect to receive its Pro Rata share of 50% of the portion
of the Direct Claims Recovery Pool to which it is entitled by electing to grant the Third-Party
Releases, through the following methods: (x) for (i) holders of Claims who are entitled to
submit a ballot to vote on the Plan and vote to accept the Plan, (ii) holders of Claims who are
entitled to submit a ballot to vote on the Plan and (a) vote to reject the Plan or (b) abstain
from voting on the Plan and, in either case, do not elect to exercise their right to opt out of
granting the Third-Party Releases, and (y) for holders of Claims and Interests who are
deemed to accept or reject the Plan and are provided with a notice of non-voting status
providing them with the right to opt out of the Third-Party Releases and do not elect to
exercise such right; provided, that, as applicable, the Direct Claims Threshold is satisfied.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained in the Plan, and, further, shall
constitute the Bankruptcy Court’s finding that the Third-Party Release is: (i) essential to
the Confirmation; (ii) given in exchange for the good and valuable consideration provided
by the Released Parties, including, without limitation, the Released Parties’ contributions to
facilitating the Excluded Party Litigation Trust and the Direct Claim Recovery Pool and the
restructuring and implementing the Plan; (iii) a good faith settlement and compromise of the
claims or Causes of Action released by the Third-Party Release; (iv) in the best interests of
the Debtors and their Estates; (v) fair, equitable, and reasonable; (vi) given and made after
due notice and opportunity for hearing; and (vii) a bar to any of the Releasing Parties
asserting any Direct Claim released pursuant to the Third Party Release.

                 5.       Exculpation

       Except as otherwise specifically provided in the Plan or the Confirmation Order, no
Exculpated Party shall have or incur liability for, and each Exculpated Party shall be
released and exculpated from any claims and Causes of Action for any claim related to any
act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, filing, or termination of prepetition
transactions (including with respect to the Debt Documents), the Disclosure Statement, the

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DIP Facility, the Plan, the Plan Supplement, the Exit First Lien Facility Documents, or any
Restructuring Transaction, contract, instrument, release or other agreement or document
(including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any
Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created
or entered into in connection with the Disclosure Statement, the DIP Facility, the Plan, the
Plan Supplement, the Exit First Lien Facility, the filing of the Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of securities pursuant to the Plan, or the
distribution of property under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence, except for claims
related to any act or omission that is determined in a Final Order by a court of competent
jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence, but in
all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to the Plan.

        The Exculpated Parties have, and upon Confirmation shall be deemed to have,
participated in good faith and in compliance with the applicable Law with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the violation
of any applicable Law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or such distributions made pursuant to the Plan.

                 6.       Plan Injunction

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for
obligations or distributions issued or required to be paid pursuant to the Plan or the
Confirmation Order, and separate and apart from the Direct Claims Injunction, all Entities
who have held, hold, or may hold the Released Claims are permanently enjoined from and
after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties: (a)
commencing or continuing in any manner any action, suit, or other proceeding of any kind
on account of or in connection with or with respect to any Released Claims; (b) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree,
or order against such Entities on account of or in connection with or with respect to any
Released Claims; (c) creating, perfecting, or enforcing any lien or encumbrance of any kind
against such Entities or the Estates of such Entities on account of or in connection with or
with respect to any Released Claims; (d) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from such Entities or against the property
or the Estates of such Entities on account of or in connection with or with respect to any
Released Claims unless such Entity has Filed a motion requesting the right to perform such
setoff on or before the Effective Date, and notwithstanding an indication of a Claim or
Interest or otherwise that such Entity asserts, has, or intends to preserve any right of setoff
pursuant to applicable Law or otherwise; and (e) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with
respect to any Released Claims released or settled pursuant to the Plan.


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       Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals,
and direct and indirect Affiliates, in their capacities as such, shall be enjoined from taking
any actions to interfere with the implementation or Consummation of the Plan. Each Holder
of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to
accept, distributions under or Reinstatement of such Claim or Interest, as applicable,
pursuant to the Plan, shall be deemed to have consented to the injunction provisions set forth
in Article IX.F of the Plan.

                 7.       Direct Claims Injunction

                              a. General Purposes and Terms

       The Confirmation Order shall provide that, as of the Effective Date, and irrespective
of whether any such holder has agreed to be bound by the Plan, all holders of Direct Claims
and their respective Related Parties will be permanently and forever stayed, enjoined,
barred, and restrained from taking any action, directly or indirectly, for the purposes of
asserting, enforcing, or attempting to assert or enforce any Direct Claim against the Direct
Claims Injunction Parties, including all of the following actions (collectively, the “Direct
Claims Injunction”):

             1. commencing or continuing in any manner, any actions or other
                proceedings of any kind with respect to any Direct Claims against any
                of the Direct Claims Injunction Parties or against the property of any
                of the Direct Claims Injunction Parties;
             2. enforcing, levying, attaching, collecting, or otherwise recovering, by
                any manner or means, from any of the Direct Claims Injunction
                Parties, or the property of the Direct Claims Injunction Parties, any
                judgment, award, decree, or order with respect to any Direct Claim
                against any of the Direct Claims Injunction Parties, or any other
                person;
             3. creating, perfecting, or enforcing any lien of any kind relating to any
                Direct Claim against any of the Direct Claims Injunction Parties, or the
                property of the Direct Claims Injunction Parties; and
             4. taking any act, in any manner, in any place whatsoever, that does not
                conform to, or comply with, the provisions of the Plan, with respect to
                any such Direct Claim.
                              a. Standing of Direct Claim Injunction Parties

        Each of the Direct Claims Injunction Parties shall have standing to seek relief from
the Bankruptcy Court or any court of competent jurisdiction for purposes of enforcement of
the Direct Claims Injunction or other Injunction or releases under the Plan to the extent that
any act occurs or is taken that is contrary to the provisions of, or would interfere with,
restrict, defeat, nullify, violate or otherwise limit the protections afforded the Direct Claims
Injunction Party through the Direct Claims Injunction.


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                   8.      Protections Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
United States Constitution, all Entities, including Governmental Units, shall not discriminate
against the Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit,
charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to
such a grant against, the Reorganized Debtors, or another Entity with whom the Reorganized
Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of
the Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge), or has not
paid a debt that is dischargeable in the Chapter 11 Cases.

                   9.      Document Retention

       On and after the Effective Date, the Reorganized Debtors may maintain documents in
accordance with their standard document retention policy, as may be altered, amended, modified,
or supplemented by the Reorganized Debtors.

                   10.     Reimbursement or Contribution

       If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
contingent as of the time of allowance or disallowance, such Claim shall be forever disallowed
and expunged notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the
Confirmation Date: (a) such Claim has been adjudicated as non-contingent or (b) the relevant
Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer
contingent.

        H.         Conditions Precedent to Consummation of the Plan

              1.         Conditions Precedent to the Confirmation Date

       It shall be a condition to the Confirmation Date that the following conditions shall have
been satisfied:

                           a.     the Disclosure Statement Order shall have been entered;
                           b.     the Plan Supplement and all of the schedules, documents, and
                                  exhibits contained therein shall have been filed;
                           c.     the Plan Support Agreement shall not have been terminated and
                                  shall be in full force and effect;
                           d.     the Bankruptcy Court shall have entered the DIP Orders, and the
                                  Final DIP Order (in a form acceptable to the DIP Lender and the
                                  Foris Prepetition Secured Lenders in their sole and absolute
                                  discretion) shall be in full force and effect in accordance with the



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                                terms thereof, and no event of default shall be continuing thereunder
                                or occur as a result of entry of the Confirmation Order;
                          e.    the sale of the Sold Assets shall have been approved by the
                                Bankruptcy Court, the proceeds of the Sold Assets shall in the
                                aggregate generate cash Net Proceeds in an amount acceptable to
                                the DIP Lender and the Foris Prepetition Secured Lenders and the
                                order approving the sale of the Sold Assets shall be entered and not
                                stayed or vacated;
                          f.    each of DSM and Givaudan has executed a joinder to the Plan
                                Support Agreement and voted to accept the Plan;
                          g.    (A) the Consenting Convertible Noteholders shall have executed a
                                joinder to the Plan Support Agreement and the Convertible Notes
                                Class shall have voted to accept the Plan, and (B) the Creditors’
                                Committee shall have executed a joinder to the Plan Support
                                Agreement and the General Unsecured Claims Class shall have
                                voted to accept the Plan;
                          h.    the amount of the Allowed Lavvan Secured Claim shall be
                                determined by the Bankruptcy Court and such amount shall be
                                acceptable to the DIP Lender and the Foris Prepetition Secured
                                Lenders in their sole and absolute discretion;
                          i.    the Debtors shall negotiate modifications to the Lease dated as of
                                March 10, 2008 by and between ES East Associates, LLC and
                                Amyris, Inc. (as from time to time amended, modified,
                                supplemented, restated or amended and restated) for the real
                                property located at 5885 Hollis Street, Emeryville, California that
                                are acceptable to the DIP Lender and the Foris Prepetition Secured
                                Lenders; and
                          j.    the Plan Releases, Third Party Releases, Exculpation, Injunction,
                                and Direct Claims Injunction provisions provided herein shall be
                                approved and the Released Parties and Direct Claims Injunction
                                Parties shall include such persons as is acceptable to the DIP Lender
                                and the Foris Prepetition Secured Lenders and the Debtors in their
                                respective sole and absolute discretion.
                 2.       Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following conditions shall have been
satisfied:

                          a.    The Plan Support Agreement shall not have been terminated and
                                shall be in full force and effect;

                          b.    The Bankruptcy Court shall have entered the DIP Orders, and the
                                Final DIP Order shall be in full force and effect;


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                          c.    The Bankruptcy Court shall have entered the Confirmation Order in
                                form and substance and Materially Consistent (as defined in the Plan
                                Support Agreement) with the Plan Support Agreement, and the
                                Confirmation Order shall be in full force and effect and not have
                                been reversed, stayed, modified, or vacated on appeal;

                          d.    The Definitive Documents shall (i) be on terms Materially
                                Consistent (as defined in the Plan Support Agreement) with the Plan
                                Support Agreement and otherwise approved by the requisite parties
                                thereto consistent with their respective consent and approval rights
                                as set forth in the Plan Support Agreement and (ii) have been
                                executed or deemed executed and delivered by each party thereto,
                                and any conditions precedent related thereto shall have been
                                satisfied or waived by the applicable party or parties;

                          e.    All actions, documents, and agreements necessary to implement and
                                consummate the Plan shall have been effected and executed,
                                including, without limitation, the closing of the sales of the
                                Consumer Brands Businesses;

                          f.    Each of the Exit Facility and related documentation shall have been
                                executed and delivered by each party thereto, and any conditions
                                precedent related thereto shall have been satisfied or waived (with
                                the consent of the Debtors, the DIP Lender, the Foris Prepetition
                                Secured Lenders, and the Exit Facility Lenders), other than such
                                conditions that relate to the effectiveness of the Plan and related
                                transactions, including payment of fees and expenses;

                          g.    All fees, expenses, and other amounts payable to the DIP Lender,
                                the Foris Prepetition Secured Lenders and the Consenting
                                Stakeholders as provided for in the Plan Support Agreement shall
                                have been satisfied in full (or provision for such payment made);
                                and

                          h.    The Debtors, the DIP Lenders and the Foris Prepetition Lenders
                                shall have obtained all authorizations, consents, regulatory
                                approvals, rulings, or documents that are necessary to implement
                                and effectuate the Plan and each of the other transactions
                                contemplated by the Restructuring.

                 3.       Waiver of Conditions

        Except as otherwise specified in the Plan, any one or more of the conditions to
Consummation set forth in Article X of the Plan may be waived only if waived in writing by the
Debtors and the DIP Lender and/or the Foris Prepetition Secured Lenders, as applicable, without
notice, leave, or order of the Bankruptcy Court or any formal action other than proceedings to
confirm or consummate the Plan.


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                 4.       Effect of Failure of Conditions

        If Consummation does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan, the Disclosure Statement, or any other Definitive Document shall: (a)
constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (b) prejudice in
any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or
(c) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders
of Claims or Interests, or any other Entity; provided that all provisions of the Plan or other any
Definitive Document that survive termination thereof shall remain in effect in accordance with the
terms thereof.

                 5.       Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy
Code, shall be deemed to occur on the Effective Date.

        I.       Modification and Amendments

        Except as otherwise specifically provided in the Plan, the Debtors reserve the right to
modify the Plan, whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan;
provided that any such modification (whether material or immaterial) shall be acceptable in form
and substance to Foris, in its sole and absolute discretion. Subject to those restrictions on
modifications set forth in the Plan and the Plan Support Agreement, and the requirements of section
1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and, to the extent applicable, sections 1122,
1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective
rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such Debtor,
one or more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or
reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in
such matters as may be necessary to carry out the purposes and intent of the Plan.

                 1.       Effect of Confirmation on Modifications

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

                 2.       Revocation or Withdrawal of Plan

        Subject to the Plan Support Agreement, the Debtors reserve the right to revoke or withdraw
the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the
Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then:
(a) the Plan shall be null and void in all respects; (b) any settlement or compromise embodied in
the Plan (including the fixing or limiting to an amount certain of any Claim or Interest or Class of
Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected
under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed
null and void; and (c) nothing contained in the Plan shall: (i) constitute a waiver or release of any

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Claims or Interests; (ii) prejudice in any manner the rights of such Debtor or any other Entity; or
(iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by such Debtor
or any other Entity.

                 3.       Retention of Jurisdiction

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over
all matters arising out of, or relating to, the Chapter 11 Cases and the Plan pursuant to sections
105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

       a.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount, or allowance of Claims or Interests;

       b.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

         c.     resolve any matters related to: (i) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect
to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
arising therefrom, including Cures pursuant to section 365 of the Bankruptcy Code; (ii) any
potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed;
(iii) the Reorganized Debtors amending, modifying, or supplementing, after the Effective Date,
pursuant to Article VI of the Plan, the list of Executory Contracts and Unexpired Leases to be
assumed or rejected or otherwise; and (iv) any dispute regarding whether a contract or lease is or
was executory or expired;

        d.      ensure that distributions to Holders of Allowed Claims and Holders of Allowed
Interests are accomplished pursuant to the provisions of the Plan;

        e.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated matters, and any other matters, and grant or deny any applications involving a Debtor that
may be pending on the Effective Date;

       f.    enter and implement such orders as may be necessary to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and
other agreements or documents created or entered into in connection with the Plan, the
Confirmation Order, or the Disclosure Statement;

       g.      enter and enforce any order for the sale of property pursuant to sections 363, 1123,
or 1146(a) of the Bankruptcy Code;

        h.     resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s
obligations incurred in connection with the Plan;

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      i.      issue injunctions, enter and implement other orders, or take such other actions as
may be necessary to restrain interference by any Entity with Consummation or enforcement of the
Plan;

        j.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, exculpations, and other provisions contained in Article IX of the Plan
and enter such orders as may be necessary or appropriate to implement such releases, injunctions,
and other provisions;

        k.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of distributions and the recovery of additional amounts owed by the
Holder of a Claim or Interest for amounts not timely repaid pursuant to Article VII.K of the Plan;

       l.    enter and implement such orders as are necessary if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

        m.     determine any other matters that may arise in connection with or relate to the Plan,
the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any contract,
instrument, release, indenture, or other agreement or document created in connection with the Plan
or the Disclosure Statement;

        n.       enter an order or final decree concluding or closing the Chapter 11 Cases;

        o.     adjudicate any and all disputes arising from or relating to distributions under the
Plan or any transactions contemplated therein;

        p.       adjudicate any and all matters relating to the Estate Excluded Party Litigation Trust;

       q.      consider any modifications of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       r.      determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

       s.    hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan;

       t.     hear and determine matters concerning U.S. state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       u.     hear and determine all disputes involving the existence, nature, scope, or
enforcement of any exculpations, discharges, injunctions, and releases granted in the Plan,
including under Article IX of the Plan, whether occurring prior to or after the Effective Date;

        v.       enforce all orders previously entered by the Bankruptcy Court; and

        w.       hear any other matter not inconsistent with the Bankruptcy Code.


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        J.         Miscellaneous Provisions

              1.        Immediate Binding Effect

        Subject to Article X.A of the Plan, and notwithstanding Bankruptcy Rules 3020(e),
6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan
(including, for the avoidance of doubt, the documents and instruments contained in the Plan
Supplement) shall be immediately effective and enforceable and deemed binding upon the
Debtors, the Reorganized Debtors, any and all Holders of Claims or Interests (irrespective of
whether such Holders of Claims or Interests have, or are deemed to have, accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and
injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all
non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors. All Claims
and Interests shall be as fixed, adjusted, or compromised, as applicable, pursuant to the Plan
regardless of whether any Holder of a Claim or Interest has voted on the Plan.

                   2.     Additional Documents

        On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
agreements and other documents as may be necessary to effectuate and further evidence the terms
and conditions of the Plan; provided that any and all such agreements and documents shall be in
form and substance acceptable to the Debtors and the Foris Secured Parties. The Debtors or the
Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving distributions
pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and
deliver any agreements or documents and take any other actions as may be necessary or advisable
to effectuate the provisions and intent of the Plan.

                   3.     Statutory Committee and Cessation of Fee and Expense Payment

        On the Effective Date, the Creditors’ Committee and any other statutory committee
appointed in the Chapter 11 Cases shall dissolve and members thereof shall be released and
discharged from all rights and duties from or related to the Chapter 11 Cases, except in connection
with final fee applications of Professionals for services rendered prior to the Effective Date. The
Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by
the members of or advisors to the Creditors’ Committee or any other statutory committees after
the Effective Date.

                   4.     Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no
force or effect if the Effective Date does not occur. None of the Filing of the Plan, any statement
or provision contained in the Plan, or the taking of any action by any Debtor with respect to the
Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an
admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests
prior to the Effective Date.



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                 5.       Successors and Assigns

        The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Entity.

                 6.       Notices

        All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonically confirmed, addressed as follows:

        If to Counsel to the Debtors:

        Pachulski Stang Ziehl & Jones LLP
        919 N. Market Street, 17th Floor, Wilmington, DE 19801
        Attn: Richard M. Pachulski (rpachulski@pszjlaw.com) and
        Debra I. Grassgreen, Esq. (dgrassgreen@pszjlaw.com)

        If to Counsel to the DIP Agent, DIP Lenders and Foris Prepetition Secured Lenders:

        Goodwin Procter LLP
        620 Eighth Avenue
        New York, NY 10018
        Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com) and
        Alexander Nicas (anicas@goodwinlaw.com)
        Debora Hoehne (dhoehne@goodwinlaw.com)

        Troutman Pepper Hamilton Sanders LLP
        Hercules Plaza, Suite 5100
        1313 N. Market Street, P.O. Box 1709
        Wilmington, DE 19899
        Attn: David M. Fournier (david.fournier@troutman.com)

        If to Counsel to the Creditors’ Committee:

        White & Case LLP
        111 South Wacker Drive, Suite 5100
        Chicago, IL 60606
        Attn: Gregory F. Pesce (gpesce@whitecase.com) and
        Andrew F. O’Neill (aoneill@whitecase.com)

        White & Case LLP
        1221 Avenue of the Americas
        New York, NY 10020
        Attn: John Ramirez (john.ramirez@whitecase.com) and

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         After the Effective Date, the Reorganized Debtors have the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, an Entity must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective
Date, the Reorganized Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

                 7.       Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions
or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy
Code or any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding
any injunctions or stays contained in the Plan or the Confirmation Order) shall remain in
full force and effect until the Effective Date. All injunctions or stays contained in the Plan
or the Confirmation Order shall remain in full force and effect in accordance with their
terms. The Trading Order shall remain enforceable (a) as to transfers through the Effective
Date with respect to those persons having “Beneficial Ownership” of “Common Stock” (as
such terms are defined in the Trading Order), and (b) as to taking any action that claims any
deduction for worthlessness of “Beneficial Ownership” of “Common Stock” by a “50-
Percent Shareholder” (as such terms are defined in the Trading Order) for a taxable year
ending before the Effective Date.

       Notwithstanding anything to the contrary herein, the automatic stay imposed by
section 362 of the Bankruptcy Code and the injunctions set forth in Article IX.F of the Plan
shall remain applicable to Claims that have the benefit of an applicable insurance policy
arising prior to the Effective Date up to the amount of the applicable SIR or deductible,
which Claims shall be treated as General Unsecured Claims.

                 8.       Entire Agreement

       Except as otherwise indicated, the Plan (including, for the avoidance of doubt, the
documents and instruments in the Plan Supplement) supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

                 9.       Plan Supplement

        All exhibits and documents included in the Plan Supplement are an integral part of the Plan
and are incorporated into and are a part of the Plan as if set forth in full in the Plan. After the
exhibits and documents are Filed, copies of such exhibits and documents shall be available upon


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written request to the Debtors’ counsel at the address above or by downloading such exhibits and
documents from the Debtors’ restructuring website at https://cases.stretto.com/amyris/ or the
Bankruptcy Court’s website at www.deb.uscourts.gov/bankruptcy. To the extent any exhibit or
document in the Plan Supplement is inconsistent with the terms of the Plan, unless otherwise
ordered by the Bankruptcy Court, the Plan Supplement document or exhibit shall control (unless
stated otherwise in such Plan Supplement document or exhibit or in the Confirmation Order).

                 10.      Nonseverability of Plan Provisions

        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation.

        The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may
not be deleted or modified without the Debtors’ or the Reorganized Debtors’ consent, as
applicable; and (c) nonseverable and mutually dependent.

                 11.      Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and
pursuant to section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective
Affiliates, agents, representatives, members, principals, shareholders, officers, directors,
managers, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities
offered and sold under the Plan and any previous plan, and, therefore, no such parties nor
individuals nor the Reorganized Debtors will have any liability for the violation of any applicable
Law, rule, or regulation governing the solicitation of votes on the Plan or the offer, issuance, sale,
or purchase of the Securities offered and sold under the Plan and any previous plan.

                 12.      Closing of Chapter 11 Cases

        On and after the Effective Date, the Debtors or the Reorganized Debtors shall be permitted
to close all of the Chapter 11 Cases of the Debtors, except for the Chapter 11 Case of Debtor
Amyris, Inc. (or such other Debtor as the Debtors may determine in their sole discretion) which
will remain open following the Effective Date, and all contested matters relating to any of the
Debtors, including Claim Objections and any adversary proceedings, shall be administered and
heard in the Chapter 11 Case(s) of such Debtor(s), irrespective of whether such Claim(s) were
Filed or such adversary proceeding was commenced against a Debtor whose Chapter 11 Case was
closed.


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       When all Disputed Claims have become Allowed or disallowed and all distributions have
been made in accordance with the Plan, the Reorganized Debtors shall seek authority to close any
remaining Chapter 11 Cases in accordance with the Plan, the Bankruptcy Code and the Bankruptcy
Rules.

IV.     VOTING REQUIREMENTS; ACCEPTANCE AND CONFIRMATION OF THE
        PLAN

        The Bankruptcy Code requires that, in order to confirm the Plan, the Bankruptcy Court
must make a series of findings concerning the Plan and the Debtors, including that (a) the Plan has
classified Claims and Interests in a permissible manner, (b) the Plan complies with applicable
provisions of the Bankruptcy Code, (c) the Debtors have complied with applicable provisions of
the Bankruptcy Code, (d) the Debtors have proposed the Plan in good faith and not by any means
forbidden by law, (e) the disclosure required by Section 1125 of the Bankruptcy Code has been
made, (f) the Plan has been accepted by the requisite votes of creditors (except to the extent that
cramdown is available under Section 1129(b) of the Bankruptcy Code), (g) the Plan is feasible and
confirmation is not likely to be followed by the liquidation or the need for further financial
reorganization of the Debtors, (h) the Plan is in the “best interests” of all holders of Claims or
Interests in an impaired Class by providing to such holders on account of their Claims or Interests
property of a value, as of the Effective Date, that is not less than the amount that such holder would
receive or retain in a chapter 7 liquidation, unless the Holder has accepted the Plan, and (i) all fees
and expenses payable under 28 U.S.C. § 1930, as determined by the Bankruptcy Court at the
hearing on Confirmation, have been paid or the Plan provides for the payment of such fees on the
Effective Date.

        A.       Parties in Interest Entitled to Vote

        Pursuant to the Bankruptcy Code, only classes of claims and interests that are “impaired”
(as defined in Section 1124 of the Bankruptcy Code) under the plan are entitled to vote to accept
or reject the Plan. A class is impaired if the legal, equitable, or contractual rights to which the
claims or equity interests of that class entitled the holders of such claims or equity interests are
modified, other than by curing defaults and reinstating the debt. Classes of claims and interests
that are not impaired are not entitled to vote on the plan and are conclusively presumed to have
accepted the plan. In addition, classes of claims and interests that receive no distributions under
the plan are not entitled to vote on the plan and are deemed to have rejected the plan.

        B.       Classes Impaired Under the Plan

        Under the Plan, Claims in Classes 1, 2 and 14 are unimpaired and, consequently, are
presumed to accept the Plan. Claims in Classes 3 through 10 are Impaired and entitled to vote on
the Plan. Holders of Claims in Class 12 and Holders of Interests in Class 15 will receive no
distribution, and, accordingly, such holders are deemed to reject the Plan. The Debtors (or
Reorganized Debtors) have discretion regarding the treatment of Intercompany Claims in Class 12
and, as such, certain Claims in such Class may be unimpaired or impaired depending on such
treatment.

        C.       Confirmation Standards


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        At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
satisfies the requirements of section 1129 of the Bankruptcy Code. The Debtors believe that the
Plan satisfies or will satisfy all of the statutory requirements of chapter 11 of the Bankruptcy Code
and that they have complied or will have complied with all of the requirements of chapter 11 of
the Bankruptcy Code. Specifically, the Debtors believe that the Plan satisfies or will satisfy the
applicable confirmation requirements of section 1129 of the Bankruptcy Code, including those set
forth below.

   The Plan complies with the applicable provisions of the Bankruptcy Code.

   The Debtors have complied with the applicable provisions of the Bankruptcy Code.

   The Plan has been proposed in good faith and not by any means forbidden by law.

   Any payment made or to be made under the Plan for services or for costs and expenses in, or
    in connection with, the Chapter 11 Cases, or in connection with the Plan and incident to the
    Chapter 11 Cases, has been or will be disclosed to the Bankruptcy Court, and any such
    payment: (1) made before the confirmation of the Plan is reasonable; or (2) is subject to the
    approval of the Bankruptcy Court as reasonable, if it is to be fixed after confirmation of the
    Plan.

   With respect to each Class of Claims, each Holder of an Impaired Claim has accepted the Plan
    or will receive or retain under the Plan on account of such Claim property of a value as of the
    Effective Date of the Plan that is not less than the amount that such Holder would receive or
    retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code.
    With respect to each Class of Interests, each Holder of an Impaired Interest has accepted the
    Plan or will receive or retain under the Plan on account of such Interest property of a value as
    of the Effective Date of the Plan that is not less than the amount that such Holder would receive
    or retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code.

   Each Class of Claims or Interests that is entitled to vote on the Plan has either accepted the
    Plan or is not Impaired under the Plan, or the Plan can be confirmed without the approval of
    such voting Class of Claims or Interests pursuant to section 1129(b) of the Bankruptcy Code.

   Except to the extent that the Holder of a particular Claim will agree to a different treatment of
    its Claim, the Plan provides that Holders of Claims specified in section 507(a)(2) will receive,
    without interest, Cash equal to the Allowed amount of such Claim: (a) on or as soon as
    practicable after the later of (i) the Effective Date, or (ii) the date upon which the Bankruptcy
    Court enters a Final Order determining or approving such Claim; (b) in accordance with the
    terms and conditions of agreements between the Holder of such Claim and the Debtors or the
    Estate Excluded Party Litigation Trustee, as the case may be; (c) with respect to any Claims
    representing obligations incurred in the ordinary course of the Debtors’ business, upon such
    regular and customary payment or performance terms as may exist in the ordinary course of
    the Debtors’ business or as otherwise provided in the Plan; or (d) with respect to statutory fees
    due pursuant to 28 U.S.C. § 1930(a)(6), such fees will be paid as and when due under
    applicable law.


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   Except to the extent that the Holder of a particular Claim will agree to a different treatment of
    its Claim, the Plan provides that the Estate Excluded Party Litigation Trustee shall pay Holders
    of Claims specified in sections 507(a)(1), 507(a)(4), 507(a)(5), 507(a)(6), or 507(a)(7) of the
    Bankruptcy Code the full unpaid amount of such Allowed Claim on the earliest of the
    following dates: (i) on or as soon as practicable after the Effective Date, (ii) on or as soon as
    practicable after the date such Claim becomes an Allowed Claim, and (iii) the date such
    Allowed Claim is payable under applicable non-bankruptcy law.

   At least one Class of Impaired Claims will have accepted the Plan, determined without
    including any acceptance of the Plan by any “insider,” as that term is defined by section
    101(31) of the Bankruptcy Code, holding a Claim in that Class.

   Confirmation of the Plan is not likely to be followed by the need for further financial
    reorganization of the Debtors or any successors thereto under the Plan, unless the Plan
    contemplates such liquidation or reorganization.

   The Debtors have paid or the Plan provides for the payment of the required fees pursuant to 28
    U.S.C. § 1930 to the clerk of the Bankruptcy Court.

        D.       Liquidation Analysis

        In certain circumstances, to be confirmed, the Plan must pass the “Best Interest Of
Creditors Test” incorporated in section 1129(a)(7) of the Bankruptcy Code. The test applies to
individual creditors and Interest holders (stockholders) that are both (i) in Impaired Classes under
the Plan, and (ii) do not vote to accept the Plan. Section 1129(a)(7) of the Bankruptcy Code
requires that such Creditors and Interest holders receive or retain an amount under the Plan not
less than the amount that such holders would receive or retain if the Debtor were to be liquidated
under chapter 7 of the Bankruptcy Code.

        In a typical chapter 7 case, a trustee is elected or appointed to liquidate the debtor’s assets
for distribution to creditors in accordance with the priorities set forth in the Bankruptcy Code.
Secured creditors generally are paid first from the sales proceeds of properties securing their liens.
If any assets are remaining in the bankruptcy estate after the satisfaction of secured creditors’
claims from their collateral, Administrative Claims generally are next to receive payment.
Unsecured creditors are paid from any remaining sales proceeds, according to their respective
priorities. Unsecured creditors with the same priority share in proportion to the amount of their
Allowed claims in relationship to the total amount of Allowed claims held by all unsecured
creditors with the same priority. Finally, equity interest holders receive the balance that remains,
if any, after all creditors are paid.

       As set forth in the Liquidation Analysis, attached hereto as Exhibit “D”, and discussed in
the accompanying notes, the provisions of the Plan satisfy the Best Interests of Creditors Test.

        E.       Feasibility

       Under Section 1129(a)(11) of the Bankruptcy Code, the Debtors must show that
confirmation of the Plan is not likely to be followed by the liquidation, or the need for further


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financial reorganization, of the Debtors or any successor to the Debtors (unless such liquidation or
reorganization is proposed in the Plan).

        The Debtors believe that the Reorganized Debtors will be able to timely perform all
obligations described in the Plan and, therefore, that the Plan is feasible.

        With the consent of the DIP Lenders and Foris Prepetition Lenders, the proceeds from the
sales of the Consumer Brands Businesses will provide funding for the cash distributions to Holders
of General Unsecured Claims and Convertible Notes and for the Excluded Party Litigation Trust.

        As set forth in the projections attached hereto as Exhibit “E”, while the Reorganized
Debtors’ businesses are projected to generate negative cash flow in the first two years after the
Effective Date, with the Exit Facility, the Reorganized Debtors believe they will have sufficient
resources to meet their obligations under the Plan as they come due with respect to the DSM Real
Sweet Secured Claim, the Lavvan Allowed Secured Claim (if any), and the New Notes.

     HOLDERS OF CLAIMS AND INTERESTS ARE ADVISED TO REVIEW
CAREFULLY THE RISK FACTORS INCLUDED IN THIS DISCLOSURE STATEMENT
THAT MAY AFFECT THE FINANCIAL FEASIBILITY OF THE PLAN.

        F.       Acceptance by Impaired Classes

        Bankruptcy Code § 1129(b) provides that a plan can be confirmed even if it has not been
accepted by all impaired classes as long as at least one impaired class of claims has accepted it.
The process by which nonaccepting classes are forced to be bound by the terms of a plan is
commonly referred to as “cramdown.” The Bankruptcy Court may confirm the Plan at the request
of the Debtors notwithstanding the Plan’s rejection (or deemed rejection) by impaired Classes as
long as the Plan “does not discriminate unfairly” and is “fair and equitable” as to each impaired
Class that has not accepted it. A plan does not discriminate unfairly within the meaning of the
Bankruptcy Code if a dissenting class is treated equally with respect to other classes of equal rank.

         A class of claims under a plan accepts the plan if the plan is accepted by creditors that hold
at least two-thirds in amount and more than one-half in number of the allowed claims in the class
that actually vote on the plan. A class of interests accepts the plan if the plan is accepted by holders
of interests that hold at least two-thirds in amount of the allowed interests in the class that actually
vote on a plan.

        A class that is not “impaired” under a plan is conclusively presumed to have accepted the
plan. Solicitation of acceptances from such a class is not required. A class is “impaired” unless
(1) the legal, equitable and contractual rights to which a claim or interest in the class entitles the
holder are not modified, or (2) the effect of any default is cured and the original terms of the
obligation are reinstated.

        A plan is fair and equitable as to a class of secured claims that rejects the plan if the plan
provides (1)(a) that the holders of claims included in the rejecting class retain the liens securing
those claims, whether the property subject to those liens is retained by the debtor or transferred to
another entity, to the extent of the allowed amount of such claims, and (b) that each holder of a

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claim of such class receives on account of that claim deferred cash payments totaling at least the
allowed amount of that claim, of a value, as of the effective date of the plan, at least equal to the
value of the holder’s interest in the estate’s interest in such property; (2) for the sale, subject to
section 363(k) of the Bankruptcy Code, of any property that is subject to the liens securing the
claims included in the rejecting class, free and clear of the liens, with the liens to attach to the
proceeds of the sale, and the treatment of the liens on proceeds under clause (1) or (2) of this
paragraph; or (3) for the realization of the indubitable equivalent of such claims.

        A plan is fair and equitable as to a class of unsecured claims that rejects the plan if the plan
provides (1) for each holder of a claim included in the rejecting class to receive or retain on account
of that claim property that has a value, as of the effective date of the plan, equal to the allowed
amount of such claim, or (2) that the holder of any claim or interest that is junior to the claims of
such rejecting class will not receive or retain on account of such junior claim or interest any
property at all.

         A plan is fair and equitable as to a class of interests that rejects a plan if the plan provides
(1) that each holder of an interest included in the rejecting class receive or retain on account of that
interest property that has a value, as of the effective date of the plan, equal to the greater of the
allowed amount of any fixed liquidation preference to which such holder is entitled, any fixed
redemption price to which such holder is entitled, or the value of such interest, or (2) that the holder
of any interest that is junior to the interest of such rejecting class will not receive or retain under
the plan on account of such junior interest any property at all.

     THE DEBTORS INTEND TO SEEK CONFIRMATION OF THE PLAN UNDER THE
CRAMDOWN PROVISIONS OF SECTION 1129(b) OF THE BANKRUPTCY CODE WITH
RESPECT TO ANY CLASS THATIS DEEMED TO HAVE REJECTED THE PLAN.
FURTHER, THE DEBTORS WILL REQUEST CONFIRMATION OF THE PLAN UNDER
SECTION 1129(B) WITH RESPECT TO ANY IMPAIRED CLASS ENTITLED TO VOTE ON
THE PLAN THAT DOES NOT ACCEPT THE PLAN.

        G.       Compliance with the Applicable Provisions of the Bankruptcy Code

        Section 1129(a)(1) of the Bankruptcy Code requires that the Plan comply with the
applicable provisions of the Bankruptcy Code. The Debtors have considered each of these issues
in the development of the Plan and believes that the Plan complies with all applicable provisions
of the Bankruptcy Code.

V.      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

        The Debtors believe that the Plan affords Holders of Claims the potential for the maximum
distribution on account of their claims and, therefore, is in the best interests of such Holders. If
the Plan is not confirmed, the only viable alternatives are dismissal of the Chapter 11 Cases or
conversion to Chapter 7 of the Bankruptcy Code. For the reasons described herein, neither of these
alternatives is preferable to confirmation and consummation of the Plan.

       If the Chapter 11 Cases were dismissed, creditors would revert to a “race to the
courthouse,” the result being that creditors would not receive a fair and equitable distribution of
the Debtors’ remaining assets. Moreover, as set forth above, the Debtors believe the Plan provides

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a greater recovery to creditors than would be achieved in a Chapter 7 case. Therefore, a Chapter
7 case is not an attractive or superior alternative to the Plan. Thus, the Plan represents the best
available alternative for maximizing returns to creditors.

VI.     RISK FACTORS

      PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF
CLAIMS THAT ARE IMPAIRED AND ENTITLED TO VOTE ON THE PLAN SHOULD
READ AND CONSIDER CAREFULLY THE RISK FACTORS SET FORTH HEREIN, AS
WELL AS ALL OTHER INFORMATION SET FORTH OR OTHERWISE REFERENCED IN
THIS DISCLOSURE STATEMENT. ALTHOUGH THESE RISK FACTORS ARE MANY,
THESE FACTORS SHOULD NOT BE REGARDED AS CONSTITUTING THE ONLY RISKS
PRESENT IN CONNECTION WITH THE DEBTORS’ BUSINESS OR THE PLAN AND ITS
IMPLEMENTATION.

        A.         Risks Relating to Confirmation and Consummation of the Plan

              1.        Parties in Interest May Object to Classification of Claims and Interests

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the other
claims or equity interests in such class. The Debtors believe that the classification of Claims and
Equity Interests under the Plan complies with the requirements set forth in the Bankruptcy Code
because the Debtors created Classes of Claims and Equity Interests, each encompassing Claims or
Equity Interests, as applicable, that are substantially similar to the other Claims and Equity
Interests in each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court
will reach the same conclusion. Issues or disputes relating to classification and/or treatment could
result in a delay in the confirmation and consummation of the Plan and could increase the risk that
the Plan will not be confirmed or consummated.

                   2.     The Debtors May Object to a Claim or Interest

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim or Interest under the Plan. The estimates set forth in this
Disclosure Statement cannot be relied on by any Holder of a Claim or Interest where such Claim
or Interest is or may become subject to an objection, counterclaim or other suit by the Debtors.
Thus, any Holder of a Claim or Interest that is or may become subject to an objection may not
receive its expected share of the estimated distributions described in this Disclosure Statement.

                   3.     The Debtors May Fail to Satisfy the Vote Requirement

        If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, confirmation
of the Plan. In the event that sufficient votes are not received, the Debtors may seek to accomplish
an alternative chapter 11 plan. There can be no assurance that the terms of any such alternative
chapter 11 plan would be similar or as favorable to the Holders of Allowed Claims or Interests as
those proposed in the Plan.


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                 4.       Plan May Not Be Accepted, Confirmed or Consummated

        Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
chapter 11 plan and requires, among other things, findings by the bankruptcy court that: (a) such
plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-accepting
classes; (b) confirmation of such plan is not likely to be followed by a liquidation or a need for
further financial reorganization unless such liquidation or reorganization is contemplated by the
plan; and (c) the value of distributions to non-accepting Holders of Claims within a particular class
under such plan will not be less than the value of distributions such holders would receive if the
debtor was liquidated under chapter 7 of the Bankruptcy Code.

       There can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance that the
Bankruptcy Court will confirm the Plan. A non-accepting Holder of an Allowed Claim or Interest
might challenge either the adequacy of this Disclosure Statement or whether the balloting
procedures and voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy
Rules. Even if the Bankruptcy Court determined that the Disclosure Statement, the balloting
procedures and voting results were appropriate, the Bankruptcy Court could still decline to confirm
the Plan if it found that any of the statutory requirements for confirmation had not been met,
including the requirement that the terms of the Plan do not “unfairly discriminate” and are “fair
and equitable” to non-accepting Classes, or the Plan contains other terms disapproved of by the
Bankruptcy Court.

        The Debtors reserve the right to modify the terms and conditions of the Plan as necessary
for confirmation. Any such modifications could result in less favorable treatment of any non-
accepting Class, as well as any Classes junior to such non-accepting Class, than the treatment
currently provided in the Plan. Such less favorable treatment could include a distribution of
property to the Class affected by the modification of a lesser value than currently provided in the
Plan or no distribution of property whatsoever under the Plan. Section 1127 of the Bankruptcy
Code permits the Debtors to modify the Plan at any time before confirmation, but not if such
modified Plan fails to meet the requirements for confirmation. The Debtors may modify the Plan
at any time after confirmation of the Plan and before substantial consummation of the Plan if
circumstances warrant such modification and the Bankruptcy Court, after notice and a hearing,
confirms the Plan as modified, but not if such modified Plan fails to meet the requirements for
confirmation. The Debtors will comply with the disclosure and solicitation requirements set forth
in section 1125 of the Bankruptcy Code with respect to the modified Plan. Any Holder of a Claim
or Interest that has accepted or rejected the Plan is deemed to have accepted or rejected, as the case
may be, the Plan as modified, unless, within the time fixed by the Bankruptcy Court, such Holder
changes its previous acceptance or rejection.

                 5.       Non-Consensual Confirmation of the Plan May Be Necessary

        In the event that any impaired class of claims or equity interests does not accept a chapter
11 plan, a bankruptcy court may nevertheless confirm such a plan at the proponents’ request if at
least one impaired class has accepted the plan (with such acceptance being determined without
including the vote of any “insider” in such class) (“Accepting § 1129(a)(10) Class”) and, as to
each impaired class that has not accepted the plan, the bankruptcy court determines that the plan

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“does not discriminate unfairly” and is “fair and equitable” with respect to the dissenting impaired
classes. If there is an Accepting § 1129(a)(10) Class, the Debtors believe that the Plan satisfies
these other requirements and the Debtors may request such non-consensual confirmation in
accordance with subsection 1129(b) of the Bankruptcy Code. Nevertheless, in the event that a
voting Class does not accept the Plan, there can be no assurance that the Bankruptcy Court will
reach this conclusion.

        B.       Risks Relating to the Chapter 11 Process

                 1.       The Debtors’ Exclusivity Period May Terminate

       At the outset of the Chapter 11 Cases, the Bankruptcy Code provides the Debtors with the
exclusive right to propose a plan and prohibits creditors and others from proposing a plan. If the
Bankruptcy Court terminates that right, however, or the exclusivity period expires, there could be
a material adverse effect on the Debtors’ ability to achieve confirmation of the Plan in order to
achieve the Debtors’ goals.

                 2.       Continuation of the Chapter 11 Cases May Harm the Debtors’ Estates

        A prolonged continuation of the Chapter 11 Cases may adversely affect the Debtors’
Estates. So long as the Chapter 11 Cases continue, the Debtors may be required to incur substantial
costs for professional fees and other expenses associated with the proceedings.

                 3.       The Chapter 11 Cases May Be Converted to Cases Under Chapter 7

         If a bankruptcy court finds that it would be in the best interest of creditors and/or the debtor,
the court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the Bankruptcy
Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtor’s
assets for distribution in accordance with the priorities established by the Bankruptcy Code. The
Debtors believe that liquidation under chapter 7 would result in significantly smaller distributions
being made to creditors than those provided for in the Plan because of (a) the likelihood that the
assets would have to be sold or otherwise disposed of in a disorderly fashion over a short period
of time and (b) additional administrative expenses involved in the appointment of a chapter 7
trustee.

        C.       Risks Relating to Recoveries Under the Plan

        The projected distributions set forth in this Disclosure Statement are based upon the
Debtors’ good-faith estimate of the amount of expenses that will be incurred and total amount of
Claims in each Class that will ultimately be Allowed. The actual amount of such expenses could
be greater than expected for a variety of reasons, including, for example, greater than anticipated
administrative and litigation costs associated with resolving Disputed Claims. Additionally, the
actual amount of Allowed Claims in any class could be greater than anticipated, which would
impact the distributions to be made to Holders of Claims.

        D.       Risks Relating to Projections



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       The Financial Projections accompanying this Disclosure Statement have been prepared
using accounting policies that are consistent with those applied in the Company’s historical
financial statements.

        The Financial Projections are based upon and assume the successful implementation of a
Plan. The Financial Projections reflect numerous assumptions, including various assumptions
regarding the anticipated future performance of the Company, industry performance, general
business and economic conditions, and other matters, many of which are beyond the control of the
Company or its advisors. In addition, the assumptions do not take into account the uncertainty and
disruption of business that may accompany a restructuring pursuant to the Bankruptcy Code.
Therefore, although the Financial Projections are necessarily presented with numerical specificity,
the actual results achieved during the projection period will likely vary from the projected results.
These variations may be material. Accordingly, no definitive representation can be or is being
made with respect to the accuracy of the Financial Projections or the ability of the Company to
achieve the projected results of operations.

        Additional risks, disclaimers and assumptions relating to the business performance and
financial condition of the Reorganized Debtors after the Effective Date are discussed as part of the
projections attached hereto as Exhibit “E”.

VII.    CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        [TO BE PROVIDED]

VIII. RECOMMENDATION

        The Debtors strongly recommend that all creditors receiving a Ballot vote in favor of the
Plan. The Debtors believe that the Plan is in the best interests of creditors. The Plan as structured,
among other things, allows creditors with Allowed Claims to participate in distributions believed
to be in excess of those that would otherwise be available were the Chapter 11 Cases dismissed or
converted under Chapter 7 of the Bankruptcy Code and minimizes delays in recoveries to creditors.

     FOR ALL THE REASONS SET FORTH IN THIS DISCLOSURE STATEMENT, THE
DEBTORS BELIEVE THAT THE CONFIRMATION AND CONSUMMATION OF THE PLAN
IS PREFERABLE TO ALL OTHER ALTERNATIVES. THE DEBTORS URGE ALL
CREDITORS ENTITLED TO VOTE TO ACCEPT THE PLAN AND TO EVIDENCE SUCH

      ACCEPTANCE BY RETURNING THEIR BALLOTS SO THAT THEY WILL BE
RECEIVED BY [5:00 P.M. EASTERN TIME ON __________ ___, 202_, EXCEPT FOR
SUBMISSION OF THE CLASS 7 CONVERTIBLE NOTES CLAIMS BALLOTS WHICH MAY
ONLY BE SUBMITTED IN ACCORDANCE WITH EXPRESS INSTRUCTIONS SET FORTH
IN THE APPLICABLE BENEFICIAL HOLDER BALLOT OR MASTER BALLOT].




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 Dated: October 12, 2023                   AMYRIS, INC.

                                           on behalf of itself and all other Debtors



                                           /s/ Philip J Gund

                                           Philip J. Gund
                                           Chief Restructuring Officer




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